20-10161-jlg          Doc 4      Filed 01/23/20     Entered 01/23/20 02:03:34              Main Document
                                                   Pg 1 of 122


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re                                                          :
                                                               :       Chapter 11
FAIRWAY GROUP HOLDINGS                                         :
CORP., et al.,                                                 :       Case No. 20-[______] (___)
                                                               :
                  Debtors.1                                    :       (Joint Administration Pending)
----------------------------------------------------------------x

                            DECLARATION OF ABEL PORTER
                     PURSUANT TO RULE 1007-2 OF LOCAL BANKRUPTCY
                      RULES FOR SOUTHERN DISTRICT OF NEW YORK

                    I, Abel Porter, make this declaration under 28 U.S.C. § 1746:

                    1.        I am the Chief Executive Officer of Fairway Group Holdings Corp.

(“Holdings”) and its debtor affiliates (collectively, the “Debtors” the “Company” or

“Fairway”), and have served in this role since 2017. Prior to my employment at Fairway, I was

employed at Smith’s Food and Drug, where I served as President and subsequently as Chief

Executive Officer during my tenure. I left Smith’s Food and Drug in 1999 and I went on to serve

as President of Sullivan Family of Companies from 2001 to 2014. I am currently also on the

board of Associated Food Stores of Salt Lake City.

                    2.        On the date hereof (the “Commencement Date”), Holdings and its

affiliated Debtors each commenced with this court (the “Court”) a voluntary case under chapter

11 of title 11 of the United States Code (the “Bankruptcy Code”). I am knowledgeable and

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Fairway Group Holdings Corp. (2788); Fairway Group Acquisition Company (2860);
Fairway Bakery LLC (4129); Fairway Broadway LLC (8591); Fairway Chelsea LLC (0288); Fairway Construction
Group, LLC (2741); Fairway Douglaston LLC (2650); Fairway East 86th Street LLC (3822); Fairway eCommerce
LLC (3081); Fairway Georgetowne LLC (9609); Fairway Greenwich Street LLC (6422); Fairway Group Central
Services LLC (7843); Fairway Group Plainview LLC (8643); Fairway Hudson Yards LLC (9331); Fairway Kips
Bay LLC (0791); FN Store LLC (9240); Fairway Paramus LLC (3338); Fairway Pelham LLC (3119); Fairway
Pelham Wines & Spirits LLC (3141); Fairway Red Hook LLC (8813); Fairway Stamford LLC (0738); Fairway
Stamford Wines & Spirits LLC (3021); Fairway Staten Island LLC (1732); Fairway Uptown LLC (8719); Fairway
Westbury LLC (6240); and Fairway Woodland Park LLC (9544). The location of the Debtors’ corporate
headquarters is 2284 12th Avenue, New York, New York 10027. Fairway Community Foundation Inc., a charitable
organization, owned by Fairway Group Holdings Corp., is not a debtor in these proceedings.




WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34    Main Document
                                                  Pg 2 of 122


familiar with Fairway’s day-to-day operations, business and financial affairs, books and records,

and the circumstances leading to the commencement of these chapter 11 cases (the “Chapter 11

Cases”). Except as otherwise indicated herein, the facts set forth in this Declaration are based

upon my personal knowledge, my review of relevant documents, information provided to me by

employees of Fairway or advisors and counsel to Fairway, or my opinion based upon my

experience, knowledge, and information concerning Fairway’s operations, or the grocery and

retail industry. If called upon to testify, I would testify competently to the facts set forth in this

Declaration.

                    3.        This Declaration is submitted pursuant to Rule 1007-2 of the Local

Bankruptcy Rules for the Southern District of New York (the “Local Rules”) for the purpose of

apprising the Court and parties in interest of the circumstances that led to the commencement of

these Chapter 11 Cases. I am authorized to submit this Declaration on behalf of Fairway. The

Debtors have also submitted the Declaration of Michael Nowlan Pursuant to Rule 1007-2 of

Local Bankruptcy Rules for Southern District of New York (the “Nowlan Declaration,” and

together with this Declaration, the “First Day Declarations”) in support of the motions and

applications that the Debtors have filed with the Court, including the “first day motions” (the

“First Day Pleadings”) which has been filed with this Court contemporaneously herewith.

                    4.        Section I provides an overview of these Chapter 11 Cases. Section II

describes Fairway’s business.            Section III describes the circumstances that led to the

commencement of the Chapter 11 Cases. Section IV describes Fairway’s corporate and capital

structure. Section V identifies the attached schedules of information required by Local Rule

1007-2.




                                                      2
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34              Main Document
                                                  Pg 3 of 122


                                                     I.
                                                  Overview2

                    5.        Fairway is a leading food retailing destination in the Greater New York

City metropolitan area. Fairway operates fourteen (14) supermarkets across the New York, New

Jersey and Connecticut tri-state area, including two with freestanding wine and liquor stores (the

Stamford and Pelham locations) and two with in-store wine and liquor stores (the Woodland

Park and Paramus locations). The Company’s flagship store is located at Broadway and West

74th Street, on the Upper West Side of Manhattan, featuring a cafe, Sur la Route, and state of the

art cooking school. Fairway employs over 3,000 individuals, approximately 83% of whom are

represented by unions (including approximately 2,280 employees represented by United Food

and Commercial Workers International Union (“UFCW”), Local 1500, 127 employees

represented by UFCW Local 1262, 140 employees represented by UFCW Local 371, and 23

employees represented by UFCW Local 1500 (Drivers) (together with UFCW Local 1500,

UFCW Local 1262, UFCW Local 371, the “Unions”). Fairway is party to four (4) collective

bargaining agreements (collectively, the “CBAs”) with the various bargaining units of the

Unions. As of November 2019, Fairway’s unaudited consolidated financial statements reflect

total revenues of approximately $643.3 million and a net loss of approximately $65.8 million for

the previous twelve month period and assets totaling approximately $158.9 million and liabilities

totaling approximately $288.7 million.

                    6.        Fairway has commenced these Chapter 11 Cases to implement a strategic

asset sale strategy (the “Sale Strategy”). The Sale Strategy is the foundation of these Chapter 11

Cases and is critical to maximizing recoveries for all creditors and preserving a significant


2
  Capitalized terms used but not defined in this overview section shall have the meanings ascribed to such terms in
the Nowlan Declaration or respective First Day Pleadings, as applicable.




                                                        3
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34       Main Document
                                                  Pg 4 of 122


number of jobs. Under the direction of a Special Committee of the Board of Directors comprised

of two independent directors, the Sale Strategy has been developed with great care, thought, and

planning. Fairway has developed the Sale Strategy to drive value and offer the best opportunities

to preserve as many jobs and accomplish as many going concern sales of their stores as possible.

                    7.        As described in further detail in the Moses Declaration filed

contemporaneously herewith, in May 2019, PJ Solomon, L.P. (“Solomon”), was hired by the

Company to serve as their investment banker, and since July 2019 Solomon has been actively

marketing the Debtors’ stores and the approximately 240,000 square foot production and

distribution center (the “PDC”) (and other related assets) for going concern sales in an organized

prepetition bidding process, contacting over 80 potential buyers, including twenty-six (26)

potential strategic buyers (the “Prepetition Sale Process”). On September 12, 2019, six (6)

indications of interest were received for the acquisition of all or certain portions of the business,

or a merger. In the ensuing weeks, the Company and its advisors worked with interested parties

to provide diligence and negotiate the potential bids.

                    8.        Ultimately, two parties emerged as potential stalking horse bidders. After

extensive negotiations with the bidders and deliberations with their advisors, the Debtors have

entered into a stalking horse asset purchase agreement (the “Stalking Horse APA”) with Village

Supermarket, Inc. (the “Stalking Horse Bidder”). The Stalking Horse APA provides for the

sale of five (5) stores and the PDC, for an aggregate purchase price of approximately $70 million

(the “Stalking Horse Bid”). The Stalking Horse Bid is subject to higher or better offers in

accordance with the Bidding Procedures (defined below). The Debtors are continuing to engage

with other interested parties as part of the sale process and may enter into transactions for the




                                                       4
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34      Main Document
                                                  Pg 5 of 122


sale of additional stores on a going concern basis or other assets during these Chapter 11 Cases

pursuant to the Bidding Procedures.

                    9.        Although the Prepetition Sale Process has so far been successful, it has

also confirmed to the Debtors that their businesses are not sustainable over the long term under

the current cost structure.          No bidder has been willing to assume Fairway’s liabilities—in

particular, the Company’s substantial labor and pension obligations—in connection with a

purchase of Fairway’s stores. To the contrary, the Stalking Horse Bidder and all other bidders in

the Prepetition Sale Process conditioned their purchase of the Debtors’ assets free and clear of all

liabilities, such as liabilities arising under or related to the CBAs, including the multi-employer

contribution and withdrawal liabilities relating thereto. That said, the Stalking Horse APA

requires the Stalking Horse Bidder to negotiate with the Unions, in consultation with the

Debtors, to try to reach agreement on terms of employment with affected employees. The

Debtors are hopeful that consensual agreements will be reached with their Unions.

                    10.       Given these and other considerations, Fairway has concluded in the

exercise of their business judgment and as fiduciaries for all of the Company’s stakeholders that

the best and only viable path to maximize the value of their business and potentially preserve

many jobs is a strategic chapter 11 filing to facilitate sales free and clear of liabilities. It is the

Company’s judgment that if the Debtors cannot achieve free and clear sales within the required

time periods prescribed by the RSA and the Milestones (each as defined below), all of the value

that has been created and preserved through the Prepetition Sale Process may be lost, and the

Debtors could be left with no choice but to liquidate their business in a fire sale and piecemeal

fashion.




                                                      5
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34       Main Document
                                                  Pg 6 of 122


                    11.       Pursuant to the bidding procedures motion filed contemporaneously

herewith (the “Bidding Procedures Motion”), the Debtors seek approval of uniform bidding

and auction procedures (the “Bidding Procedures”) for all of their stores, the PDC, and related

assets (collectively, the “Stores”), including the Stores that are the subject of the Stalking Horse

Bid. Under the Bidding Procedures, interested parties will have the opportunity to bid for any of

the Debtors’ stores, either individually or on a package basis, whether or not a particular store or

package of stores is included in a Stalking Horse Bid. Interested parties are requested to submit

bids to be submitted by February 28, 2020, in accordance with the Bidding Procedures. As

described in the Nowlan Declaration, given the current circumstances and the need for the

Debtors to move as quickly as possible, the Bidding Procedures set forth an expedited bidding

and sale process to implement the Sale Strategy.

                    12.       As stated, in advance of the chapter 11 filing, the Debtors worked closely

with their major stakeholders, including an ad hoc committee of lenders (the “Ad Hoc Group”)

holding over 91% in the aggregate of all of the Company’s outstanding loans under the

Prepetition Credit Agreement (defined below) (and in excess of 66⅔% if each tranche of debt

thereunder).        The lenders comprising the Ad Hoc Group (or their affiliates) also hold

approximately 86% of the equity of Holdings (with the remaining approximately 14% of the

equity being held by the lenders under the Prepetition Credit Agreement not included in the Ad

Hoc Group), all of which was received in exchange for their debt claims in connection with

Company’s 2016 bankruptcy cases as discussed below. None of the lenders (including lenders in

the Ad Hoc Group) hold more than 35% of the equity of Holdings, and to my knowledge, none

of the Debtors’ officers or directors are affiliated with or employed by any of the lenders

(including the lenders in the Ad Hoc Group). On January 22, 2020, the Debtors executed a




                                                       6
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34          Main Document
                                                  Pg 7 of 122


restructuring support agreement (the “RSA”) with the members of the Ad Hoc Group, pursuant

to which the members of the Ad Hoc Group agreed to vote in favor of and support confirmation

of a chapter 11 plan incorporating the terms embodied by the term sheet annexed to the RSA (the

“Plan”), attached hereto as Exhibit B. The Debtors are in the process of negotiating the Plan

with the Ad Hoc Group and intend to file the Plan in the near term to expedite the Chapter 11

Cases.

                    13.       As stated, in support of the Debtors’ chapter 11 filing, the Ad Hoc Group

has agreed to provide the Debtors with an up to $25 million debtor-in-possession new money

credit facility (together, the “DIP Facility”) to support the Debtors’ liquidity during the chapter

11 cases. As described in further detail in the Nowlan Declaration, the DIP Facility, together

with the consensual use of cash collateral, should provide the Debtors with sufficient liquidity to

implement the Sale Strategy in an orderly and value-maximizing manner.

                    14.       While the DIP Facility provides the liquidity needed to carry out the Sale

Strategy, it cannot be emphasized enough that time is of the essence. Given the significant costs

associated with continued operations, the DIP Credit Agreement and RSA set forth milestones

(the “Milestones”) by which the Debtors must accomplish various objectives in an expeditious

manner. In particular, the Milestones include, among others, the following:3

    Milestone                                              Deadline

    Sale Process Milestones

    Entry of the order approving the                       25 days following the filing of the Bidding
    Bidding Procedures                                     Procedures Motion (February 17, 2020)

    Commence Auction, if applicable, for                   50 days from the Commencement Date


3
 The foregoing is only a summary of certain Milestones. The Milestones described herein are qualified in their
entirety by the Milestones described in the DIP Credit Agreement and the milestones described in the RSA.




                                                       7
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34    Main Document
                                               Pg 8 of 122


   the Stalking Horse Package                          (March 13, 2020)

   Entry of Sale Order approving sale of               50 days from the Commencement Date
   the Stalking Horse Package, if no                   (March 13, 2020)
   overbid for the Stalking Horse
   Package

   Consummation of the sale(s) of the                  55 days from the Commencement Date
   Stalking Horse Package, if no                       (March 18, 2020)
   Auction held for Stalking Horse
   Package

   Entry of Sale Order approving sale of               65 days from the Commencement Date
   the Stalking Horse Package, if                      (March 28, 2020)
   overbid received for the Stalking
   Horse Package

   Commence Auction for the Other                      55 days from the Commencement Date
   Assets                                              (March 18, 2020)

   Consummation of the sale(s) of the                  68 days from the Commencement Date
   Stalking Horse Package to the                       (March 31, 2020)
   winning bidder(s) at the Auction, if
   applicable

   Entry of Sale Order approving sale of               65 days from the Commencement Date
   the Other Assets, if applicable                     (March 28, 2020)

   Consummation of the sale(s) of the                  70 days from the Commencement Date
   Other Assets to the winning bidder(s)               (April 2, 2020)
   at the Auction, if applicable

   Plan Milestones

   File Plan                                           30 days from the Commencement Date
                                                       (February 22, 2020)

   File Disclosure Statement                           30 days from the Commencement
                                                       Date (February 22, 2020)

   Entry of the Order approving the                    65 days from the Commencement
   Disclosure Statement                                Date (March 28, 2020)

   Entry of the order confirming the Plan              120 days from the Commencement
                                                       Date (May 22, 2020)

   Effective date of the Plan                          125 days from the Commencement



                                                   8
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34       Main Document
                                                  Pg 9 of 122


                                                          Date (May 27, 2020)


                    15.       Given the foregoing, it is imperative that the parties cooperate with one

another and that negotiations be conducted as expeditiously as possible. While the Debtors are

committed to pursuing consensual resolutions with their unions where possible, if consensual

resolutions cannot be quickly achieved within the deadlines set forth in the Milestones and the

Stalking Horse APA, the Debtors will be required to commence proceedings under sections 1113

and 1114 of the Bankruptcy Code. The Debtors believe that all constituents, including the

employees, will benefit from this chapter 11 proceeding over any other alternatives and, as a

result, must maintain the timeline presented to achieve the necessary relief and maximize value

for all stakeholders.

                                                    II.
                                            Fairway’s Businesses

          A.        History and Current Business Operations

                    16.       Fairway is a food retailer offering customers a differentiated one-stop

shopping experience “Like No Other Market.” Since beginning as a small neighborhood market

in the 1930s, Fairway established itself as a leading food retailer in the Greater New York City

metropolitan area. Fairway’s stores emphasize an extensive selection of fresh, natural, and

organic products, prepared foods, and hard-to-find specialty and gourmet offerings, along with a

full assortment of conventional groceries.

                    17.       As described above, Fairway operates fourteen (14) stores across the New

York, New Jersey and Connecticut tri-state area. Fairway also operates the PDC, a production

and distribution center and state-of-the-art central commissary, bakery and produce distribution

site with the ability to support up to thirty (30) Fairway Market stores. The approximately

240,000 square foot facility includes a full line bakery, cafe and specialty warehouse. The PDC



                                                      9
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34    Main Document
                                                  Pg 10 of 122


helps Fairway with housing their imports and cheeses and is a cabinet facility housing Fairway’s

customer service and training centers, store development team, and centralized catering

operation. The facility also services outside customers and is a manufacturer for other grocery

stores, and serves companies supplying airports and restaurants in the tri-state area.

                    18.       The Company leases all of its store operations from various landlords.

The Company pays approximately $3.5 million per month in rent on its leased real property,

inclusive of real property taxes, common area maintenance, and insurance. For each location, a

Fairway subsidiary is the lessee. Holdings or Fairway Acquisition guarantee some but not all of

the leases, and certain leases are supported by letters of credit that are cash collateralized with

proceeds from the Prepetition Credit Agreement.

                    19.       The Debtors’ operating cash flow depends on their ability to provide

customers with high volumes of fresh, high quality, food, beverage, and other products without

interruption.       Fairway stores offer an extensive selection of natural and organic products,

prepared fresh foods and hard to find specialty and gourmet items, along with an unparalleled

variety of meats, cheeses and produce. Fairway has also embraced grocery delivery through

partnering with delivery services and has introduced the grocery technology that lets shoppers

use the Fairway-branded mobile checkout app to scan products with their phone cameras. The

Debtors experience a high turnover of inventory due to the perishability of certain merchandise

that must be replaced quickly to satisfy customer demand and ensure that the Debtors’ shelves do

not suddenly go barren.

                    20.       In the 52 weeks ending December 1, 2019, the Debtors reported

approximately $643.3 million in sales and gross profit of $227 million. The Debtors reported

aggregate adjusted EBITDA of $23 million over this same period, but the Debtors lost




                                                      10
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34          Main Document
                                                  Pg 11 of 122


approximately $68.8 million during the same period as a result of depreciation, amortization,

interest expense, other operating costs associated with supporting their fourteen (14) stores with

a declining sales base, and additional costs to close operations at the Nanuet location.

                                             III.
                             The Need for Chapter 11 Relief and the
               Circumstances Leading to Commencement of These Chapter 11 Cases

                    21.       As stated, the Debtors are filing the Chapter 11 Cases to implement the

Sale Strategy, which is critical to achieving the Debtors’ goals of maximizing creditor

recoveries, providing for an equitable distribution to the Debtors’ stakeholders, and protecting

the interests of its approximately 3,000 employees as best as possible.

          A.        The 2016 Cases

                    22.       Unfortunately, this is Fairway’s second chapter 11 filing in four (4) years.

In June 2016, the Company emerged from chapter 11 following a prepackaged chapter 11 case

that adjusted its capital structure and paid all general unsecured creditors in full with no impact

on Fairway’s union and pension obligations.4 The Company’s prior third party lenders converted

a substantial portion of their debt to substantially all of the reorganized equity of Fairway and

also received take back debt. Since the Company’s emergence, market pressures and other

issues discussed herein have continued to be a drain on the Company. Despite the support of the

Company’s new owners and lenders—who have provided additional financing to the company of

approximately $37 million in the aggregate, appointed industry experts to the board, brought in a

new management team, never took any distributions or management fees, and supported the

Company’s balance sheet by permitting the Company to pay the substantial majority of the

interest accruing under the Prepetition Credit Agreement “in kind” by capitalizing interest owed

4
 An order closing the cases was entered on December 23, 2016. In re Fairway Group Holdings Corp., Case No. 16-
11241 (Bankr. S.D.N.Y. June 6, 2016) (ECF No. 237).




                                                       11
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34    Main Document
                                                  Pg 12 of 122


thereunder—the Company can no longer operate without the protections of chapter 11. As

stated, the Company’s prepetition lenders remain supportive of Fairway and have entered into a

restructuring support agreement and agreed to finance these chapter 11 cases with a DIP Facility

of up to $25 million.

                    23.       More specifically, under the 2016 prepackaged plan, Fairway’s then-

existing secured creditors received (i) 100% of equity of the reorganized Company (subject to

dilution by up to 10% by a management incentive program), (ii) a $45 million last out exit term

loan (the “Last Out Exit Term Loan”) with Fairway Acquisition as borrower and each of the

other Fairway subsidiaries as guarantors, secured by all of the assets of Fairway, and (iii) a $39

million unsecured subordinated term loan (the “Subordinated Term Loan”) with Holdings as

borrower, but which was not guaranteed by the other Fairway subsidiary entities. The 2016

prepackaged plan was confirmed in June 2016. In re Fairway Group Holdings Corp., (Bankr.

S.D.N.Y. June 8, 2016) (ECF No. 156). In August 2018, the facilities existing upon exit from

the 2016 chapter 11 cases, including the Last Out Exit Term Loan and the Subordinated Term

Loan were either repaid in full or otherwise converted into loans under the Prepetition Credit

Agreement.

          B.        The 2018 Rescue Financing

                    24.       As noted, following Fairway’s emergence from chapter 11 in June 2016,

Fairway continued to face headwinds in the market, which have continued to this date and are

described in further detail in the following section. As a result, the Company required and

obtained rescue financing from certain of their Prepetition Lenders in August 2018, resulting in

execution of the Prepetition Credit Agreement, whereby certain of the Prepetition Lenders

provided the Company the $14.5 million Super Senior Secured Term Loan Facility and $22.66

million Super Senior Secured L/C Facility (each as defined below).


                                                      12
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34       Main Document
                                                  Pg 13 of 122


           C.       Competitive Industry

                    25.       The food retail industry as a whole, particularly in the Greater New York

City metropolitan area, is highly competitive, and increasingly so in recent years. According to

the Food Marketing Institute, the percentage of American consumers who called supermarkets

their “primary grocery store” has fallen from 67% in 2005 to 49% in 2018.5                     Fairway

experiences competitive pressures across multiple market segments including from local,

regional, national and international supermarket grocers such as Stop & Shop (owned by Royal

Ahold), Whole Foods, Aldi, Trader Joe’s, King Kullen, Gristede’s, Citarella, Save-A-Lot and

Lidl, convenience stores such as 7-Eleven, dollar stores such as Dollar General and Dollar Tree,

retail drug chains such as CVS, Walgreens and Rite Aid, supercenters such as Walmart and

Target, club stores such as Costco, BJ’s and Sam’s, and numerous independent and specialty

stores. The Company also faces rapidly intensifying competition from well-capitalized online

retail grocery giants such as Amazon, Walmart, and Target, as well as local online grocers such

as FreshDirect and Peapod and meal-kit operators like Blue Apron and Hello Fresh. According

to Coresight Research, nearly 40% of Americans bought groceries online in 2019, up from under

30% in 2018.6 Finally, given the Company’s extensive prepared and fresh food offering, it

competes directly with countless full service, casual dining, fast casual, quick service restaurants,

many of which offer free delivery; specialty coffee shops such as Starbucks and other specialty

food retailers, particularly in Manhattan. In addition, some of Fairway’s competitors have

expanded aggressively in marketing a range of natural and organic foods, prepared foods and

quality specialty grocery items. Some of Fairway’s competitors have more experience operating


5
    FMI, U.S. Grocery Shopper Trends 2018, (2018).
6
    Coresight Research, US Online Grocery Survey 2019, (2019).




                                                       13
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34    Main Document
                                                  Pg 14 of 122


multiple store locations and have greater financial or marketing resources than Fairway, which

allow them to devote greater resources to sourcing, promoting, and selling their products. The

density of the Greater New York City metropolitan area compounds the problem because of the

geographic proximity between Fairway’s stores and those of their competitors.

                    26.       The scale advantages that extremely large grocers, such as Amazon,

Walmart, Target, Costco, BJ’s, Stop & Shop (Ahold), CVS, Walgreens, Aldi, Lidl, Dollar

General and Dollar Tree have over regional grocers like Fairway cannot be overstated. These

larger grocers all have investment grade credit ratings, which makes their cost of capital

meaningfully lower and affords them extraordinary capacity to invest in lower prices, higher

wages, more advertising, more effective modern technology and further growth, all of which

enhance the probability a consumer will become and remain their customers.               Fairway’s

comparable store sales decreased approximately 5% in the fifty-two (52) weeks ended January

12, 2020 compared to the fifty-two weeks ended January 13, 2019.

                    27.       Additionally, as discussed above, approximately 83% of the Company’s

workforce is unionized. The workforces of some of the Company’s most significant competitors

are not unionized, resulting in lower labor, pension, and benefit costs than the Company faces.

As a result, these competitors can offer lower prices to their customers, putting pressure on the

Company to do the same, further reducing the Company’s profit margin. Non-union grocers also

generally have more free cash flow to invest in advertising and technology to drive customer

traffic and loyalty.

          D.        Liquidity Constraints

                    28.       Although certain of of the Company’s stores generate positive EBITDA,

the Company is experiencing historically low EBITDA generation as a result of the industry

pressures discussed above. The reduced EBITDA has increased the Company’s leverage and has


                                                      14
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34     Main Document
                                                  Pg 15 of 122


imposed significant strains on the Company’s liquidity and cash flows. The strain on the

Company’s liquidity has been exacerbated by the costs associated with the Company’s labor and

pension costs, described below.

          E.        Inability to Make Capital Investments

                    29.       Capital improvements and investment in operations are imperative for

food retailers to keep pace with their competition.             Market participants are introducing

technological advances and other initiatives to customize and improve consumer experience.

Companies are also implementing cost-saving technologies and practices that allow them to

further lower their prices, including in the areas of labor scheduling, ordering, receiving,

payment processing, and data analytics. Additionally, some of the Company’s stores need

renovations that would enhance customers’ shopping experience and generate increased

revenues.

                    30.       The Company’s increased leverage and liquidity constraints, however,

have impeded its ability to invest in store renovations and in other capital and operational

expenditures at the level and speed at which the food industry is evolving. Indeed, the Company

did not undertake a substantial portion of the capital improvement projects and initiatives that it

had previously planned to implement in 2019. Furthermore, as discussed above, the grocery

sector has recently been faced with significant headwinds, making it an inopportune time to raise

capital to invest in the Company’s business.

          F.        Labor and Pension Costs

                    31.       The Debtors’ cost structure includes certain employee and labor-related

costs that have historically driven down their profit margins. Pursuant to the CBAs, the Debtors

are required to contribute to a multi-employer pension plan administered by a local United Food

and Commercial Workers union, entitled the UFCW Local 1500 Pension Plan that also covers


                                                      15
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34       Main Document
                                                  Pg 16 of 122


collectively-bargained employees of certain unaffiliated entities (“Pension Plan”). The Debtors

also participate in a multiemployer health and welfare plan (the “UFCW Local 1500 Welfare

Fund”) that provides benefits to employees represented by UFCW Local 1500, UFCW Local

371 and UFCW Local 1262. The expenses for the UFCW Local 1500 Welfare Fund total

approximately $750,000 per month (or approximately $9 million in the aggregate in 2019), of

which the Company pays approximately 92% (approximately $8.3 million per year).

                    32.       The Pension Plan is currently underfunded in part due to increases in the

costs of benefits provided or paid under the plan as well as lower returns on plan assets. As of

August 14, 2019, the Debtors were provided actuarial information that estimates that the present

value of unfunded benefits for the purposes of withdrawal liability is approximately $67 million.

The unfunded liabilities of this Pension Plan may require increased future payments by other

participating employers. As a result, the Pension Plan has adopted a rehabilitation plan to

increase the plan’s funding percentage. The Debtors’ payments on account of the Pension Plans

amount to $361,731 per month, which the Debtors have diligently paid over time until shortly

prior to filing these Chapter 11 Cases, when liquidity became severely restricted.

                    33.       The CBAs also mandate wage increases each year irrespective of sales.

The company’s average hourly wage increased from $13.20 in Fiscal Year 2018 to $14.46 in

Fiscal Year 2019 and to an expected $15.78 in Fiscal Year 2020, an increase of approximately

20%.

                    34.       The Debtors also maintain third-party workers’ compensation insurance

for all fourteen (14) of their stores (collectively, the “Workers’ Compensation Program”).

The Debtors estimate that the pay approximately $4.5 million per year for premiums in

connection with the Workers’ Compensation Program.




                                                      16
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34        Main Document
                                                  Pg 17 of 122


                                                   IV.
                                      Corporate and Capital Structure

          A.        Corporate Structure

                    35.       As the Debtors are privately-held companies, none of the Debtors’ equity

securities have been publicly-traded since emerging from the 2016 chapter 11 cases. Holdings

was founded in September 2006 as a Delaware corporation. Holdings is the direct corporate

parent of Fairway Group Acquisition Company (“Fairway Acquisition”), also formed in

September 2006 as a Delaware corporation. A separate Delaware limited liability company

houses each individual Fairway grocery market. Fairway Acquisition is the sole equity holder of

each of these limited liability companies.            Thus, all of the Debtors are direct or indirect

subsidiaries of Holdings. An organizational chart illustrating the corporate structure of the

Debtors is annexed hereto as Exhibit A.

                    36.       As of the Commencement Date, the outstanding equity interests in

Holdings are currently held (either directly and/or through subsidiaries or affiliates)

approximately 33.6% by funds or entities affiliated with or managed by Brigade Capital

Management, LP, approximately 29.9% by Goldman Sachs & Co, approximately 22.2% by

funds or entities affiliated with or managed by FS KKR Capital Corp., with certain other holders

each holding approximately 5% or less of the remaining 14.3% of the equity in Holdings.

                    37.       Holdings’ current board of directors is comprised of the following five (5)

members, including two (2) independent directors:

                                        Name                  Position

                                 Ken Martindale        Chairman of the Board

                                 Errol Schweizer       Director

                                 Tom Furphy            Director




                                                      17
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34    Main Document
                                                  Pg 18 of 122


                                       Name                  Position

                                 Eugene Davis         Director (independent)

                                 Neal Goldman         Director (independent)


                    38.       To the best of my knowledge, none of the members of the board of

directors are affiliated with or employed by any of the Company’s shareholders or lenders.

                    39.       Fairway’s current senior management team is comprised of the following

individuals:

                              Name                           Position

                     Abel T. Porter         Chief Executive Officer

                     Brad Schneider         Chief Financial Officer

                     Maureen P. Page        Senior Vice President—Finance

                     Nathalie Augustin      Senior Vice President—General Counsel


                    40.       To the best of my knowledge, none of the Company’s senior management

are affiliated with or employed by any of the Company’s shareholders or lenders.

                    41.       Prior to commencing these Chapter 11 Cases, the Company took measures

to ensure a seamless transition into chapter 11. First, the Company appointed a new independent

director to its Board of Directors (the “Board”): Neal P. Goldman, Managing Member of SAGE

Capital Investments. The Company now has two independent directors, Mr. Goldman and

Eugene Davis, Chairman and Chief Executive Officer of PIRINATE Consulting Group, LLC.

These individuals bring decades of restructuring and operational turnaround and transformation

experience to the Company. Second, the Board formed a special committee (the “Special

Committee”), composed solely of its two independent directors, Mr. Goldman and Mr. Davis, to

oversee the Company’s restructuring process. In addition, effective upon to the Commencement



                                                      18
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34     Main Document
                                                  Pg 19 of 122


Date, Michael Nowlan of Mackinac Partners was appointed Chief Restructuring Officer

(“CRO”) of each of the Debtors.

                    42.       Additional information regarding the Debtors’ senior management team is

set forth in Schedule 10 annexed hereto.

          B.        Capital Structure

                    43.       As of the Commencement Date, the Debtors’ have outstanding funded

debt obligations in the amount of approximately $227.2 million in the aggregate under the

Prepetition Credit Agreement, consisting of (i) approximately $16 million outstanding under the

Super Senior Secured Term Loan Facility; (ii) approximately $26.8 million outstanding under

the Super Senior Secured L/C Facility, (iii) approximately $76.5 million outstanding under the

Senior First Out Term Loan; (iv) approximately $56.8 million outstanding under the Senior Last

Out Term Loan, and (v) approximately $51 million outstanding under the Holdco Loan (each as

defined below). The Debtors’ secured financing obligations are described in greater detail

below.

          (1)       Super Senior Secured Facilities

                    44.       Super Senior Secured Term Loan Facility. Pursuant to that certain Super

Senior Credit Agreement, dated as of August 28, 2018 (as amended or modified by that certain

First Amendment to Super Senior Credit Agreement, dated as of July 29, 2019, that certain

Second Amendment to and Extension under Super Senior Credit Agreement, dated as of August

28, 2019, that certain Third Amendment and Limited Waiver to Super Senior Credit Agreement,

dated as of October 7, 2019, and that certain Limited Waiver to Super Senior Credit Agreement,

dated as of January 8, 2020, and as may be further amended, supplemented, or modified from

time to time, the “Prepetition Credit Agreement”), among Fairway Acquisition, Holdings, the

lenders from time to time party thereto (each, a “Prepetition Lender”, and collectively, the


                                                      19
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34    Main Document
                                                  Pg 20 of 122


“Prepetition Lenders”) and Ankura Trust Company, LLC, as administrative agent and collateral

agent for the Prepetition Lenders, certain Prepetition Lenders provided Fairway Acquisition with

a super senior secured delayed draw first out term loan in the aggregate principal amount of

$14.5 million (the “Super Senior Secured Term Loan Facility”). The Super Senior Secured

Term Loan Facility matures on August 28, 2023. As of the date hereof, the aggregate amount

outstanding under the Super Senior Secured Term Loan Facility is approximately $16 million in

unpaid principal, plus accrued and unpaid interest, fees, and other expenses. The Super Senior

Secured Term Loan Facility is pari passu in priority with the Super Senior Secured L/C Facility

(as defined below), and represents (together with the Super Senior Secured L/C Facility) the

Debtors’ senior-most tranche of prepetition funded debt.

                    45.       Super Senior Secured L/C Facility. The Prepetition Credit Agreement

also provided for a super senior secured credit facility in the aggregate principal amount of

$22.66 million (the “Super Senior Secured L/C Facility”) provided by certain of the

Prepetition Lenders to Fairway Acquisition for the purpose of cash collateralizing letters of

credit issued by third-party issuers (i.e., entities that are not lenders under the Prepetition Credit

Agreement) for the benefit of certain landlords, vendors, and other creditors of the Company.

The Super Senior Secured L/C Facility matures on August 28, 2023. As of the date hereof, the

aggregate amount outstanding under the Super Senior Secured L/C Facility is approximately

$26.8 million in unpaid principal, plus accrued and unpaid interest, fees, and other expenses. As

set forth above, the Super Senior Secured L/C Facility is pari passu in priority with the Super

Senior Secured Term Loan Facility (as defined below), and represents (together with the Super

Senior Secured Term Loan Facility) the Debtors’ senior-most tranche of prepetition funded debt.




                                                      20
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34       Main Document
                                                  Pg 21 of 122


          (2)       Senior First Out Term Loan

                    46.       The Prepetition Credit Agreement also provided for secured first out term

loans in the aggregate principal amount of approximately $65.14 million (the “Senior First Out

Term Loan”) provided by certain of the Prepetition Lenders to Fairway Acquisition. The Senior

First Out Term Loan matures on November 28, 2023. As of the date hereof, the aggregate

amount outstanding under the Senior First Out Term Loan is approximately $76.5 million in

unpaid principal, plus accrued and unpaid interest, fees, and other expenses. The Senior First

Out Term Loan is junior in priority to the Super Senior Secured Term Loan Facility and the

Super Senior L/C Facility (but senior in priority to the Senior Last Out Term Loan (as defined

below)).

          (3)       Senior Last Out Term Loan

                    47.       The Prepetition Credit Agreement also provided for secured last out term

loans in the aggregate principal amount of approximately $49.7 million (the “Senior Last Out

Term Loan”) provided by certain of the Prepetition Lenders to Fairway Acquisition. The Senior

Last Out Term Loan matures on November 28, 2023. As of the date hereof, the aggregate

amount outstanding under the Senior Last Out Term Loan is approximately $56.8 million in

unpaid principal, plus accrued and unpaid interest, fees, and other expenses. The Senior Last

Out Term Loan is junior in priority to the Super Senior Secured Term Loan Facility, the Super

Senior L/C Facility, and the Senior First Out Term Loans.

          (4)       Holdco Loan

                    48.       Lastly, the Prepetition Credit Agreement also provided for secured term

loans in the aggregate principal amount of approximately $44 million (the “Holdco Loan,” and

together with the Super Senior Secured Term Loans, Super Senior Secured L/C Loans, Senior

First Out Term Loans, and the Senior Last Out Term Loans, the “Prepetition Secured Loans”)


                                                      21
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34      Main Document
                                                  Pg 22 of 122


provided by certain of the Prepetition Lenders to Holdings, which Fairway Acquisition is also

obligated to repay. The Holdco Loan matures on February 24, 2024. As of the date hereof, the

aggregate amount outstanding under the Holdco Loan is approximately $51 million in unpaid

principal ,plus accrued and unpaid interest, fees, and other expenses. The Holdco Loan is junior

in priority to the Super Senior Secured Term Loan Facility, the Super Senior L/C Facility, the

Senior First Out Term Loan, and the Senior Last Out Term Loan.

          (5)       Prepetition Security Agreement

                    49.       The obligations under the Prepetition Credit Agreement are guaranteed by

Holdings and certain subsidiaries of Holdings and are secured, in each case, in accordance with

the terms of a Super Senior Guarantee and Collateral Agreement, dated as of August 28, 2018 (as

amended, supplemented, or modified from time to time, the “Prepetition Security

Agreement”). Pursuant to the terms of the Prepetition Security Agreement, each Debtor granted

liens on substantially all of its assets (with certain specified exceptions) including, but not

limited to, all accounts, chattel paper, cash and deposit accounts, documents, equipment, general

intangibles, instruments, inventory, investment property, letter of credit rights, commercial tort

claims and certain other personal property and real estate.

          (6)       Trade Claims

                    50.       In the ordinary course of business, the Debtors incur various fixed,

liquidated, and undisputed payment obligations (the “Trade Claims”) to various third-party

providers of goods and services (the “Trade Creditors”) that are sold in the Debtors’ stores or

facilitate the Debtors’ business operations. As of January 10, 2020, the Debtors estimate that the

aggregate amount of Trade Claims outstanding is approximately $15.3 million. A majority of

the Debtors’ General Unsecured Claims are Trade Claims. Certain of the Trade Claims are

entitled to statutory priority, such as under PACA or PASA or under section 503(b)(9) of the


                                                      22
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34        Main Document
                                                  Pg 23 of 122


Bankruptcy Code, may give rise to shippers, warehouseman, or mechanics liens against the

Debtors’ property if unpaid, relate to funds held in trust by the Debtors that are not the property

of the Debtors’ estates, or are secured by letters of credit, security deposits, or rights of setoff

(collectively, the “Priority Trade Claims”). Excluding the Priority Trade Claims, the Debtors

estimate that the total Trade Claims equal approximately $2.3 million (the “Non-Priority Trade

Claims”).

          (7)       Intercompany Claims

                    51.       Certain Fairway entities hold Claims against Debtor entities resulting

primarily from the normal functioning of Fairway’s centralized cash management system as well

as, in some cases, the provision of intercompany services by one Fairway entity to another

Fairway entity, such as, for example, administrative support services.                Historically, such

intercompany claims are recorded in Fairway’s books and records but not paid.

                                                       V.

                                Information Required by Local Rule 1007-2

                    52.       In accordance with Local Rule 1007-2, the schedules attached hereto

provide certain information related to the Debtors.

                    53.       Pursuant to Local Rule 1007-2(a)(3), Schedule 1 hereto lists the names

and addresses of the members of, and attorneys for, any official committee organized prior to the

Commencement Date and a brief description of the circumstances surrounding the formation of

the committee and the date of its formation.

                    54.       Pursuant to Local Rule 1007-2(a)(4), Schedule 2 hereto lists the holders of

the Debtors’ forty (40) largest unsecured claims on a consolidated basis, excluding claims of

insiders.




                                                      23
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34        Main Document
                                                  Pg 24 of 122


                    55.       Pursuant to Local Rule 1007-2(a)(5), Schedule 3 hereto lists the holders of

the five (5) largest secured claims against the Debtors on a consolidated basis.

                    56.       Pursuant to Local Rule 1007-2(a)(6), Schedule 4 hereto provides a

summary of the (unaudited) consolidated assets and liabilities for the Debtors and their non-

Debtor affiliates.

                    57.       Pursuant to Local Rule 1007-2(a)(7), Schedule 5 hereto provides the

following information: the number and classes of shares of stock, debentures, and other

securities of the Debtors that are publicly held and the number of record holders thereof; and the

number and classes of shares of stock, debentures, and other securities of the Debtors that are

held by the Debtors’ directors and officers, and the amounts so held.

                    58.       Pursuant to Local Rule 1007-2(a)(8), Schedule 6 hereto provides a list of

all of the Debtors’ property in the possession or custody of any custodian, public officer,

mortgagee, pledgee, assignee of rents, secured creditor, or agent for any such entity, giving the

name, address, and telephone number of each such entity and the location of the court in which

any proceeding relating thereto is pending.

                    59.       Pursuant to Local Rule 1007-2(a)(9), Schedule 7 hereto provides a list of

the premises owned, leased, or held under other arrangement from which the Debtors operate

their businesses.

                    60.       Pursuant to Local Rule 1007-2(a)(10), Schedule 8 hereto provides the

location of the Debtors’ substantial assets, the location of their books and records, and the nature,

location, and value of any assets held by the Debtors outside the territorial limits of the United

States.




                                                      24
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20    Entered 01/23/20 02:03:34       Main Document
                                                  Pg 25 of 122


                    61.       Pursuant to Local Rule 1007-2(a)(11), Schedule 9 hereto provides a list of

the nature and present status of each action or proceeding, pending or threatened, against the

Debtors or their property where a judgment against the Debtors or a seizure of their property may

be imminent.

                    62.       Pursuant to Local Rule 1007-2(a)(12), Schedule 10 hereto provides a list

of the names of the individuals who comprise the Debtors’ existing senior management, their

tenure with the Debtors, and a brief summary of their relevant responsibilities and experience.

                    63.       Pursuant to Local Rule 1007-2(b)(1)-(2)(A), Schedule 11 hereto provides

the estimated amount of weekly payroll to the Debtors’ employees (not including officers,

directors, stockholders, and partners) and the estimated amount to be paid to officers,

stockholders, directors, members of any partnerships, and financial and business consultants

retained by the Debtors for the thirty (30) day period following the filing of the Debtors’ Chapter

11 Cases as the Debtors intend to continue to operate their businesses.

                    64.       Pursuant to Local Rule 1007-2(b)(3), Schedule 12 hereto provides, for the

thirty (30) day period following the filing of the Chapter 11 Cases, a list of estimated cash

receipts and disbursements, net cash gain or loss, obligations, and receivables expected to accrue

that remain unpaid, other than professional fees.




                                                      25
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34     Main Document
                                               Pg 26 of 122


                    I declare under penalty of perjury that, to the best of my knowledge and after

reasonable inquiry, the foregoing is true and correct.


Executed this 23rd day of January, 2020



                                                              /s/ Abel Porter
                                                              Abel Porter
                                                              Chief Executive Officer

                                                              Fairway Group Holdings Corp. and
                                                              its Affiliated Debtors




                                                   26
WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34   Main Document
                                               Pg 27 of 122


                                               Exhibit A

                              Capital and Corporate Organization Chart




WEIL:\97352314\1\44444.0008
                                                                     20-10161-jlg                            Doc 4                 Filed 01/23/20                          Entered 01/23/20 02:03:34                                                         Main Document
                                                                                                                                                                          Pg 28 of 122
                                                                                                                                                                                                             Outstanding Funded Indebtedness1                                                             Companies Party to the Credit Agreement
                                                                                                                                                         Fairway Group
                                                                                                                                                                                          Senior Debt:                                                         Outstanding          Borrower: Fairway Group Acquisition Co., a Delaware corporation
                                                                                                                                                         Holdings Corp.                                                                                                             Holdings: Fairway Group Holdings Corp., a Delaware corporation
                                                                                                                                                              (DE)                        L/C Loans                                                              $26.8mm
                                                                                                                                                                                          New Term Loans                                                         $16.0mm
                                                                                                                                                                                                                                                                 $42.8mm                                Classes of Loans Under the Credit Agreement2

                    LEGEND                                                                                                                                                                Senior First Lien Term Loan:                                            $76.5mm           L/C Loans

                                                                                                                                                                                          Senior Last Out Term Loan:                                             $56.8mm            Outstanding Amount: $26.8mm
              Borrower                                                                                                                                                                                                                                                              Interest Rate: 15.0% (11.0% PIK'd / 4.0% cash pay)
                                                                                                                                          100% Owner of                                   Holdco Loan:                                                           $51.0mm            Maturity Date: Earlier of 8/28/23 and the Springing Maturity Date2
              Guarantor                                                                                                                                                                                                                                                             Collateral: Substantially all assets, subject to limited exclusions
              Non‐Debtor Entity                                                                                                                                                           Total Secured Debt                                                    $227.2mm
                                                                                                                                                                                                                                                                                    New Term Loans
                                                                                                                                                                                                                                                                                    Outstanding Amount: $16mm
                                                                                                                                                                                                                                                                                    Interest Rate: 15.0% (11.0% PIK / 4.0% cash pay)
                                                                                                                                                                                                                                                                                    Ticking Fee: 3.0% on undrawn amounts3
                                                                                                                                                                                                                                                                                    Maturity Date: Earlier of 8/28/23 and the Springing Maturity Date
                                                                                                                                                                                                                                                                                    Collateral: Substantially all assets, subject to limited exclusions

                                                                                                                                                                                                                                                                                    Senior First Out Term Loans
                                                                                                                                                                                                                                                                                    Outstanding Amount: $76.5mm
                                                                                                                                                                                                                                                                                    Interest Rate: (i) if paid in cash, L+ 8.0% or (ii) if PIK'd (at the election of the Borrower), 12%
                                                                                                                                                                                                                                                                                    Maturity Date: Earlier of 11/28/23 and the Springing Maturity Date
                                                                                                                                                                                                                                                                                    Collateral: Substantially all assets, subject to limited exclusions


                                                                                                                                                                                                                                                                                    Senior Last Out Term Loans
                                                                                                                                                        Fairway Group
                                                                                                                                                                                                                                                                                    Outstanding Amount: $56.8mm
                                                                                                                                                        Acquisition Co.                                                                                                             Interest Rate: (i) if partially PIK'd and partially paid in cash, 9.0% (4.5% PIK'd / 4.5% cash pay)
                                                                                                                                                             (DE)                                                                                                                   or (ii) if 100% PIK'd (at the election of the Borrower), 10.0%
                                                                                                                                                                                                                                                                                    Maturity Date: Earlier of 11/28/23 and the Springing Maturity Date
                                                                                                                                                                                                                                                                                    Collateral: Substantially all assets, subject to limited exclusions

                                                                                                                                                                                                                                                                                    Holdco Loans
                                                                                                                                      Sole Member of                                                                                                                                Outstanding Amount: $51.0mm
                                                                                                                                                                                                                                                                                    Interest Rate: (i) if partially PIK'd and partially paid in cash, 10.0% (6.0% PIK'd / 4.0% cash
                                                                                                                                                                                                                                                                                    pay) or (ii) if 100% PIK'd (at the election of the Borrower), 11.0%
                                                                                                                                                                                                                                                                                    Maturity Date: Earlier of 2/24/24 and the Springing Maturity Date
                                                                                                                                                                                                                                                                                    Collateral: Substantially all assets, subject to limited exclusions




             Fairway Pelham                   Fairway                      Fairway Hudson                      Fairway Kips                        Fairway                      Fairway Pelham                         Fairway                         Fairway                            Fairway
             Wines & Spirits               Broadway LLC                       Yards LLC*                         Bay LLC                         Westbury LLC                         LLC                           Stamford LLC                    Ecommerce LLC                        Community
                   LLC                          (DE)                             (DE)                              (DE)                              (DE)                            (DE)                                (DE)                            (DE)                          Foundation Inc.
                  (DE)                                                                                                                                                                                                                                                                      (DE)




                  Fairway Bakery                     Fairway                       Fairway Group                     Fairway Group                        Fairway                       Fairway Chelsea                     Fairway                         Fairway Staten
                        LLC                         Greenwich                       Plainview LLC                    Central Services                   Paramus LLC                           LLC                         Georgetowne                         Island LLC*
                       (DE)                         Street LLC*                          (DE)                              LLC                              (DE)                             (DE)                              LLC                                (DE)
                                                       (DE)                                                               (DE)                                                                                                (DE)




                                Fairway Red             Fairway Uptown                    Fairway                               Fairway                        FN Store LLC                     Fairway                         Fairway East                             Fairway
                                 Hook LLC                      LLC                      Woodland Park                         Construction                         (DE)                      Douglaston LLC                    86th Street LLC                       Stamford Wines
                                    (DE)                      (DE)                           LLC                               Group, LLC                                                         (DE)                              (DE)                               & Spirits LLC
                                                                                            (DE)                                  (NY)                                                                                                                                     (DE)




* Inactive Subsidiary
1
    Amount outstanding as of January 7, 2020 based on Lender Register provided by Ankura.
2
 "Springing Maturity Date" shall mean (i) July 3, 2019, if an aggregate amount exceeding $0 is outstanding under the Existing First Out Term Loan Facility and the Existing Last Out Term Loan Facility on such date and (ii) April 3, 2021, if an aggregate amount exceeding $0 is outstanding under the Existing Subordinated Holdco Facility on such date; provided that the
Springing Maturity Date may be extended by the Required New Facilities Lenders, acting in their sole discretion.
3
    Scheduled to terminate August 28, 2020 (subject to change based on various triggers in "New Term Loan Delayed Draw Commitment Termination Date").
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34   Main Document
                                               Pg 29 of 122


                                                Exhibit B

                                 Restructuring Support Agreement




WEIL:\97352314\1\44444.0008
20-10161-jlg          Doc 4         Filed 01/23/20    Entered 01/23/20 02:03:34      Main Document
                                                     Pg 30 of 122
                                                                                      Execution Version



                   RESTRUCTURING SUPPORT AGREEMENT

This RESTRUCTURING SUPPORT AGREEMENT (this “Agreement”), dated as of January 22,
2020, is entered into by and between:
                              (i)       Fairway Group Holdings Corp. (“Fairway”), and its direct and
                              indirect debtor subsidiaries (each, a “Company Party” and collectively, the
                              “Company Parties”); and

                              (ii)      Each undersigned Lender (each being a “Consenting Creditor,” and
                              together with their respective successors and permitted assigns and any
                              subsequent Lender that becomes a party hereto in accordance with the terms
                              hereof, the “Consenting Creditors”)

Each Company Party, each Consenting Creditor, and any subsequent Person that becomes a party
hereto in accordance with the terms hereof are referred to herein as the “Parties” and individually
as a “Party.”
        WHEREAS, the Parties have agreed to the Restructuring Transactions (as defined herein)
consistent with the terms and subject to the conditions set forth herein, including in the Term Sheet
(as defined herein), which are the product of arms’-length, good faith discussions between the
Parties and their respective professionals;
       WHEREAS, as of the date hereof, the Consenting Creditors hold, or act as the nominee,
investment adviser, sub-adviser, or investment manager to entities that hold, in the aggregate, (i)
100.00% of the aggregate outstanding principal amount of the L/C Facility Loans; (ii) 100.00% of
the aggregate outstanding principal amount of the Super Senior Secured Term Loans; (iii)
approximately 99.59% of the aggregate outstanding principal amount of the Senior First Out Term
Loans; (iv) approximately 82.89% of the aggregate outstanding principal amount of Senior Last
Out Term Loans; and (v) approximately 82.89% of the aggregate outstanding principal amount of
the Subordinated Loans;
       WHEREAS, the Company Parties have requested, and certain Consenting Creditors have
agreed to provide the DIP Facility; and
      WHEREAS, the Parties desire to express to each other their mutual support and
commitment in respect of the matters discussed in this Agreement and in the Term Sheet.
        NOW, THEREFORE, in consideration of the premises and the mutual covenants and
agreements set forth herein, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the Parties, intending to be legally bound, agree as
follows:
                               1.      Certain Definitions.

Capitalized terms used but not defined in this Agreement shall have the meaning ascribed to them
in the restructuring term sheet attached hereto as Exhibit A (together with all schedules, exhibits,




WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34        Main Document
                                               Pg 31 of 122


and annexes attached thereto, and as may be modified in accordance with Section 9 hereof,
the “Term Sheet”).
As used in this Agreement, the following terms have the following meanings:
          (a)    “Ad Hoc Group” means, collectively, the Consenting Creditors represented by
          King & Spalding LLP.

          (b)   “Administrative Agent” means Ankura Trust Company, LLC, in its capacity as
          Administrative Agent under the Credit Agreement, and its successors and assigns.

          (c)     “Alternative Transaction” means any plan, dissolution, winding up, liquidation,
          sale or disposition, reorganization, merger or restructuring of the Company Parties or their
          assets other than the Restructuring Transactions.

          (d)     “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101, et
          seq., as amended from time to time.

          (e)     “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
          District of New York having jurisdiction over the Chapter 11 Cases.

          (f)    “Bidding Procedures” means the procedures governing the auction and Sale
          Process, as approved by the Bankruptcy Court.

          (g)    “Bidding Procedures Motion” means a motion filed by the Company Parties with
          the Bankruptcy Court for entry of the Bidding Procedures Order.

          (h)      “Bidding Procedures Order” means an order (i) approving the Bidding Procedures,
          (ii) setting dates for the submission of bids and the auction (if any) in accordance with the
          Bidding Procedures, and (iii) granting related relief.

          (i)       “Claim” has the meaning set forth in the Bankruptcy Code.

          (j)   “Chapter 11 Cases” means the cases under chapter 11 of the Bankruptcy Code to
          be commenced by the Company Parties in the Bankruptcy Court.

          (k)   “Commencement Date” means the date that the Company Parties commence the
          Chapter 11 Cases.

          (l)   “Confirmation Order” means an order of the Bankruptcy Court confirming the
          Plan.

          (m)    “Credit Agreement” means that certain Super Senior Credit Agreement, dated
          August 28, 2018 (as amended, restated, amended and restated, supplemented, or otherwise
          modified from time to time in accordance with the terms thereof), by and among Fairway
          Group Acquisitions Company, as the borrower, Fairway Group Holdings Corp., the
          Administrative Agent, and the lenders party thereto.


                                                   2

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34       Main Document
                                               Pg 32 of 122


          (n)     “Definitive Documents” means the documents (including any related orders,
          agreements, instruments, schedules or exhibits) that are contemplated by the Term Sheet
          and that are otherwise necessary or desirable to implement, or otherwise relate to the
          Restructuring Transactions, including, without limitation: (i) the Sale Documents; (ii) the
          Plan; (iii) each of the documents comprising the Plan Supplement; (iv) the Disclosure
          Statement; (v) the Disclosure Statement Motion; (vi) the Disclosure Statement Order; (vii)
          the Confirmation Order; (viii) the motion seeking approval by the Bankruptcy Court of the
          DIP Facility and the DIP Orders (including any declarations or affidavits submitted in
          support thereof) (the “DIP Motion”); (ix) the interim and final orders of the Bankruptcy
          Court approving the DIP Motion and authorizing the use of cash collateral (the “Interim
          DIP Order” and the “Final DIP Order,” respectively), (x) any other material, agreements,
          motions (including “first day” motions), pleadings, briefs, applications (other than
          applications to retain or compensate the Company Parties’ advisors), orders and other
          filings made by the Company Parties with the Bankruptcy Court. Each of the Definitive
          Documents shall contain terms and conditions consistent in all material respects with this
          Agreement and the Term Sheet, and shall otherwise be reasonably acceptable to the
          Requisite Consenting Creditors, including with respect to any modifications, amendments,
          deletions, or supplements to such Definitive Documents at any time during the RSA
          Support Period.

          (o)    “DIP Credit Agreement” means the credit agreement evidencing the DIP Facility
          on terms and conditions consistent with the DIP Term Sheet.

          (p)    “DIP Facility” means the debtor-in-possession financing facility to be provided to
          the Company Parties in accordance with the terms, and subject in all respects to the terms
          and conditions, as set forth in the DIP Credit Agreement and the DIP Orders.

          (q)       “DIP Orders” means, collectively, the Interim DIP Order and the Final DIP Order.

          (r)     “DIP Term Sheet” means the term sheet setting forth the material terms of the DIP
          Facility attached to the Term Sheet as Schedule 1.

          (s)    “Disclosure Statement” means the disclosure statement in respect of the Plan,
          including all exhibits and schedules thereto, as approved or ratified by the Bankruptcy
          Court pursuant to section 1125 of the Bankruptcy Code.

          (t)    “Disclosure Statement Motion” means the motion seeking approval of the
          Disclosure Statement and entry of the Disclosure Statement Order.

          (u)     “Disclosure Statement Order” means an order of the Bankruptcy Court approving
          the Disclosure Statement, the Plan Solicitation Materials, and the procedures for
          solicitation of the Plan.

          (v)    “Loans” means any outstanding loan issued and other credit extended under the
          Credit Agreement.


                                                    3

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34        Main Document
                                               Pg 33 of 122


          (w)    “Material Assets” means one or more assets of the Company Parties with a fair
          market value equal to or greater than $250,000.

          (x)    “Person” means any “person” as defined in section 101(41) of the Bankruptcy
          Code, including, without limitation, any individual, corporation, limited liability company,
          partnership, joint venture, association, joint-stock company, trust, unincorporated
          organization or government or any agency or political subdivision thereof or other entity.

          (y)       “Plan” means a chapter 11 plan implementing the Restructuring Transactions.

          (z)     “Plan Effective Date” means the date upon which all conditions precedent to the
          effectiveness of the Plan have been satisfied or waived in accordance with the terms
          thereof, as the case may be, and the Plan is substantially consummated.

          (aa) “Plan Solicitation Materials” means the ballots and other related materials to be
          distributed in connection with the solicitation of votes on the Plan.

                  (bb) “Requisite Consenting Creditors” means, as of the date of determination,
          Consenting Creditors holding at least a majority in aggregate principal amount outstanding
          of the Loans held by all Consenting Creditors as of such date, which shall include each of
          both Brigade Capital Management and Special Situations Investing Group for so long as
          such institutions and/or their affiliates are Consenting Creditors.

          (cc) “Restructuring Expenses” means all reasonable and documented fees and
          expenses owed by the Company Parties and incurred by the Ad Hoc Group, including but
          not limited to the fees and expenses of King & Spalding LLP and any such other advisors
          engaged by the Ad Hoc Group in their reasonable discretion.

          (dd)     “Restructuring Transactions” means all acts, events, and transactions
          contemplated by, required for, and taken to implement the restructuring of the Company
          Parties in accordance with this Agreement and the Term Sheet, including the Plan and the
          Sale Transactions.

          (ee) “RSA Support Period” means the period commencing on the Support Effective
          Date and ending on the earlier of (i) the date on which this Agreement is terminated in
          accordance with Section 5 and (ii) the Plan Effective Date.

          (ff)    “Sale Documents” means, collectively, (i) any asset purchase agreements and
          related motions, orders or other documents for or related to the Sale Transactions, (ii) the
          Bidding Procedures Motion and any other related motions, orders or other documents
          related to the Bidding Procedures (including, but not limited to, the Bidding Procedures
          Order) and (iii) any other motions, orders or other documents related to, or entered into by
          the Company Parties in connection with, the Sale Process.

          (gg)      “SEC” means the Securities and Exchange Commission.

          (hh)      “Securities Act” means the Securities Act of 1933, as amended.
                                                    4

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4        Filed 01/23/20    Entered 01/23/20 02:03:34     Main Document
                                                    Pg 34 of 122


          (ii)    “Stalking Horse Agreement” means that certain asset purchase agreement by and
          among the Company Parties party thereto, as “Sellers” and Village Super Market, Inc., as
          “Buyer”, for sale pursuant to section 363 of the Bankruptcy Code of the assets identified
          therein as the “Acquired Assets” .

          (jj)   “Support Effective Date” means the date on which the counterpart signature pages
          to this Agreement have been executed and delivered by the Company Parties and
          Consenting Creditors holding at least 66 2/3% in aggregate principal amount outstanding
          of each of the L/C Facility Loans, Super Senior Secured Term Loans, Senior First Out
          Term Loans, Senior Last Out Term Loans and the Subordinated Loans.

                              2.      Term Sheet.

The Term Sheet is expressly incorporated herein by reference and made part of this Agreement as
if fully set forth herein. The Term Sheet, including the schedules, annexes and exhibits thereto,
sets forth certain material terms and conditions of the Restructuring Transactions.
Notwithstanding anything else in this Agreement to the contrary, in the event of any inconsistency
between this Agreement and the Term Sheet (including the attachments thereto, as applicable), the
Term Sheet (including the attachments thereto, as applicable) shall control.
                              3.      Agreements of the Consenting Creditors.

          (a)       Agreement to Support. During the RSA Support Period, subject to the terms and
          conditions hereof, each of the Consenting Creditors agrees, severally and not jointly, that
          it shall:

          (i)     use its commercially reasonable efforts to support the Restructuring Transactions,
          act in good faith and take any and all reasonable actions necessary to consummate the
          Restructuring Transactions, in a manner consistent with this Agreement and the Term
          Sheet;

          (ii)   refrain from initiating (or directing or encouraging the Administrative Agent or any
          other Person to initiate) any actions, including legal proceedings, that are inconsistent with,
          or that would delay, prevent, frustrate or impede the approval, confirmation or
          consummation, as applicable, of the Restructuring Transactions;

          (iii)   not direct the Administrative Agent to take any action inconsistent with the
          Consenting Creditors’ obligations under this Agreement, and, if the Administrative Agent
          takes any action inconsistent with the Consenting Creditors’ obligations under this
          Agreement, the Consenting Creditors shall direct and use their commercially reasonable
          efforts to cause the Administrative Agent to cease, withdraw, and refrain from taking any
          such action;

          (iv)   (a) timely vote (pursuant to the Plan) or cause to be voted all of its Claims (including
          on account of any claims other than those relating to the Credit Agreement that are owned
          or controlled by such Consenting Creditor) to accept the Plan by delivering its duly
          executed and completed ballot or ballots, as applicable, accepting the Plan on a timely basis

                                                        5

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34           Main Document
                                               Pg 35 of 122


          following commencement of the solicitation of acceptances of the Plan in accordance with
          sections 1125 and 1126 of the Bankruptcy Code and the Disclosure Statement Order and
          (b) to the extent such election is available, not elect on its ballot to preserve claims, if any,
          that such Consenting Creditor may own or control that may be affected by any releases
          contemplated under the Plan (and, to the extent required by such ballot, to affirmatively
          “opt in” to any such releases and exculpation);

          (v)     negotiate in good faith with the Company Parties the forms of the Definitive
          Documents and execute the Definitive Documents (to the extent such Consenting Creditor
          is a party thereto);

          (vi)    not change or withdraw its votes to accept the Plan (or cause or direct such vote to
          be changed or withdrawn); provided, however, that such vote shall, without any further
          action by the applicable Consenting Creditor, be deemed automatically revoked (and, upon
          such revocation, deemed void ab initio) by the applicable Consenting Creditor at any time
          following the expiration of the RSA Support Period;

          (vii) other than in respect of any such rights preserved under Section 3(d) below, not
          directly or indirectly, through any Person, take any action, including initiating (or
          encouraging any other Person to initiate) any legal proceeding, that is inconsistent with or
          that would reasonably be expected to prevent, interfere with, delay, or impede the
          consummation of the Restructuring Transactions, including the approval of the DIP
          Motion, the entry of the DIP Orders, the approval of the Bidding Procedures Motion, the
          entry of the Bidding Procedures Order, the approval of the Disclosure Statement Motion
          or entry of the Disclosure Statement Order, or the solicitation of votes on, and confirmation
          of, the Plan;

          (viii) to the extent any legal or structural impediment arises that would prevent, hinder,
          or delay the consummation of the Restructuring Transactions, negotiate in good faith
          appropriate additional or alternative provisions to address any such impediment;

          (ix)    use its commercially reasonable efforts to obtain any and all required regulatory
          and third-party approvals for such Consenting Creditor to consummate the Restructuring
          Transactions and to support the Company Parties in connection with the same;

          (x)    support and take all reasonable actions necessary or reasonably requested by the
          Company Parties to confirm such Consenting Creditors’ support for the Bankruptcy
          Court’s approval of the Plan and Disclosure Statement, the solicitation of votes on the Plan
          by the Company Parties, and the confirmation and consummation of the Plan and the
          Restructuring Transactions; and

          (xi)    not challenge or support any other party that challenges the validity, enforceability,
          or priority of the Credit Agreement and the Claims thereunder.




                                                     6

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20     Entered 01/23/20 02:03:34                Main Document
                                                   Pg 36 of 122


          (b)       Transfers.

          (i)     Each Consenting Creditor agrees that, for the duration of the RSA Support Period,
          such Consenting Creditor shall not sell, transfer, loan, issue, participate, pledge,
          hypothecate, assign or otherwise dispose of (other than ordinary course pledges or swaps)
          (each, a “Transfer”), directly or indirectly, in whole or in part, any of its Claims, including
          any beneficial ownership in any such Claims, 1 or any option thereon or any right or interest
          therein, unless the transferee thereof either (A) is a Consenting Creditor (with respect to a
          Transfer by a Consenting Creditor) or (B) prior to such Transfer, agrees in writing for the
          benefit of the Parties to become a Consenting Creditor and to be bound by all of the terms
          of this Agreement applicable to Consenting Creditors (including with respect to any and
          all Claims it already may hold against or in the Company Parties prior to such Transfer) by
          executing a joinder agreement, a form of which is attached hereto as Exhibit B (a “Joinder
          Agreement”), and delivering an executed copy thereof within two (2) business days of such
          execution, to (1) Weil, Gotshal and Manges LLP (“Weil”), as counsel to the Company
          Parties and (2) King & Spalding LLP, (“K&S”), as counsel to the Ad Hoc Group in which
          event (x) the transferee shall be deemed to be a Consenting Creditor hereunder to the extent
          of such Transferred Claims and (y) the transferor shall be deemed to relinquish its rights
          (and be released from its obligations) under this Agreement to the extent of and solely with
          respect to such Transferred Claims (but not with respect to any other Claims or equity
          interests acquired or held by such transferor) (such Transfer, a “Permitted Transfer” and
          such party to such Permitted Transfer, a “Permitted Transferee”). Each Consenting
          Creditor agrees that any Transfer of any Claim that does not comply with the terms and
          procedures set forth herein shall be deemed void ab initio, and the Company Parties and
          each other Consenting Creditor shall have the right to enforce the voiding of such Transfer.

          (ii)    Notwithstanding anything to the contrary herein, (A) a Qualified Marketmaker 2
          that acquires any Claims subject to this Agreement held by a Consenting Creditor with the
          purpose and intent of acting as a Qualified Marketmaker for such Claims, shall not be
          required to become a party to this Agreement as a Consenting Creditor, if such Qualified
          Marketmaker Transfers such Claims (by purchase, sale, assignment, or other similar
          means) within the earlier of ten (10) business days of its acquisition and the plan voting
          deadline to a Permitted Transferee and the Transfer otherwise is a Permitted Transfer;
          provided, that a Qualified Marketmaker’s failure to comply with this Section 3(b) shall
          result in the Transfer of such Claims to such Qualified Marketmaker being deemed void
          ab initio, and (B) to the extent any Party is acting solely in its capacity as a Qualified
          Marketmaker, it may Transfer any ownership interests in the Claims that it acquires from

1
  As used herein, the term “beneficial ownership” means the direct or indirect economic ownership of, and/or the
power, whether by contract or otherwise, to direct the exercise of the voting rights and the disposition of, any Claims
subject to this Agreement or the right to acquire such Claims.
2
 As used herein, the term “Qualified Marketmaker” means an entity that (a) holds itself out to the public, the
syndicated loan market, or the applicable private markets as standing ready in the ordinary course of business to
purchase from customers and sell to customers claims against, or equity interests in, the Company Parties, or enter
with customers into long and short positions in claims against the Company Parties, in its capacity as a dealer or
market maker in such claims and (b) is, in fact, regularly in the business of making a market in claims against issuers
or borrowers (including term, loans, or debt or equity securities).
                                                          7

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34            Main Document
                                               Pg 37 of 122


          a holder of Claims that is not a Consenting Creditor to a transferee that is not a Consenting
          Creditor at the time of such Transfer without the requirement that the transferee be or
          become a signatory to this Agreement or execute a Joinder Agreement.

          (iii)  This Section 3(b) shall not impose any obligation on the Company Parties to issue
          any “cleansing letter” or otherwise publicly disclose information for the purpose of
          enabling a Consenting Creditor to Transfer any Claims. Notwithstanding anything to the
          contrary herein, to the extent the Company Parties and another Party have entered into a
          separate agreement with respect to the issuance of a “cleansing letter” or other public
          disclosure of information, the terms of such confidentiality agreement shall continue to
          apply and remain in full force and effect according to its terms.

          (c)     Additional Claims. This Agreement shall in no way be construed to preclude a
          Consenting Creditor from acquiring additional Claims; provided that, to the extent any
          Consenting Creditor (i) acquires additional Claims, (ii) holds or acquires any other claims
          against the Company Parties entitled to vote on the Plan or (iii) holds or acquires any equity
          interests in the Company Parties entitled to vote on the Plan, then, in each case, each such
          Consenting Creditor shall promptly notify Weil and K&S, and each such Consenting
          Creditor agrees that all such Claims and/or equity interests shall be subject to this
          Agreement, and agrees that, for the duration of the RSA Support Period with respect to
          such Consenting Creditor and subject to the terms of this Agreement, it shall vote in favor
          of the Plan (or cause to be voted) any such additional Claims and/or equity interests entitled
          to vote on the Plan (to the extent still held by it on or on its behalf at the time of such vote),
          in a manner consistent with Section 3(a) hereof. For the avoidance of doubt, any obligation
          to vote for the Plan or any other plan of reorganization shall be subject to sections 1125
          and 1126 of the Bankruptcy Code.

          (d)     Preservation of Rights. Notwithstanding the foregoing, nothing in this Agreement,
          and neither a vote to accept the Plan by any Consenting Creditor, nor the acceptance of the
          Plan by any Consenting Creditor, shall: (i) be construed to limit consent and approval
          rights provided in this Agreement, the Term Sheet, and the Definitive Documents; (ii) be
          construed to prohibit any Consenting Creditor from contesting whether any matter, fact, or
          thing is a breach of, or is inconsistent with, this Agreement; (iii) limit the rights of any
          Consenting Creditor under any applicable bankruptcy, insolvency, foreclosure or similar
          proceeding, or be construed to prohibit any Consenting Creditor from appearing as a party-
          in-interest in any matter to be adjudicated in or arising in connection with the Chapter 11
          Cases, so long as such appearance and the positions advocated in connection therewith are
          not inconsistent with this Agreement or such Consenting Creditors’ obligations hereunder
          and are not for the purpose of hindering, delaying, or preventing the consummation of the
          Restructuring Transactions (and could not be reasonably expected to accomplish the same);
          (iv) limit the ability of any Consenting Creditor to purchase, sell, or enter into any
          transaction in connection with its Claims, in compliance with the terms hereof and
          applicable law; (v) constitute a waiver or amendment of any provision of the Credit
          Agreement, the Collateral Documents (as defined in the Credit Agreement) or any related
          documents or any other documents or agreements that give rise to a Consenting Creditor’s
          Claims; (vi) bar any Consenting Creditor or the Administrative Agent on behalf of the
                                                      8

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4        Filed 01/23/20    Entered 01/23/20 02:03:34   Main Document
                                                    Pg 38 of 122


          Consenting Creditors from filing a proof of claim with the Bankruptcy Court, or taking
          action to establish the amount of such claim; or (vii) limit the ability of any Consenting
          Creditor to assert any rights, claims, or defenses under the Credit Agreement, the Collateral
          Documents (as defined in the Credit Agreement), and any related documents or any other
          documents or agreements that give rise to a Consenting Creditor’s Claims, to the extent the
          assertion of such rights, claims, or defenses are not inconsistent with this Agreement or
          such Consenting Creditors’ obligations hereunder.

          (e)     DIP Facility Commitment. Each Consenting Creditor, that has executed this
          Agreement prior to the Petition Date (each, an “Initial Consenting Creditor” and
          collectively, the “Initial Consenting Creditors”) hereby commits, severally and not
          jointly, directly or through one more affiliated funds or financing vehicles (or funds or
          accounts advised or sub-advised by such person), to participate in the New Money DIP
          Commitments and New Money Delayed Draw DIP Commitments on a pro rata basis,
          determined based on the outstanding aggregate principal amount of Prepetition Super
          Senior Loans held by the Initial Consenting Creditors or their affiliated funds as of the
          Support Effective Date. In exchange for each Initial Consenting Creditor’s New Money
          DIP Commitments and New Money Delayed Draw DIP Commitments, each Initial
          Consenting Creditor shall be entitled to a commitment fee equal to 4.00% on the entire
          New Money DIP Commitments and the New Money Delayed Draw DIP Commitments
          (solely to the extent funded) as further set forth in the DIP Term Sheet attached as Schedule
          1 to the Term Sheet.

          (f)     Stock Transfer Restriction and Tax Attribute Protection Motions. Each Consenting
          Creditor, severally and not jointly, agrees not to transfer any equity interests in Fairway
          prior to the Commencement Date in a manner that would change the ownership of such
          equity interests for purposes of section 382 of title 26 of the United States Code (the “Tax
          Code”) without the prior consent of the Company not to be unreasonably withheld,
          conditioned, or delayed. Each Consenting Creditor further agrees to support the filing of a
          customary stock trading order that restricts the accumulation and disposition of equity
          interests in Fairway by persons who own, or would own, more than approximately 4.75%
          of the equity interests during the pendency of the Chapter 11 Cases.

                              4.      Agreements of the Company Parties.

          (a)    Covenants. Each Company Party agrees that, for the duration of the RSA Support
          Period, such Company Party shall:

          (i)     (A) support and use commercially reasonable efforts to consummate and complete
          the Restructuring Transactions, and all transactions contemplated under this Agreement
          (including, without limitation, those described in the Term Sheet), and take any and all
          reasonably necessary actions in furtherance thereof, including, without limitation,
          (1) complete and file, within the timeframes contemplated herein, the Sale Documents, the
          Plan, the Disclosure Statement, and the other Definitive Documents, (2) use commercially
          reasonable efforts to obtain orders of the Bankruptcy Court approving the DIP Credit
          Agreement, the DIP Orders, the Sale Documents (to the extent requiring approval of the

                                                        9

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34           Main Document
                                               Pg 39 of 122


          Bankruptcy Court), the Disclosure Statement, and confirming the Plan, and any other
          Definitive Document requiring the approval of the Bankruptcy Court within the timeframes
          contemplated by this Agreement (or, if this Agreement is silent, as soon as reasonably
          practicable); and (3) prosecute and defend any objections or appeals relating to the DIP
          Orders, any orders approving the Sale Documents, the Disclosure Statement Order, the
          Confirmation Order, and/or the Restructuring Transactions or any Definitive Document
          filed or entered into by a Company Party in connection therewith; and (B) not take any
          action that is inconsistent with, or to alter, delay, impede, or interfere with, approval of the
          DIP Motion, the Sale Documents, the Disclosure Statement, confirmation of the Plan, or
          consummation of the Plan and the Restructuring Transactions or any Definitive Document
          filed or entered into by a Company Party;

          (ii)    not seek, solicit, propose, or support an Alternative Transaction; provided,
          however, that if the Company Parties receive an unsolicited bona fide proposal or
          expression of interest in undertaking an Alternative Transaction that the boards of directors,
          members, or managers (as applicable) of the Company Parties, determine in their good-
          faith judgment provides a higher or better economic recovery to the Company Parties’
          stakeholders than that set forth in this Agreement, and such Alternative Transaction is from
          a proponent that the boards of directors, members, or managers (as applicable) of the
          Company Parties have reasonably determined is capable of timely consummating such
          Alternative Transaction, the Company Parties will, within 48 hours of the receipt of such
          proposals or expression of interest, notify the Consenting Creditors in accordance with
          Section 20 hereof (or solely to K&S to the extent notice of the bona fide proposal or
          expression of interest must remain confidential; provided that the Company Parties shall
          notify the Consenting Creditors in accordance with Section 20 as soon as reasonably
          practicable) of the receipt thereof, with such notice to include the materials terms thereof,
          including the identity of the Person or Persons involved;

          (iii)    on or before the Commencement Date, provide draft copies of “first day” motions
          and orders, including a first day declaration, the motion seeking approval of the DIP
          Facility, the Bidding Procedures Motion, and the Bidding Procedures Order, in each case,
          in form and substance reasonably acceptable to the Requisite Consenting Creditors;

          (iv)    provide draft copies of all material motions or applications and other documents
          (including the Plan, the Disclosure Statement, the ballots and other solicitation materials
          in respect of the Plan, and the Confirmation Order) that the Company Parties intend to file
          with the Bankruptcy Court to K&S, if reasonably practical, at least three (3) business days
          prior to the date when the Company Parties intend to file any such pleading or other
          document (provided that if delivery of such motions, orders or materials (other than the
          Plan, the Disclosure Statement, the Confirmation Order or an adequate protection order) at
          least three (3) business days in advance is not reasonably practicable, such motion, order
          or material shall be delivered as soon as reasonably practicable prior to filing) and shall
          consult in good faith with such counsel regarding the form and substance of any such
          proposed filing with the Bankruptcy Court;



                                                    10

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34        Main Document
                                               Pg 40 of 122


          (v)    file the “first day” motions reasonably determined by the Company Parties, in form
          and substance reasonably acceptable to the Requisite Consenting Creditors, to be
          necessary, and to seek interim and final (to the extent necessary) orders, in form and
          substance reasonably acceptable to the Company Parties and the Requisite Consenting
          Creditors, from the Bankruptcy Court approving the relief requested in the first day”
          motions;

          (vi)   not, nor encourage any other person or entity to, take any action which would, or
          would reasonably be expected to, breach or be inconsistent with this Agreement or delay,
          impede, appeal, or take any other negative action, directly or indirectly, to interfere with
          the acceptance, confirmation, or consummation of the Plan or implementation of the
          Restructuring Transactions;

          (vii) subject to appropriate confidentiality arrangements, provide to the Consenting
          Creditors’ professionals, upon reasonable advance notice to the Company Parties:
          (A) reasonable access (without any material disruption to the conduct of the Company
          Parties’ business) during normal business hours to the Company Parties’ books, records,
          and facilities; (B) reasonable access to the respective management and advisors of the
          Company Parties for the purposes of evaluating the Company Parties’ finances and
          operations and participating in the planning process with respect to the Restructuring
          Transactions; (C) prompt access to any information provided to any existing or prospective
          financing sources (including lenders under any debtor-in-possession and/or exit financing);
          and (D) prompt and reasonable responses to all reasonable diligence requests;

          (viii) use their commercially reasonable efforts to support and take all actions as are
          reasonably necessary and appropriate to obtain any and all required regulatory and/or third-
          party approvals necessary to consummate the Restructuring;

          (ix)  promptly pay all Restructuring Expenses in accordance with Section 16 of this
          Agreement;

          (x)    to the extent any legal or structural impediment arises that would prevent, hinder,
          or delay the consummation of the Restructuring Transactions, negotiate in good faith
          appropriate additional or alternative provisions to address any such impediment;

          (xi)   not enter into any commitment or agreement with respect to debtor-in-possession
          financing, use of cash collateral, adequate protection, exit financing, and/or any other
          financing arrangements other than the DIP Facility unless otherwise agreed to by the
          Company Parties, and the Requisite Consenting Lenders, other than such financing
          arrangements that arise in the ordinary course of the Company Parties’ business operations;

          (xii) not sell any Material Assets outside of the ordinary course of business other than in
          connection with the Sale Transactions contemplated by the Bidding Procedures Motion
          without the prior written consent (including e-mail) of the Requisite Consenting Creditors;

          (xiii) subject to applicable laws, use commercially reasonable efforts to, consistent with
          the pursuit and consummation of the Restructuring Transactions, preserve intact in all
                                                  11

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4        Filed 01/23/20    Entered 01/23/20 02:03:34     Main Document
                                                    Pg 41 of 122


          material respects the current business operations of the Company Parties (other than as
          consistent with applicable fiduciary duties), keep available the services of its current
          officers and material employees (in each case, other than as contemplated by the Company
          Parties’ current business plan provided to the Consenting Creditors, voluntary resignations,
          terminations for cause, or terminations consistent with applicable fiduciary duties) and
          preserve in all material respects its relationships with customers, sales representatives,
          suppliers, distributors, and others, in each case, having material business dealings with the
          Company Parties (other than terminations for cause or consistent with applicable fiduciary
          duties);

          (xiv) not commence or support any avoidance action or other legal proceeding (or
          consent to any other Person obtaining standing to commence any such avoidance action or
          other legal proceeding) that challenges the validity, enforceability, or priority of the Credit
          Agreement;

          (xv) provide prompt written notice (in accordance with Section 20 hereof) to the
          Consenting Creditors and K&S between the date hereof and the Plan Effective Date of
          (A) receipt of any written notice from any third party alleging that the consent of such
          party is or may be required in connection with the Restructuring Transactions; (B) receipt
          of any written notice from any governmental body in connection with this Agreement or
          the Restructuring Transactions; and (C) receipt of any written notice of any proceeding
          commenced, or, to the actual knowledge of the Company Parties, threatened against the
          Company Parties, relating to or involving or otherwise affecting in any material respect the
          Restructuring Transactions.

          (b)    Automatic Stay. The Company Parties acknowledge and agree and shall not
          dispute the after the commencement of the Chapter 11 Cases, the giving of notice of
          termination by any Party pursuant to this Agreement shall not be a violation of the
          automatic stay of section 362 of the Bankruptcy Code (and the Company Parties hereby
          waive, to the greatest extent legally possible, the applicability of the automatic stay to the
          giving of such notice); provided that nothing herein shall prejudice any Party’s rights to
          argue that the giving of notice of default or termination was not proper under the terms of
          this Agreement.

                              5.      Termination of Agreement.

          (a)     This Agreement shall terminate upon the receipt of written notice to the other
          Parties, delivered in accordance with Section 20 hereof, from, as applicable, (x) the
          Requisite Consenting Creditors at any time after and during the continuance of any Lender
          Termination Event (as defined herein); or (y) Company Parties at any time after and during
          the continuance of any Company Termination Event, as applicable. Notwithstanding any
          provision to the contrary in this Section 5, no Party may exercise any of its respective
          termination rights as set forth herein if such Party has failed to perform or comply in all
          material respects with the terms and conditions of this Agreement (unless such failure to
          perform or comply arises as a result of another Party’s actions or inactions), with such
          failure to perform or comply causing, or resulting in, the occurrence of a Lender

                                                        12

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34         Main Document
                                               Pg 42 of 122


          Termination Event or Company Termination Event (as defined herein) specified herein.
          This Agreement shall terminate on the Plan Effective Date without any further required
          action or notice.

          (b)       A “Lender Termination Event” shall mean any of the following:

          (i)     the breach by any Company Party of (a) any covenant contained in this Agreement
          or (b) any other obligations of the Company Parties set forth in this Agreement, and, in
          each case, in any material respect and, in either respect, such breach remains uncured
          (solely to the extent capable of being cured) for a period of five (5) business days following
          the Company Parties’ receipt of written notice pursuant to Sections 5(a) and 20 hereof (as
          applicable);

          (ii)   any representation or warranty in this Agreement made by a Company Party shall
          have been untrue in any material respect when made or shall have become untrue in any
          material respect, and such breach remains uncured for a period of five (5) business days
          following the Company’s receipt of notice pursuant to Sections 5(a) and 20 hereof (as
          applicable);

          (iii)   the Definitive Documents and any amendments, modifications, or supplements
          thereto filed or entered into by the Company Parties include terms that are materially
          inconsistent with the Term Sheet and are not otherwise reasonably acceptable to the
          Requisite Consenting Creditors, and such event remains unremedied for a period of five
          (5) calendar days following the Company Parties’ receipt of notice pursuant to
          Sections 5(a) and Section 20 hereto (as applicable);

          (iv)   a Definitive Document alters the treatment of the Lenders specified in the Term
          Sheet without complying with Section 9 hereof and the Requisite Consenting Creditors
          have not otherwise consented to such Definitive Document;

          (v)     the issuance by any governmental authority, including any regulatory authority or
          court of competent jurisdiction, of any ruling, judgment or order declaring this Agreement
          to be unenforceable, enjoining the consummation of the Restructuring Transactions or
          rendering illegal this Agreement, the Plan or the Restructuring Transactions, and either
          (A) such ruling, judgment or order has been issued at the request of or with the
          acquiescence of a Company Party, or (B) in all other circumstances, such ruling, judgment
          or order has not been not stayed, reversed or vacated within fifteen (15) calendar days after
          such issuance;

          (vi)  the Support Effective Date shall not have occurred on or before the Commencement
          Date;

          (vii) the Company Parties shall not have complied with Milestones set out in the Term
          Sheet;

          (viii) the Bankruptcy Court enters an order that is not stayed (A) directing the
          appointment of a trustee or examiner with expanded powers to operate the Company
                                                   13

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4    Filed 01/23/20    Entered 01/23/20 02:03:34         Main Document
                                                Pg 43 of 122


          Parties’ business in the Chapter 11 Cases, (B) converting the Chapter 11 Cases to cases
          under chapter 7 of the Bankruptcy Code, (C) dismissing the Chapter 11 Cases, (D) denying
          confirmation of the Plan, the effect of which would render the Plan incapable of
          consummation on the terms set forth herein or (E) granting relief that is inconsistent with
          this Agreement or the Plan in any materially adverse respect to the Consenting Creditors,
          in each case;

          (ix)      the Confirmation Order is reversed or vacated by a final order;

          (x)     if either (A) any Company Party (or any person or entity on behalf of any Company
          Party or its bankruptcy estate with proper standing) files a motion, application or adversary
          proceeding (or supports or fails to timely object to such a filing) (1) challenging the
          validity, enforceability, perfection or priority of, or seeking invalidation, avoidance,
          disallowance, recharacterization or subordination of any of the obligations or Claims under
          the Credit Agreement, or (B) the Bankruptcy Court (or any court with jurisdiction over the
          Chapter 11 Cases) enters an order providing relief against the interests of the Lenders with
          respect to any of the foregoing causes of action or proceedings, including, but not limited
          to, invalidating, avoiding, disallowing, recharacterizing, subordinating, or limiting the
          enforceability of any of the obligations or Claims arising under or related to the Credit
          Agreement;

          (xi)   the DIP Facility is not approved by the Bankruptcy Court or is terminated in
          accordance with the terms of the DIP Credit Agreement and the DIP Orders;

          (xii) the Company Parties’ use of cash collateral has been terminated in accordance with
          the terms of the DIP Orders;

          (xiii) any Company Party files or seeks approval of, or supports (or fails to timely object
          to) another party in, filing or seeking approval of an Alternative Transaction;

          (xiv) the commencement of an involuntary bankruptcy case against any Company Party
          under the Bankruptcy Code, if such involuntary case is not dismissed within twenty (20)
          calendar days after the filing thereof, or if a court order grants the relief sought in such
          involuntary case;

          (xv) if any Company Party (A) withdraws the Plan, (B) publicly announces its intention
          not to support the Restructuring Transactions or the Plan, (C) files a motion with the
          Bankruptcy Court seeking the approval of an Alternative Transaction or (D) agrees to
          pursue (including, for the avoidance of doubt, as may be evidenced by a term sheet, letter
          of intent, or similar document) or publicly announces its intent to pursue an Alternative
          Transaction;

          (xvi) the Bankruptcy Court enters an order modifying or terminating the Company
          Parties’ exclusive right to file and solicit acceptances of a plan of reorganization (including
          the Plan);


                                                    14

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34        Main Document
                                               Pg 44 of 122


          (xvii) the Bankruptcy Court grants relief terminating, annulling, or modifying the
          automatic stay (as set forth in section 362 of the Bankruptcy Code) in order for the moving
          party to foreclose on any Material Asset of a Company Party in a manner that materially
          impacts Restructuring Transactions without the prior written consent of the Requisite
          Consenting Creditors;

          (xviii) the termination of the Stalking Horse Agreement or the asset purchase agreement(s)
          entered into in connection with the Sale Process (if not the Stalking Horse Agreement)
          without entry into a new purchase agreement reasonably acceptable to the Consenting
          Creditors within five (5) business days; or

          (xix) the Bankruptcy Court enters a final order disallowing, invalidating, subordinating,
          recharacterizing, or declaring unenforceable the claims, liens or interests, in any material
          respect, held by any Consenting Creditor or the Administrative Agent arising under the
          Credit Agreement.

          (c)       A “Company Termination Event” shall mean any of the following:

          (i)     the breach in any material respect by one or more of the Consenting Creditors, of
          any of the undertakings, representations, warranties, or covenants of the Consenting
          Creditors set forth herein in any material respect that remains uncured (solely to the extent
          capable of being cured) for a period of five (5) business days after the receipt of written
          notice of such breach pursuant to Sections 5(a) and 20 hereof (as applicable), provided,
          that this Agreement is still binding on other Consenting Creditors if they hold more than
          66 2/3% of the Senior First Out Term Loans;

          (ii)     the board of directors, members, or managers (as applicable) of any Company Party
          reasonably determines in good faith based upon the advice of outside counsel that
          continued performance under this Agreement or pursuit of the Restructuring Transactions
          would be inconsistent with the exercise of its fiduciary duties under applicable law;
          provided, that the Company Parties shall provide notice of such determination to K&S via
          email within one (1) business day after the date thereof; provided further that the
          Consenting Creditors reserve all rights they may have to challenge the exercise by the
          Company Parties of their ability to terminate this Agreement pursuant to this Section
          5(c)(ii);

          (iii)   the Company Parties shall not have obtained votes accepting the Plan from holders
          of the Loans sufficient to satisfy the conditions for acceptable set forth in section 1126(c)
          of the Bankruptcy Code on or before the voting deadline set forth in the solicitation
          materials distributed in connection with the Plan;

          (iv)  the Support Effective Date shall not have occurred on or before the Commencement
          Date;

          (v)  if the Plan Effective Date shall not have occurred on before 125 days following the
          Commencement Date; or

                                                   15

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34        Main Document
                                               Pg 45 of 122


          (vi)    the issuance by any governmental authority, including any regulatory authority or
          court of competent jurisdiction, of any ruling, judgment or order declaring this Agreement
          unenforceable, enjoining the consummation of a material portion of the Restructuring
          Transactions or rendering illegal this Agreement, the Plan or the Restructuring
          Transactions, and such ruling, judgment or order has not been not stayed, reversed or
          vacated within fifteen (15) calendar days after such issuance.

          (d)     Mutual Termination. This Agreement may be terminated by mutual agreement of
          the Company Parties and the Requisite Consenting Creditors upon the receipt of written
          notice delivered in accordance with Section 20 hereof.

          (e)     Automatic Termination. This Agreement shall terminate automatically, without
          any further action required by any Party, upon the occurrence of the Plan Effective Date.

          (f)     Effect of Termination. Upon the termination of this Agreement in accordance with
          this Section 5 (other than pursuant to Section 5(e) if the Restructuring Transactions have
          not been consummated, and except as provided in Section 13 hereof, this Agreement shall
          forthwith become void and of no further force or effect and each Party shall, except as
          provided otherwise in this Agreement, be immediately released from its liabilities,
          obligations, commitments, undertakings and agreements under or related to this Agreement
          and shall have all the rights and remedies that it would have had and shall be entitled to
          take all actions, whether with respect to the Restructuring Transactions or otherwise, that
          it would have been entitled to take had it not entered into this Agreement, including all
          rights and remedies available to it under applicable law, the Credit Agreement and any
          ancillary documents or agreements thereto; provided, however, that in no event shall any
          such termination relieve a Party from liability for its breach or non-performance of its
          obligations hereunder prior to the date of such termination. Upon any such termination of
          this Agreement, each vote or any consents given by any Consenting Creditor prior to such
          termination shall be deemed, for all purposes, to be null and void ab initio and shall not be
          considered or otherwise used in any manner by the Parties in connection with the
          Restructuring Transactions and this Agreement, in each case, without further confirmation
          or other action by such Consenting Creditor. If this Agreement has been terminated in
          accordance with Section 5(a) , the Company Parties shall not oppose any attempt by a
          Consenting Creditor to change or withdraw (or cause to change or withdraw) its vote to
          accept the Plan. Such Consenting Creditor shall have no liability to the Company Parties
          or to any other Consenting Creditor in respect of any termination of this Agreement in
          accordance with the terms of this Section 5 and Section 21 hereof.

          (g)     If the Restructuring Transactions have not been consummated prior to the date of
          termination of this Agreement, nothing herein shall be construed as a waiver by any Party
          of any or all of such Party’s rights and the Parties expressly reserve any and all of their
          respective rights. Pursuant to Federal Rule of Evidence 408 and any other applicable rules
          of evidence, this Agreement and all negotiations relating hereto shall not be admissible into
          evidence in any proceeding other than a proceeding to enforce its terms.



                                                   16

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4        Filed 01/23/20    Entered 01/23/20 02:03:34      Main Document
                                                    Pg 46 of 122


                              6.    Definitive Documents; Good Faith Cooperation; Further
                              Assurances.

Subject to the terms and conditions described herein, during the RSA Support Period, each Party,
severally and not jointly, hereby covenants and agrees to reasonably cooperate with each other in
good faith in connection with, and shall exercise commercially reasonable efforts with respect to
the pursuit, approval, implementation, and consummation of the Plan and the Restructuring
Transactions, as well as the negotiation, drafting, execution (to the extent such Party is a party
thereto), and delivery of the Definitive Documents. Furthermore, subject to the terms and
conditions hereof, each of the Parties shall take such action as may be reasonably necessary or
reasonably requested by the other Parties to carry out the purposes and intent of this Agreement,
and shall refrain from taking any action that would frustrate the purposes and intent of this
Agreement; provided that no Consenting Creditor shall be required to incur any material cost,
expense, or liability in connection therewith.
                              7.      Representations and Warranties.

          (a)     Each Party, severally and not jointly, represents and warrants to the other Parties
          that the following statements are true, correct and complete as of the date hereof (or, with
          respect to a Consenting Creditor that becomes a party hereto after the date hereof, as of the
          date such Consenting Creditor becomes a party hereto):

          (i)      such Party is validly existing and in good standing under the laws of its jurisdiction
          of incorporation or organization, and has all requisite corporate, partnership, limited
          liability company or similar authority to enter into this Agreement and carry out the
          transactions contemplated hereby and perform its obligations contemplated hereunder, and
          the execution and delivery of this Agreement and the performance of such Party’s
          obligations hereunder have been duly authorized by all necessary corporate, limited
          liability company, partnership or other similar action on its part;

          (ii)   the execution, delivery and performance by such Party of this Agreement does not
          and will not (A) violate any material provision of law, rule or regulation applicable to it or
          any of its subsidiaries or its charter or bylaws (or other similar governing documents) or
          those of any of its subsidiaries or (B) conflict with, result in a breach of or constitute (with
          due notice or lapse of time or both) a default under any material contractual obligation to
          which it or any of its subsidiaries is a party other than any default caused by the
          commencement of the Chapter 11 Cases or as contemplated by the Restructuring
          Transactions;

          (iii)  the execution, delivery and performance by such Party of this Agreement does not
          and will not require any registration or filing with, consent or approval of, or notice to, or
          other action, with or by, any federal, state or governmental authority or regulatory body,
          except such filings as may be necessary or required by the SEC; and

          (iv)   this Agreement is the legally valid and binding obligation of such Party, enforceable
          against it in accordance with its terms, except as enforcement may be limited by
          bankruptcy, insolvency, reorganization, moratorium or other similar laws relating to or
                                                        17

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4        Filed 01/23/20    Entered 01/23/20 02:03:34     Main Document
                                                    Pg 47 of 122


          limiting creditors’ rights generally or by equitable principles relating to enforceability or a
          ruling of the Bankruptcy Court.

          (b)     Each Consenting Creditor severally (and not jointly), represents and warrants to the
          Company Parties that, as of the date hereof (or as of the date such Consenting Creditor
          becomes a party hereto), such Consenting Creditor (i) is the beneficial owner of, or
          investment advisor or manager of funds that are beneficial owners of, the aggregate
          principal amount of Loans set forth below its name on the signature page hereof (or below
          its name on the signature page of a Joinder Agreement for any Consenting Creditor that
          becomes a party hereto after the date hereof) and does not beneficially own, or manager or
          advisor funds that own, any other Loans and (ii) has, with respect to the beneficial owners
          of such Loans, (A) sole investment or voting discretion with respect to such Loans, (B) full
          power and authority to vote on and consent to matters concerning such Loans or to
          exchange, assign and transfer such Loans, and (C) full power and authority to bind or act
          on the behalf of, such beneficial owners.

          (c)    Each Consenting Creditor severally and not jointly makes the representations and
          warranties set forth in this Section 7, in each case, to the other Parties.

                              8.      Disclosure; Publicity.

          (a)     Each Company Party shall submit drafts to the Consenting Creditors and their
          advisors in accordance with Section 20 of any press releases and public documents that
          constitute disclosure of the existence or terms of this Agreement or any amendment to the
          terms of this Agreement at least one (1) calendar day before making any such disclosure,
          and any such press releases, and other public documents, shall be reasonably acceptable in
          all material respects to the Requisite Consenting Creditors. Except as required by
          applicable law or otherwise permitted under the terms of any other agreement between the
          Company Parties and any Consenting Creditor, no Party or its advisors shall disclose to
          any person (including, for the avoidance of doubt, any other Consenting Creditor), other
          than advisors to the Company Parties and the Consenting Creditors, the principal amount
          of the Loans held by the Consenting Creditor, without such Consenting Creditor’s prior
          written consent; provided, however, that (i) if such disclosure is required by law, subpoena,
          or other legal process or regulation, the disclosing Party shall, to the extent permitted by
          law, afford the relevant Consenting Creditor a reasonable opportunity to review and
          comment in advance of such disclosure and shall take all reasonable measures to limit such
          disclosure (the expense of which, if any, shall be borne by the relevant Consenting
          Creditor) and (ii) the foregoing shall not prohibit the disclosure of the aggregate percentage
          or aggregate outstanding principal amount of the Loans held by all the Consenting
          Creditors collectively.

                              9.      Amendments and Waivers.

This Agreement, including any exhibits or schedules hereto, may not be waived, modified,
amended or supplemented except with the written consent of the Company Parties and the
Requisite Consenting Creditors; provided, however, that any waiver, modification, amendment or
supplement to this Section 9 shall require the written consent of all of the Parties; provided, further,
                                                 18

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4         Filed 01/23/20    Entered 01/23/20 02:03:34   Main Document
                                                     Pg 48 of 122


that any modification, amendment or change to the definition of Requisite Consenting Creditors
shall require the written consent of each Consenting Creditor; provided, further, that any change,
waiver, modification or amendment to this Agreement or the Term Sheet that treats or affects any
Consenting Creditor in a manner that is disproportionately and adverse, on an economic or non-
economic basis, in a material respect, to the manner in which any of the other Consenting Creditors
are treated (after taking into account each of the Consenting Creditor’s respective Claims, the
relative priorities of such Claims set forth in the Credit Agreement, and the recoveries
contemplated by the Term Sheet (as in effect on the date hereof)) shall require the written consent
of such Consenting Creditor. In the event that an adversely affected Consenting Creditor does not
consent to a waiver, change, modification or amendment to this Agreement requiring the consent
of each Consenting Creditor (such lender, a “Non-Consenting Creditor”), but such waiver,
change, modification or amendment receives the consent of Consenting Creditors owning at least
66 2/3% of the aggregate outstanding principal amount of the Senior First Out Term Loans, this
Agreement shall be deemed to have been terminated only as to such Non-Consenting Creditor, but
this Agreement shall continue in full force and effect in respect to all other Consenting Creditors
who have so consented, in a way consistent with this Agreement and the Term Sheet as waived,
changed, modified, or amended, as applicable.
                              10.      Effectiveness.

This Agreement shall become effective and binding upon each Party upon the execution and
delivery by such Party of an executed signature page hereto and shall become effective and binding
on all Parties on the Support Effective Date; provided that signature pages executed by Consenting
Creditors shall be delivered to (a) the other Consenting Creditors in a redacted form that removes
such Consenting Creditors’ holdings of the Loans or any other Claims against or interests in the
Company Parties and any schedules to such Consenting Creditors’ holdings (if applicable) and
(b) the Company Parties, Weil, and K&S in an unredacted form (and to be kept confidential by the
Company Parties, Weil, and K&S).
                              11.      Governing Law; Jurisdiction; Waiver of Jury Trial.

          (a)     This Agreement shall be construed and enforced in accordance with, and the rights
          of the parties shall be governed by, the law of the State of New York, without giving effect
          to the conflict of laws principles thereof.

          (b)     Each of the Parties irrevocably agrees that any legal action, suit or proceeding
          arising out of or relating to this Agreement brought by any Party or its successors or assigns
          shall be brought and determined in any federal or state court in the Borough of Manhattan
          in the State of New York, and each of the Parties hereby irrevocably submits to the
          exclusive jurisdiction of the aforesaid courts for itself and with respect to its property,
          generally and unconditionally, with regard to any such proceeding arising out of or relating
          to this Agreement or the Restructuring Transactions. Each of the Parties agrees not to
          commence any proceeding relating hereto or thereto except in the courts described above
          in the Borough of Manhattan in the State of New York, other than proceedings in any court
          of competent jurisdiction to enforce any judgment, decree or award rendered by any such
          court in New York as described herein. Each of the Parties further agrees that notice as
          provided herein shall constitute sufficient service of process and the Parties further waive

                                                         19

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4         Filed 01/23/20    Entered 01/23/20 02:03:34   Main Document
                                                     Pg 49 of 122


          any argument that such service is insufficient. Each of the Parties hereby irrevocably and
          unconditionally waives, and agrees not to assert, by way of motion or as a defense,
          counterclaim or otherwise, in any proceeding arising out of or relating to this Agreement
          or the Restructuring Transactions, (i) any claim that it is not personally subject to the
          jurisdiction of the courts in New York as described herein for any reason, (ii) that it or its
          property is exempt or immune from jurisdiction of any such court or from any legal process
          commenced in such courts (whether through service of notice, attachment prior to
          judgment, attachment in aid of execution of judgment, execution of judgment or otherwise)
          and (iii) that (A) the proceeding in any such court is brought in an inconvenient forum,
          (B) the venue of such proceeding is improper or (C) this Agreement, or the subject matter
          hereof, may not be enforced in or by such courts. Notwithstanding the foregoing, during
          the pendency of the Chapter 11 Cases, all proceedings contemplated by this Section 11(b)
          shall be brought in the Bankruptcy Court.

          (c)    EACH PARTY HEREBY WAIVES, TO THE FULLEST EXTENT PERMITTED
          BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN
          ANY LEGAL PROCEEDING DIRECTLY OR INDIRECTLY ARISING OUT OF OR
          RELATING TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED
          HEREBY (WHETHER BASED ON CONTRACT, TORT OR ANY OTHER THEORY).
          EACH PARTY (I) CERTIFIES THAT NO REPRESENTATIVE, AGENT OR
          ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR
          OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF
          LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND
          (II) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HAVE BEEN
          INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS,
          THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

                              12.      Specific Performance/Remedies.

It is understood and agreed by the Parties that money damages would not be a sufficient remedy
for any breach of this Agreement by any Party and each non-breaching Party shall be entitled to
specific performance and injunctive or other equitable relief (including attorneys’ fees and costs)
as a remedy of any such breach, without the necessity of proving the inadequacy of money
damages as a remedy, including an order of the Bankruptcy Court requiring any Party to comply
promptly with any of its obligations hereunder. Each Party also agrees that it will not seek, and
will waive any requirement for, the securing or posting of a bond in connection with any Party
seeking or obtaining such relief.
                              13.      Survival.

Notwithstanding the termination of this Agreement pursuant to Section 5 hereof, the agreements
and obligations of the Parties in this Section 13, and Sections 4(b), 5(g), 10 (with respect to the
redacted information), 11, 12, 13, 14, 15, 17, 18, 19, 20, 21, 22, 23 (and any defined terms used in
any such Sections) shall survive such termination and shall continue in full force and effect in
accordance with the terms hereof; provided, however, that any liability of a Party for failure to
comply with the terms of this Agreement shall survive such termination.

                                                         20

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4         Filed 01/23/20    Entered 01/23/20 02:03:34    Main Document
                                                     Pg 50 of 122


                              14.      Headings.

The headings of the sections, paragraphs and subsections of this Agreement are inserted for
convenience only and shall not affect the interpretation hereof or, for any purpose, be deemed a
part of this Agreement.
                              15.      Successors and Assigns; Severability; Several Obligations.

This Agreement is intended to bind and inure to the benefit of the Parties and their respective
successors, permitted assigns, heirs, executors, administrators and representatives; provided,
however, that nothing contained in this Section 20 shall be deemed to permit Transfers of the Loans
or claims arising under the Loans other than in accordance with the express terms of this
Agreement. If any provision of this Agreement, or the application of any such provision to any
Person or circumstance, shall be held invalid or unenforceable in whole or in part, such invalidity
or unenforceability shall attach only to such provision or part thereof and the remaining part of
such provision hereof and this Agreement shall continue in full force and effect so long as the
economic or legal substance of the transactions contemplated hereby is not affected in any manner
materially adverse to any Party. Upon any such determination of invalidity, the Parties shall
negotiate in good faith to modify this Agreement so as to effect the original intent of the Parties as
closely as possible in a reasonably acceptable manner in order that the transactions contemplated
hereby are consummated as originally contemplated to the greatest extent possible. The
agreements, representations and obligations of the Parties are, in all respects, ratable and several
and neither joint nor joint and several.
                              16.      Restructuring Expenses.

Whether or not the transactions contemplated by this Agreement are consummated, the Company
Parties hereby agree to pay, in cash, all Restructuring Expenses as follows: (i) all accrued and
unpaid Restructuring Expenses shall be paid in full in cash on or prior to the Support Effective
Date, (ii) prior to the Petition Date and after the Support Effective Date, all Restructuring Expenses
incurred during such period (and not previously paid pursuant to the preceding clause (i), if any)
shall be paid in full in cash by the Company Parties on a regular and continuing basis as soon as
reasonably practicable, and in any event, prior to the Petition Date, and (iii) after the Petition Date
and during the RSA Support Period, all accrued and unpaid Restructuring Expenses incurred up to
(and including) the Plan Effective Date (including all accrued and unpaid fees and expenses
incurred through the Support Effective Date) shall be paid in full in cash on the Plan Effective
Date (provided, for the avoidance of doubt, that such Restructuring Expenses have not been
satisfied during the Chapter 11 Cases pursuant to the DIP Orders), without any requirement for
Bankruptcy Court review or further Bankruptcy Court order. Notwithstanding the foregoing,
nothing herein shall affect or limit any obligations of the Company Parties to pay the Restructuring
Expenses as provided in the DIP Orders.
                              17.      No Third-Party Beneficiaries.

Unless expressly stated herein, this Agreement shall be solely for the benefit of the Parties (and
their respective successors, permitted assigns, heirs, executors, administrators and representatives)
and no other Person shall be a third-party beneficiary hereof.

                                                         21

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4         Filed 01/23/20    Entered 01/23/20 02:03:34     Main Document
                                                     Pg 51 of 122


                              18.      Prior Negotiations; Entire Agreement.

This Agreement, including the exhibits and schedules hereto (including the Term Sheet)
constitutes the entire agreement of the Parties, and supersedes all other prior negotiations, with
respect to the subject matter hereof and thereof, except that the Parties acknowledge that any
confidentiality agreements (if any) heretofore executed between the Company Parties and each
Consenting Creditor shall continue in full force and effect.
                              19.      Counterparts.

This Agreement may be executed in counterparts, each of which shall be deemed to be an original,
and all of which together shall be deemed to be one and the same agreement. Execution copies of
this Agreement may be delivered by electronic mail in portable document format (pdf), which shall
be deemed to be an original for the purposes of this paragraph.
                              20.      Notices.

All notices hereunder shall be deemed given if in writing and delivered, if contemporaneously sent
by electronic mail, by overnight courier or by registered or certified mail (return receipt requested)
to the following addresses:
          (a)       If to the Company Parties, to:

                              c/o Fairway Group Holdings Corp.
                              2284 12th Avenue
                              New York, NY 10027
                              Attention:    Nathalie Augustin
                              Facsimile:    (646) 616-8000
                              E-mail:       nathalie.augustin@fairwaymarket.com

                              with a copy (which shall not constitute notice) to:

                              Weil, Gotshal & Manges LLP
                              767 Fifth Avenue
                              New York, NY 10153
                              Attention:    Ray C. Schrock, P.C., Sunny Singh, Esq. and Paloma Van
                              Groll, Esq.
                              E-mail:       ray.schrock@weil.com, sunny.singh@weil.com and
                              Paloma.vangroll@weil.com

          (b)    if to a Consenting Creditor or a transferee thereof, to the addresses or e-mail
          addresses set forth below such Consenting Creditor’s signature hereto (or as directed by
          any transferee thereof), as the case may be, with a copy (which shall not constitute notice)
          to:

                              King & Spalding LLP
                              1185 Avenue of the Americas
                              New York, NY 10036

                                                         22

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4         Filed 01/23/20    Entered 01/23/20 02:03:34       Main Document
                                                     Pg 52 of 122


                              Attention:      W. Austin Jowers, Esq. and Michael R. Handler, Esq.
                              Email:          ajowers@kslaw.com and mhandler@kslaw.com

Any notice given by delivery, mail or courier shall be effective when received. Any notice given
by electronic mail shall be effective upon transmission.
                              21.      Reservation of Rights; No Admission.

          (a)     Nothing contained herein shall limit (A) the ability of any Party to consult with
          other Parties or (B) the rights of any Party under any applicable bankruptcy, insolvency,
          foreclosure, or similar proceeding, including the right to appear as a party in interest in any
          matter to be adjudicated in order to be heard concerning any matter arising in the Chapter
          11 Cases, in each case, so long as such consultation or appearance is consistent with such
          Party’s obligations hereunder.

          (b)     Except as expressly provided in this Agreement, nothing herein is intended to, or
          does, in any manner waive, limit, impair, or restrict the ability of each of the Parties to
          protect and preserve its rights, remedies, and interests, including its claims against any of
          the other Parties (or their respective affiliates or subsidiaries) or its full participation in any
          bankruptcy case filed by the Company Parties. This Agreement and the Term Sheet are
          part of a proposed settlement of matters that could otherwise be the subject of litigation
          among the Parties. Pursuant to Rule 408 of the Federal Rules of Evidence and any other
          applicable rules of evidence, and any other applicable law, foreign or domestic, this
          Agreement and all negotiations relating hereto shall not be admissible into evidence in any
          proceeding other than a proceeding to enforce its terms. This Agreement shall in no event
          be construed as or be deemed to be evidence of an admission or concession on the part of
          any Party of any claim or fault or liability or damages whatsoever. Each of the Parties
          denies any and all wrongdoing or liability of any kind and does not concede any infirmity
          in the claims or defenses which it has asserted or could assert.

                              22.      Relationship Among Consenting Creditors.

It is understood and agreed that no Consenting Creditor has any duty of trust or confidence of any
kind or form with any other Consenting Creditor, and, except as expressly provided in this
Agreement, there are no commitments among or between them. No prior history, pattern, or
practice of sharing confidences among or between the Consenting Creditor shall in any way affect
or negate this understanding and agreement.
                              23.   No Solicitation;          Representation   by   Counsel;     Adequate
                              Information.

          (a)     This Agreement is not and shall not be deemed to be a solicitation for votes in favor
          of the Plan in the Chapter 11 Cases by the Consenting Creditors or a solicitation to tender
          or exchange any of the Loans. The acceptances of the Consenting Creditors with respect
          to the Plan will not be solicited until such Consenting Creditor has received the Disclosure
          Statement and related ballots and solicitation materials, each as approved or ratified by the
          Bankruptcy Court.

                                                         23

WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34            Main Document
                                               Pg 53 of 122


          (b)     Each Party acknowledges that it has had an opportunity to receive information from
          the Company Parties and that it has been, or is part of a group that has been, represented
          by counsel in connection with this Agreement and the transactions contemplated hereby.
          Accordingly, any rule of law or any legal decision that would provide any Party with a
          defense to the enforcement of the terms of this Agreement against such Party based upon
          lack of legal counsel shall have no application and is expressly waived.

          (c)      Although none of the Parties intends that this Agreement should constitute, and
          they each believe it does not constitute, a solicitation or acceptance of a chapter 11 plan of
          reorganization or an offering of securities, each Consenting Creditor acknowledges, agrees
          and represents to the other Parties that it (i) is an accredited investor (as such term is defined
          in Rule 501(a) of Regulation D promulgated under the Securities Act) and a qualified
          institutional buyer as such term is defined in Rule 144A of the Securities Act,
          (ii) understands that the securities to be acquired by it (if any) pursuant to the Restructuring
          have not been registered under the Securities Act and that such securities are, to the extent
          not acquired pursuant to section 1145 of the Bankruptcy Code, being offered and sold
          pursuant to an exemption from registration contained in the Securities Act, based in part
          upon such Consenting Creditor’s representations contained in this Agreement and cannot
          be sold unless subsequently registered under the Securities Act or an exemption from
          registration is available, and (iii) has such knowledge and experience in financial and
          business matters that such Consenting Creditor is capable of evaluating the merits and risks
          of the securities to be acquired by it (if any) pursuant to Restructuring and understands and
          is able to bear any economic risks with such investment.

                              [Remainder of Page Intentionally Left Blank]




                                                     24

WEIL:\97352158\1\44444.0008
20-10161-jlg   Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34   Main Document
                                        Pg 54 of 122
20-10161-jlg     Doc 4     Filed 01/23/20      Entered 01/23/20 02:03:34         Main Document
                                              Pg 55 of 122



                                                 SPECIAL SITUATIONS INVESTING GROUP,
                                                 INC.,as a Consenting Creditor




                                                Name:
                                                             ~~~~~i?~ ~~ `,~e'~r~
                                                Title:


Principal Amount ofthe L/C Facility Loans: $x,936,853.57
Principal Amount ofthe Super Senior Secured Term Loans: $ 5,950,211.86
Principal Amount ofthe Senior First Out Term Loans: $ ~2,312,s2o.a3
Principal Amount ofthe Senior Last Out Term Loans: $ s,2s4,056.21
Principal Amount ofthe Subordinated Loans: $$,338,os2.s7

Notice Address:

 200 West Street
 New York, NY 10282


Fax:
Attention: Vincent Harrison
E-mail: vincent.harrison@gs.com




                           [Signature Page to Restructuring Support Agreement]
20-10161-jlg     Doc 4     Filed 01/23/20      Entered 01/23/20 02:03:34         Main Document
                                              Pg 56 of 122



                                            SPECIAL SITUATIONS INVESTING GROUP II,
                                            LLC,as a Consenting Creditor



                                            By:          ~                                       s~
                                            Name:       ~~~~~ j r, ~
                                            Title:           fx ~~
                                                                lJ


Principal Amount ofthe L/C Facility Loans: $~
Principal Amount ofthe Super Senior Secured Term Loans: $ o
Principal Amount ofthe Senior First Out Term Loans: $19,413,549.75
Principal Amount ofthe Senior Last Out Term Loans: $15,2os,275.74
Principal Amount ofthe Subordinated Loans: $ ~s,644,s222a

Notice Address:

 200 West Street
 New York, NY 10282


Fax:
Attention: Vincent Harrison
E-mail: vincent.harrison@gs.com




                           [Signature Page to Restructuring Support Agreement]
20-10161-jlg      Doc 4   Filed 01/23/20     Entered 01/23/20 02:03:34          Main Document
                                            Pg 57 of 122


                                          FS KKR CAPITAL CORP. II, as a Consenting Creditor


                                          By:
                                          Name: Jessica Woolf
                                          Title: Authorized signatory

                                               3,974,632.71
Principal Amount of the L/C Facility Loans: $_____________
                                                                  2,380,019.64
Principal Amount of the Super Senior Secured Term Loans: $_____________
Principal Amount of the Senior First Out Term Loans: $_____________
                                                                 11,300,244.80
                                                           7,080,730.45
Principal Amount of the Senior Last Out Term Loans: $_____________
Principal Amount of the Subordinated Loans: $_____________
                                                 6,352,393.80

Notice Address:

 KKR Credit Advisors (US) LLC
 555 California Street, 50th Floor
 San Francisco, CA 94104
Fax:
Attention: Rony Ma & General Counsel
E-mail: Rony.Ma@kkr.com & KKRCreditLegal@kkr.com




                          [Signature Page to Restructuring Support Agreement]
20-10161-jlg   Doc 4   Filed 01/23/20        Entered 01/23/20 02:03:34            Main Document
                                            Pg 58 of 122


                                          FS GLOBAL CREDIT OPPORTUNITIES FUND, as a
                                          Consenting Creditor

                                                        bal Advisor, LLC, its investment advisor




                                          Title: Chief Financial Officer


   Principal Amount of the L/C Facility Loans: $ 2,950,078.5 9
   Principal Amount of the Super Senior Secured Term Loans: $ 17 66514.17
   Principal Amount of the Senior First Out Term Loans: $ 8 387 ,343.67
   Principal Amount of the Senior Last Out Term Loans: $ 5,255,507.36
   Principal Amount of the Subordinated Loans: $        4,714, 91 6.43

  Notice Address:

   201 Rouse Boulevard
   Philadelphia, PA 19112

   Fax: 1-469-518- 3824
   Attention: FS Investment Operations
   E-mail: Investmentops@fsinvestments. com




                            [Signature Page to Restructuring Support Agreement]
20-10161-jlg   Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34   Main Document
                                        Pg 59 of 122
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34   Main Document
                                               Pg 60 of 122


                                                Exhibit A

                                      Restructuring Term Sheet




WEIL:\97352158\1\44444.0008
        20-10161-jlg           Doc 4     Filed 01/23/20     Entered 01/23/20 02:03:34             Main Document
                                                           Pg 61 of 122
                                                                                                          Execution Version

                                                            EXHIBIT A

                                            FAIRWAY GROUP HOLDINGS CORP.
                                              RESTRUCTURING TERM SHEET

This term sheet (this “Term Sheet”) 1 sets forth the principal terms of a restructuring of the Company (the
“Restructuring” or “Restructuring Transactions”) to be implemented in cases commenced by the Company under
chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”).

This Term Sheet is attached as Exhibit A to the Restructuring Support Agreement dated January 22, 2020, by and among
the Company and the Consenting Creditors (the “RSA”). The Restructuring is supported by the Company and the
Consenting Creditors, which Consenting Creditors consist of certain Prepetition Lenders under the Prepetition Credit
Agreement and those Prepetition Lenders who are or become party to the RSA.

THIS TERM SHEET DOES NOT CONSTITUTE (NOR SHALL IT BE CONSTRUED AS) AN OFFER WITH
RESPECT TO ANY SECURITIES OR A SOLICITATION OF ACCEPTANCES OR REJECTIONS AS TO ANY
PLAN OF REORGANIZATION OR LIQUIDATION, IT BEING UNDERSTOOD THAT SUCH A SOLICITATION,
IF ANY, MAY ONLY BE MADE IN COMPLIANCE WITH APPLICABLE PROVISIONS OF SECURITIES,
BANKRUPTCY AND/OR OTHER APPLICABLE LAWS. THIS TERM SHEET HAS BEEN PRODUCED FOR
DISCUSSION AND SETTLEMENT PURPOSES ONLY AND IS SUBJECT TO THE PROVISIONS OF RULE 408
OF THE FEDERAL RULES OF EVIDENCE AND OTHER SIMILAR APPLICABLE STATE AND FEDERAL
RULES. THIS TERM SHEET AND THE INFORMATION CONTAINED HEREIN IS STRICTLY CONFIDENTIAL
AND SHALL NOT BE SHARED WITH ANY OTHER PARTY ABSENT THE PRIOR WRITTEN CONSENT OF
FCI AND THE REQUISITE CREDITORS, EXCEPT AS REQUIRED BY LAW AND AS CONTEMPLATED BY
THE RSA.

                                                        Company Overview

    Overview                  This Term Sheet summarizes the terms of the Restructuring of the Company to be effectuated
                              through a prearranged chapter 11 filing providing for (i) the sale of certain of the Company’s
                              core assets under section 363 of the Bankruptcy Code pursuant to the Stalking Horse Agreement
                              (subject to higher or better offers as set forth in Bidding Procedures) (together with any other
                              sale or sales of the Company’s assets pursuant to section 363 of the Bankruptcy Code, each, a
                              “Sale Transaction”; and collectively, the “Sale Transactions”) and (ii) a chapter 11 plan (the
                              “Plan”).

    Company:                  Fairway Group Holdings Corp. (“Fairway”) and its direct and indirect subsidiaries Fairway
                              Group Acquisition Company; Fairway Bakery LLC; Fairway Broadway LLC; Fairway Chelsea
                              LLC; Fairway Construction Group, LLC; Fairway Douglaston LLC; Fairway East 86th Street
                              LLC; Fairway eCommerce LLC; Fairway Georgetowne LLC; Fairway Greenwich Street LLC;
                              Fairway Group Central Services LLC; Fairway Group Plainview LLC; Fairway Hudson Yards
                              LLC; Fairway Kips Bay LLC; FN Store LLC; Fairway Paramus LLC; Fairway Pelham LLC;
                              Fairway Pelham Wines & Spirits LLC; Fairway Red Hook LLC; Fairway Stamford LLC;
                              Fairway Stamford Wines & Spirits LLC; Fairway Staten Island LLC; Fairway Uptown LLC;
                              Fairway Westbury LLC; and Fairway Woodland Park LLC (such entities, together with
                              Fairway, collectively referred to as the “Debtors” or the “Company”).




1
 Capitalized terms used but not defined herein have the meanings assigned to them in the RSA (as defined below). To the extent of
any direct conflict between this Term Sheet and the RSA, the RSA will govern and control.

WEIL:\97352223\1\44444.0008
        20-10161-jlg           Doc 4      Filed 01/23/20     Entered 01/23/20 02:03:34            Main Document
                                                            Pg 62 of 122
 Claims and                   Super Senior Secured Term Loan Claims: Claims on account of the super senior secured
 Interests to be              delayed draw first out term loans (such facility, the “Super Senior Secured New Term Loan
 Restructured:                Facility”; the loans thereunder, the “Super Senior Secured New Term Loans,” and such claims,
                              the “Super Senior Secured New Term Loan Claims”) under that certain Super Senior Credit
                              Agreement, dated as of August 28, 2018 (as amended by that Waiver and First Amendment,
                              dated as of November 18, 2016, that Waiver and Second Amendment, dated as of June 28, 2017,
                              that Third Amendment, dated as of September 18, 2017 and that Fourth Amendment, dated as
                              of the date hereof, and as modified by those letter agreements with respect to the extension of
                              the annual audit delivery deadline dated as of July 28, 2017, August 31, 2017 and July 27, 2018,
                              and as may be further amended, supplemented, or modified from time to time, the “Prepetition
                              Credit Agreement”), among Fairway, Fairway Group Acquisition Company, the lenders party
                              thereto (each, a “Prepetition Lender”), and Ankura Trust Company, LLC, as administrative
                              agent and collateral agent for the Prepetition Lenders (the “Prepetition Agent”).
                              Super Senior Secured L/C Facility Claims: Claims on account of the super senior secured credit
                              facility (such facility, the “Super Senior Secured L/C Facility”; the loans thereunder, the
                              “Super Senior Secured L/C Facility Loans”; and together with the Super Senior Secured New
                              Term Loans, the “Super Senior Secured Term Loans”; and such claims, the “Super Senior
                              Secured L/C Facility Claims,” and together with the Super Senior Secured New Term Loan
                              Claims, the “Super Senior Secured Claims”) under the Prepetition Credit Agreement.
                              Senior First Out Term Loan Claims: Claims on account of the secured first out term loans (such
                              term loans, the “Senior First Out Term Loans”; and such claims, the “Senior First Out Term
                              Loan Claims”) under the Prepetition Credit Agreement.
                              Senior Last Out Term Loan Claims: Claims on account of the secured last out term loans (such
                              term loans, the “Senior Last Out Term Loans”; and together with the Super Senior Secured
                              Term Loans, the “OpCo Term Loans,”; and such claims, the “Senior Last Out Term Loan
                              Claims,” and together with the Super Senior Secured Claims, the “OpCo Term Loan Claims”)
                              under the Prepetition Credit Agreement.
                              Holdco Loan Claims: Claims on account of the secured subordinated term loans (such term
                              loans, the “Holdco Loans,” and together with the OpCo Term Loans, the “Prepetition Loans”;
                              and such claims, the “Holdco Loan Claims”; and together with the OpCo Term Loan Claims,
                              the “Prepetition Loan Claims”) under the Prepetition Credit Agreement.
                              General Unsecured Claims: Consisting of any Claim against the Debtors (other than any
                              Intercompany Claims) as of the Commencement Date that is neither secured nor entitled to
                              priority under the Bankruptcy Code or any order of the Bankruptcy Court (the “General
                              Unsecured Claims”). The General Unsecured Claims shall not include the Prepetition Loan
                              Claims (but shall include any unsecured deficiency claims).
                              Interests: Consisting of any equity security (as defined in section 101(16) of the Bankruptcy
                              Code) of a Debtor, including all ordinary shares, common stock, preferred stock, membership
                              interest, partnership interest or other instrument evidencing any fixed or contingent ownership
                              interest in any Debtor, whether or not transferable, including any restricted share, option,
                              warrant, or other right, contractual or otherwise, to acquire any such interest in a Debtor, that
                              existed immediately before the effective date of the Plan (the “Plan Effective Date”). (the
                              “Interests”).

                                                      Transaction Overview


 Implementation:              The Company will commence the Chapter 11 Cases and implement the Restructuring
                              Transaction pursuant to the Plan as provided in the RSA. The transactions in this Term Sheet
                              may be effectuated as:

                                                                  2
WEIL:\97352223\1\44444.0008
        20-10161-jlg           Doc 4      Filed 01/23/20     Entered 01/23/20 02:03:34             Main Document
                                                            Pg 63 of 122
                                      (a) one or more Sale Transactions followed by a chapter 11 plan to distribute proceeds
                                          thereof; and/or
                                      (b) such other transactions acceptable to the Company and the Requisite Consenting
                                          Creditors, in their sole discretion.

                              Following the Commencement Date, the Company shall oversee and manage a comprehensive
 Sale Process:
                              sale and marketing process to solicit bids in accordance with the Bidding Procedures in good-
                              faith consultation with the Requisite Consenting Creditors (the “Sale Process”).
                              The Sale Process shall be conducted in accordance with the procedures and timeline set forth
                              in the Bidding Procedures, subject to approval of the Bankruptcy Court. The Consenting
                              Creditors and their advisors shall have the right to review all information, diligence, and
                              materials provided by the Company or its advisors to any bidder or prospective bidder with
                              respect to the sale and to consult with the Company and its advisors with respect to any potential
                              Sale Transaction.

 Plan Process:                The plan solicitation process shall generally be conducted in accordance with the Milestones
                              (as defined herein) and the procedures and timeline set forth in the order approving the
                              Disclosure Statement, subject to approval of the Bankruptcy Court.
                              In the event that the Debtors close a Sale Transaction, the Debtors shall distribute the proceeds
                              of such Sale Transaction, if any, and the Debtors’ remaining assets to holders of allowed claims
                              and interests pursuant to the Plan (subject to the mandatory prepayment requirements set forth
                              in the DIP Credit Agreement).

 Credit Bid:                  The Requisite Consenting Creditors may direct the Prepetition Agent to “credit bid” the
                              Prepetition Loans (subject to satisfaction in full of senior indebtedness) to purchase the
                              Company’s assets pursuant to section 363(k) of the Bankruptcy Code.

 DIP Facility:                Certain of the Consenting Creditors shall provide the Company with a secured debtor-in-
                              possession financing as set forth in a debtor-in-possession financing agreement (the “DIP
                              Credit Agreement”), the proceeds of which shall be used for, among other things, general
                              corporate purposes during the pendency of the Chapter 11 Cases and to conduct the Sale Process
                              on the terms and conditions consistent with those set forth in the DIP Term Sheet attached
                              hereto as Schedule 1 (the “DIP Facility”).

 Use of Cash                  The Debtors will seek authority promptly upon commencement of the Chapter 11 Cases to use
 Collateral:                  cash collateral of the Prepetition Lenders to help fund the administration of the Chapter 11
                              Cases. In connection with the Debtors’ use of cash collateral and DIP Facility, subject to
                              Bankruptcy Court approval, the Company will agree to provide “adequate protection” (as such
                              term is defined in sections 361 and 363 of the Bankruptcy Code) to the Consenting Creditors as
                              set forth in the DIP Term Sheet and the DIP Orders, in exchange for the Consenting Creditors’
                              consent to use cash collateral.

 Milestones                   The Consenting Creditors’ support for the Restructuring shall be subject to the timely
                              satisfaction of the following milestones (the “Milestones”), which may be extended with the
                              prior written consent of the Requisite Consenting Creditors:

                                      •       As of 11:59 p.m. prevailing Eastern Time on the date that is 2 days from the
                                              Commencement Date, the Debtors have filed the Bidding Procedures Motion;



                                                                  3
WEIL:\97352223\1\44444.0008
        20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34           Main Document
                                                       Pg 64 of 122
                                  •      As of 11:59 p.m. prevailing Eastern Time on the date that is 3 days from the
                                         Commencement Date, the Interim DIP Order has been entered by the
                                         Bankruptcy Court;

                                  •      As of 11:59 p.m. prevailing Eastern Time on the date that is 25 days following
                                         the filing of the Bidding Procedures Motion, the Bidding Procedures Order has
                                         been entered by the Bankruptcy Court;

                                  •      As of 11:59 p.m. prevailing Eastern Time on the date that is 30 days from the
                                         Commencement Date, the Debtors have filed the Disclosure Statement and the
                                         Plan;

                                  •      As of 11:59 p.m. prevailing Eastern Time on the date that is 35 days from the
                                         Commencement Date, the Final DIP Order has been entered by the Bankruptcy
                                         Court;

                                  •      As of 11:59 p.m. prevailing Eastern Time on the date that is 50 days from the
                                         Commencement Date, the Debtors have commenced the Auction, if applicable,
                                         for the Stalking Horse Package (as such terms are defined in the Bidding
                                         Procedures);

                                  •      As of 11:59 p.m. prevailing Eastern Time on the date that is 55 days from the
                                         Commencement Date, the Debtors have commenced the Auction, if applicable,
                                         for the Other Assets (as such term is defined in the Bidding Procedures);

                                  •      As of 11:59 p.m. prevailing Eastern Time on the date that is 65 days from the
                                         Commencement Date, the Sale Order has been entered by the Bankruptcy
                                         Court approving the sale of the Stalking Horse Package, provided that if there
                                         is no overbid for the Stalking Horse Package, then then the Sale Order shall be
                                         entered no later than 50 days from the Commencement Date;

                                  •      As of 11:59 p.m. prevailing Eastern Time on the date that is 68 days from the
                                         Commencement Date, the Debtors shall have consummated the sale(s) of
                                         Stalking Horse Package to the winning bidder(s) at the Auction, provided that
                                         if there is no overbid for the Stalking Horse Package, then then the Debtors
                                         shall have consummated the sale(s) of the Stalking Horse Package no later than
                                         55 days from the Commencement Date;

                                  •      As of 11:59 p.m. prevailing Eastern Time on the date that is 65 days from the
                                         Commencement Date, the Sale Order has been entered by the Bankruptcy
                                         Court approving the sale of the Other Assets;

                                  •      As of 11:59 p.m. prevailing Eastern Time on the date that is 65 days from the
                                         Commencement Date, the Bankruptcy Court has entered the Disclosure
                                         Statement Order;

                                  •      As of 11:59 p.m. prevailing Eastern Time on the date that is 70 days from the
                                         Commencement Date, the Debtors shall have consummated the sale(s) of the
                                         Other Assets to the winning bidder(s) at the Auction;




                                                            4
WEIL:\97352223\1\44444.0008
        20-10161-jlg           Doc 4      Filed 01/23/20     Entered 01/23/20 02:03:34             Main Document
                                                            Pg 65 of 122
                                      •       As of the 11:59 p.m. prevailing Eastern Time on the date that is 120 days from
                                              the Commencement Date, the Bankruptcy Court has entered the Confirmation
                                              Order; and

                                      •       As of the 11:59 p.m. prevailing Eastern Time on the date that is 125 days from
                                              the Commencement Date, the Plan Effective Date has occurred.


                              Classification and Treatment of Claims and Interests Under the Plan

 DIP Claims:                  The claims arising under the DIP Credit Agreement (the “DIP Claims”) shall be allowed in full.
                              All outstanding DIP Claims shall be paid in full in cash upon the Plan Effective Date.

 Administrative,              On or as soon as practicable after the Plan Effective Date, each holder of an administrative,
 Priority Tax,                priority tax or other priority claim, or any other secured claim (other than secured claims under
 Other Priority,              the Prepetition Credit Agreement) will be paid in full from available cash or otherwise receive
 and Other                    treatment consistent with the provisions of section 1129(a)(9) of the Bankruptcy Code. The
 Secured Claims:              allowed amounts and payment terms of 503(b)(9) claims shall each be satisfactory to Requisite
                              Consenting Creditors as a condition to the occurrence of the Plan Effective Date.
                              Unimpaired – Deemed to Accept

 Super Senior                 Super Senior Secured Claims shall be allowed in the outstanding principal amount of $[] minus
 Secured Claims               any portion of such claims “rolled-up” in connection with the DIP Facility, plus all accrued
                              interest, costs, fees, and expenses under the Prepetition Credit Agreement.
                              On the Plan Effective Date, or as soon as reasonably practicable after each distribution date, the
                              holders of outstanding allowed Super Senior Secured Claims will receive their pro rata share
                              of the sum of the amount of cash available for distribution to holders of Super Senior Secured
                              Claims, after the payment in full in cash (or establishment of reserves to satisfy) of
                              administrative claims, priority tax or other priority claims, and other secured claims.
                              Impaired – Entitled to Vote

 Senior First Out             Senior First Out Term Loan Claims shall be allowed in the outstanding principal amount of $[]
 Term Loan                    minus any portion of such claims “rolled-up” in connection with the DIP Facility, plus all
 Claims                       accrued interest, costs, fees, and expenses under the Prepetition Credit Agreement.
                              On the Plan Effective Date, or as soon as reasonably practicable after each distribution date,
                              holders of allowed Senior First Out Term Loan Claims will receive their pro rata share of the
                              sum of the amount of cash available for distribution to holders of allowed Senior First Out Term
                              Loan Claims, after payment in full in cash of all senior claims. In the event that allowed Super
                              Senior Secured Claims are not satisfied in full under the Plan, holders of allowed Senior First
                              Out Loan Claims shall not receive or retain any property or interest in property on account of
                              such Claims.
                              Impaired – Entitled to Vote

 Senior Last Out              Senior Last Out Term Loan Claims shall be allowed in the outstanding principal amount of
 Term Loan                    $[], plus all accrued interest, costs, fees, and expenses under the Prepetition Credit Agreement.
 Claims
                              On the Plan Effective Date, or as soon as reasonably practicable after each distribution date,
                              holders of allowed Senior Last Out Term Loan Claims will receive their pro rata share of the
                              sum of the amount of cash available for distribution to holders of allowed Senior Last Out Term
                                                                  5
WEIL:\97352223\1\44444.0008
        20-10161-jlg           Doc 4      Filed 01/23/20      Entered 01/23/20 02:03:34              Main Document
                                                             Pg 66 of 122
                              Loan Claims, after payment in full in cash of all senior claims. In the event that allowed Senior
                              First Out Term Loan Claims are not satisfied in full under the Plan, holders of allowed Senior
                              Last Out Loan Claims shall not receive or retain any property or interest in property on account
                              of such Claims.
                              Impaired – Entitled to Vote

 Holdco Loan                  Holdco Loan Claims shall be allowed in the outstanding principal amount of $[], plus all
 Claims                       accrued interest, costs, fees, and expenses under the Prepetition Credit Agreement.
                              On the Plan Effective Date, or as soon as reasonably practicable after each distribution date,
                              holders of allowed Holdco Loan Claims will receive their pro rata share of the sum of the
                              amount of cash available for distribution to holders of allowed Holdco Loan Claims, after
                              payment in full in cash of all senior claims. In the event that allowed Senior Last Out Term
                              Loan Claims are not satisfied in full under the Plan, holders of allowed Holdco Loan Claims
                              shall not receive or retain any property or interest in property on account of such Claims.
                              Impaired – Entitled to Vote

 General                      On the Plan Effective Date, or as soon as reasonably practicable after each distribution date,
 Unsecured                    holders of allowed General Unsecured Claims will receive (i) their pro rata share of a cash pool
 Claims:                      in the aggregate amount of $[] as a carve out of the Prepetition Lenders’ collateral and (ii)
                              their pro rata share of the sum of the amount of cash available for distribution to holders of
                              allowed General Unsecured Claims, after payment in full in cash of all senior claims. In the
                              event that Holdco Loan Claims are not satisfied in full under the Plan, holders of allowed
                              General Unsecured Claims shall not receive or retain any property or interest in property on
                              account of such Claims.
                              Impaired – Deemed to Reject; Not Entitled to Vote

 Intercompany                 Intercompany Claims shall be canceled or receive such other treatment that is acceptable to the
 Claims:                      Company and the Requisite Consenting Creditor in their respective reasonable discretion.
                              Impaired or Unimpaired – Non-Voting

 Intercompany                 Intercompany Interests shall be canceled or receive such other treatment that is acceptable to
 Interests:                   the Company and the Requisite Consenting Creditors in their respective reasonable discretion.
                              Deemed to Reject – Non-Voting

 Subordinated                 Any Claim or Interest subject to subordination pursuant to section 510 of the Bankruptcy Code
 Security Claims              shall be cancelled and deemed to reject the Plan, and the holders of any such Claims or Interests
                              will not receive any recovery with respect thereto under the Plan.
                              Impaired – Deemed to Reject

 Existing Equity              Holders of Interests issued and outstanding as of the Plan Effective Date shall neither receive
 Interests                    nor retain any property of the estates or direct interest in property of the estates; provided, that,
                              in the event that all creditors are paid in full in accordance with the Bankruptcy Code and the
                              Plan, each holder of an Interest may receive its share of any remaining assets of the Company
                              consistent with such holder’s rights of payment existing immediately prior to the Effective Date.
                              Impaired – Deemed to Reject – Non-Voting



                                                                    6
WEIL:\97352223\1\44444.0008
        20-10161-jlg           Doc 4      Filed 01/23/20     Entered 01/23/20 02:03:34             Main Document
                                                            Pg 67 of 122

                                                        General Provisions


 Cancellation of              Except as provided herein, on the Plan Effective Date, all notes, instruments, certificates
 Loans, Interests,            evidencing debt of, or equity interests in, the Company, including, without limitation, the
 Instruments,                 Prepetition Credit Agreement, the DIP Credit Agreement, and the Interests, will be cancelled.
 Certificates and             In addition, on the Plan Effective Date, any registration rights agreements, stockholder
 other Documents:             agreements, or similar agreements with respect to Interests in Fairway will also be cancelled
                              and any obligations of the Company thereunder will be discharged.

 Vesting of Assets:           On the Plan Effective Date, and if applicable, pursuant to sections 1141(b) and (c) of the
                              Bankruptcy Code, all assets of the Debtors’ Estates will vest in the reorganized Debtors or wind
                              down estates, as applicable, free and clear of all claims, liens, encumbrances, charges and other
                              interests, except as otherwise provided in the Plan.

 Compromise and               The Plan will contain customary provisions for the compromise and settlement of claims stating
 Settlement:                  that, notwithstanding anything in the Plan to the contrary, the allowance, classification and
                              treatment of allowed claims and equity interests and their respective distributions take into
                              account and conform to the relative priority and rights of such claims and interests in
                              connection with any contractual, legal and equitable subordination rights relating thereto,
                              whether arising under general principles of equitable subordination, section 510 of the
                              Bankruptcy Code or otherwise.

 Releases:                    The Plan will contain standard and customary release provisions mutually acceptable to the
                              Company and the Requisite Consenting Creditors.

 Exculpation:                 The Plan will contain standard and customary exculpation provisions mutually acceptable to
                              the Company and the Requisite Consenting Creditors.

 Injunction:                  The Plan will contain standard and customary injunction provisions mutually acceptable to the
                              Company and the Requisite Consenting Creditors.

 Definitive                   This Term Sheet is indicative, and any final agreement will be subject to the Definitive
 Documents and                Documents. The Definitive Documents will contain terms, conditions, representations,
 Due Diligence:               warranties, and covenants, each customary for the transactions described herein consistent with
                              the terms of this Term Sheet and the RSA.

 Tax Structure:               To the extent practicable, the Restructuring contemplated by this Term Sheet will be structured
                              so as to obtain the most beneficial structure for the Company, as agreed to by the Company and
                              the Requisite Consenting Creditors.

 Avoidance                    The Debtors’ reorganized estates or wind down estates, as applicable will retain all rights to
 Actions:                     commence and pursue any causes of action that are expressly preserved and not released under
                              the Plan or transferred (or released) in connection with any Sale Transaction, it being
                              understood that the Debtors’ reorganized estates, or wind down estates, as applicable will not
                              retain any claims or causes of action against the “Released Parties” (as such term is defined in
                              the Plan), subject to the carve-out for any act or omission of a Released Party that is a criminal
                              act or constitutes fraud, gross negligence or willful misconduct.



                                                                  7
WEIL:\97352223\1\44444.0008
        20-10161-jlg           Doc 4     Filed 01/23/20     Entered 01/23/20 02:03:34             Main Document
                                                           Pg 68 of 122

 Retention of                 The Plan will provide for a broad retention of jurisdiction by the Bankruptcy Court for
 Jurisdiction:                (a) resolution of claims, (b) allowance of compensation and expenses for pre-Plan Effective
                              Date services, (c) resolution of motions, adversary proceedings or other contested matters,
                              (d) entering such orders as necessary to implement or consummate the Plan and any related
                              documents or agreements, and (e) other purposes.

 Resolution of                The Plan will provide customary procedures for the resolution of disputed Claims, including
 Disputed Claims:             the ability (but not requirement) to establish a claims bar date pursuant to an order of the
                              Bankruptcy Court. Once resolved, the claimants will receive distributions, if any, in accordance
                              with the provisions of the Plan and the classification of their allowed Claim, mutually
                              acceptable to the Company and the Requisite Consenting Creditors.

 Conditions to                The Plan will be subject to usual and customary conditions to confirmation and effectiveness
 Effectiveness                (as applicable), as well as such other conditions that are mutually acceptable to the Company
                              and the Requisite Consenting Creditors.
                              The conditions to effectiveness may be waived in writing by the Company together with the
                              Requisite Consenting Creditors.




                                                                  8
WEIL:\97352223\1\44444.0008
        20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34   Main Document
                                                       Pg 69 of 122
                                                       Schedule 1

                                                  DIP Term Sheet




WEIL:\97352223\1\44444.0008
20-10161-jlg          Doc 4      Filed 01/23/20       Entered 01/23/20 02:03:34                Main Document
                                                     Pg 70 of 122



                                  FAIRWAY GROUP HOLDINGS CORP.
                               FAIRWAY GROUP ACQUISITION COMPANY

                                 SUPERPRIORITY SECURED
                     DEBTOR-IN-POSSESSION CREDIT FACILITY TERM SHEET

                                 Summary of Proposed Terms and Conditions

This Summary of Proposed Terms and Conditions (this “DIP Term Sheet”) outlines certain terms of the
DIP Facility (as defined herein) proposed to be provided by the DIP Lenders (as defined herein) subject to
the conditions herein and as set forth more fully below. This DIP Term Sheet is preliminary, non-binding,
and is subject to continued due diligence by the DIP Lenders, and remains subject to the execution of
definitive documentation in form and substance reasonably acceptable to the DIP Lenders and the Loan
Parties. This DIP Term Sheet is for discussion purposes only and does not constitute a commitment, a
contract to provide a commitment, or any agreement by the DIP Lenders. This DIP Term Sheet does not
attempt to describe all of the terms, conditions, and requirements that would pertain to the financing
described herein, but rather is intended to outline certain basic items around which the DIP Lenders and the
Loan Parties currently believe a financing could be structured. In addition, the pricing and terms included
herein are based on market conditions on the date hereof and are subject to change. The Loan Parties are
not authorized to disclose the terms contained herein to any person other than their professional advisors,
who shall agree to maintain its confidentiality.

    Borrower:                          Fairway Group Acquisition Company (“FGAC”), the borrower under the
                                       existing Prepetition Credit Agreement 1 (the “Borrower”), in its capacity as a
                                       debtor and debtor-in-possession in a case (together with the cases of its
                                       affiliated debtors and debtors-in-possession, the “Chapter 11 Cases”) to be
                                       filed under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy
                                       Code”) in the United States Bankruptcy Court for the Southern District of
                                       New York (the “Bankruptcy Court”). This DIP Term Sheet assumes that the

1
      Reference is hereby made to that certain Super Senior Credit Agreement dated as of August 28, 2018 (as may be
      amended, restated, supplemented or otherwise modified from time to time, including by that certain First
      Amendment to Super Senior Credit Agreement, dated as of July 29, 2019 and that certain Second Amendment to
      and Extension under Super Senior Credit Agreement, dated as of August 28, 2019, and by that certain Third
      Amendment and Limited Waiver to Super Senior Credit Agreement, dated as of October 7, 2019, the “Prepetition
      Credit Agreement”; together with any Loan Document (as defined in the Prepetition Credit Agreement) and any
      other document related to or evidencing the loans and obligations thereunder (collectively, the “Prepetition Loan
      Documents”)), among Holdings, Borrower, certain subsidiaries of Holdings (together with the Borrower and
      Holdings, collectively, the “Loan Parties” and each a “Loan Party”), Ankura Trust Company, LLC (“Ankura”),
      as administrative agent (in such capacity, the “Prepetition Agent”) for the lenders from time to time party thereto
      (each, a “Prepetition Lender” and collectively, the “Prepetition Lenders”; each Prepetition Lender holding New
      Term Loans; a “Prepetition New Term Loan Lender”; and collectively, the “Prepetition New Term Loan
      Lenders”; each Prepetition Lender holding L/C Loans, a “Prepetition L/C Lender”; and collectively, the
      “Prepetition L/C Lenders”; each Prepetition Lender holding Senior First Out Loans, a “Prepetition Senior First
      Out Lender”; and collectively, the “Prepetition Senior First Out Lenders”; each Prepetition Lender holding Senior
      Last Out Loans, a “Prepetition Senior Last Out Lender and collectively, the “Prepetition Senior Last Out
      Lenders”; and each Prepetition Lender holding Holdco Loans, a “Prepetition Holdco Lender”; and collectively,
      the “Prepetition Holdco Lenders”) and each of the other persons party thereto. Capitalized terms used but not
      otherwise defined herein shall have the respective meanings ascribed to such terms in the Prepetition Credit
      Agreement, the RSA Term Sheet to which this term sheet is attached as Schedule 1 thereto, or the Restructuring
      Support Agreement (the “RSA”), to which the RSA Term Sheet is attached as Exhibit A thereto, as applicable.




WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34              Main Document
                                               Pg 71 of 122


                                  Borrower, Fairway Group Holdings Corp. (“Holdings”) and each of the other
                                  Guarantors (as defined herein) will file voluntary proceedings simultaneously
                                  under the Bankruptcy Code in the Bankruptcy Court and will request joint
                                  administration of the Chapter 11 Cases.

 Guarantors:                      Holdings and each of the Borrower’s existing and future direct and indirect
                                  subsidiaries (collectively, the “Guarantors”), in their capacities as debtors and
                                  debtors-in-possession in the Chapter 11 Cases, on a joint and several basis
                                  (together with the Borrower, each individually a “Debtor”, and collectively,
                                  the “Debtors”).

 DIP Agent:                       Ankura (in such capacity, together with its successors and assigns, the “DIP
                                  Agent”).

 DIP Lenders:                     Certain of the Prepetition New Term Loan Lenders and Prepetition L/C
                                  Lenders will, either directly or through one or more affiliated funds or
                                  financing vehicles (or funds or accounts advised or sub-advised by such
                                  person) (such participating funds, collectively, the “DIP Lenders”), finance
                                  the New Money DIP Facility (as defined herein) and participate in the New
                                  Money DIP Commitments (as defined herein) on a pro rata basis, determined
                                  based on the outstanding principal amount of New Term Loans and L/C
                                  Loans (collectively, the “Prepetition Super Senior Loans”), excluding any
                                  accrued interest and fees, under the Prepetition Credit Agreement (such
                                  Prepetition Super Senior Loans, together with accrued interest and fees, the
                                  “Prepetition Super Senior Obligations”), held by the DIP Lenders or their
                                  affiliated funds as of the date of the commencement of the Chapter 11 Cases
                                  (the “Petition Date”).


 Type and Amount of the           A secured superpriority priming debtor-in-possession non-amortizing facility
 DIP Facility:                    comprised of:

                                      (i)      a new money credit facility in an aggregate principal amount of
                                               $20 million (the “New Money DIP Facility”; the DIP Lenders’
                                               commitments under the New Money DIP Facility, the “New
                                               Money DIP Commitments”; the loans under the New Money DIP
                                               Facility, the “New Money DIP Loans”; each DIP Lender’s claim
                                               under the New Money DIP Facility, a “New Money DIP Claim”;
                                               and collectively, the “New Money DIP Claims”; and proceeds
                                               received by the Borrower from the New Money DIP Loans and
                                               the New Money Delayed Draw DIP Loans (as defined herein),
                                               the “DIP Proceeds”);

                                      (ii)     a roll up loan facility (the “Roll-Up DIP Facility”; together with
                                               the New Money DIP Facility, the “DIP Facility”; and the
                                               applicable DIP Lenders’ commitments under the Roll-Up DIP
                                               Facility, the “Roll-Up DIP Commitments”; together with the
                                               New Money DIP Commitments, the “DIP Commitments”)
                                               pursuant to which DIP Lenders shall be deemed to make loans
                                               under the Roll-Up DIP Facility (the loans under the Roll-Up DIP
                                               Facility, the “Roll-Up DIP Loans”; together with the New Money

                                                     2
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34              Main Document
                                               Pg 72 of 122


                                               DIP Loans, the “DIP Loans”; each DIP Lender’s claim under the
                                               Roll-Up DIP Facility, a “Roll-Up DIP Claim”; and collectively,
                                               the “Roll-Up DIP Claims”; and together with the New Money
                                               DIP Claims and the New Money Delayed Draw DIP Loans (as
                                               defined herein), the “DIP Claims”). Each DIP Lender shall have
                                               the entire amount of its (or its designated affiliates’) Prepetition
                                               Super Senior Obligations “rolled-up” into Roll-Up DIP Loans
                                               upon entry of the Final DIP Order and the Draw Date occurring
                                               thereafter and in connection therewith, which Roll-Up DIP Loans
                                               shall be deemed used to satisfy and discharge the Prepetition
                                               Super Senior Obligations held by such DIP Lenders (or their
                                               designated affiliates); and

                                      (iii)    a new money delayed draw credit facility in an aggregate
                                               principal amount of $5 million (the “New Money Delayed Draw
                                               DIP Facility”; the DIP Lenders’ commitments under the New
                                               Money Delayed DIP Facility, the “New Money Delayed Draw
                                               DIP Commitments”; the loans under the New Money Delayed
                                               Draw DIP Facility, the “New Money Delayed Draw DIP Loans”;
                                               each DIP Lender’s claim under the New Money Delayed Draw
                                               DIP Facility, a “New Money Delayed Draw DIP Claim”; and
                                               collectively, the “New Money Delayed Draw DIP Claims”;
                                               provided that the New Money Delayed Draw DIP Loans shall
                                               only be funded (x) at the election of the Debtors and (y) with the
                                               consent of the Requisite DIP Lenders (which shall be in the sole
                                               and absolute discretion of the Requisite DIP Lenders) (the “New
                                               Money Delayed Draw Election”); and provided further that upon
                                               the New Money Delayed Draw Election, each DIP Lender shall
                                               be deemed to hold an New Money Delayed Draw DIP
                                               Commitment in an amount equal to (on a percentage basis) such
                                               DIP Lender’s New Money DIP Commitment. For the avoidance
                                               of doubt, the disbursement of New Money Delayed Draw DIP
                                               Loans shall not result in any roll-up of Prepetition Obligations.

                                  The New Money DIP Claims, Roll-Up DIP Claims, and New Money Delayed
                                  Draw DIP Claims shall be pari passu in right of payment and collateral
                                  priority, and shall be treated the same in all other respects unless expressly
                                  specified herein or in the DIP Documents.
                                  Following the date (the “Closing Date”) of the satisfaction or waiver by
                                  Requisite DIP Lenders (as defined herein) of the relevant “Conditions
                                  Precedent to the Closing of the DIP Facility,” which shall include entry by
                                  the Bankruptcy Court of the Interim DIP Order authorizing and approving the
                                  DIP Facility, (1) the New Money DIP Loans may be incurred as follows: (x)
                                  up to $15 million under the DIP Facility to be drawn in one drawing on the
                                  Closing Date (the “Initial Funding Loan”) and (y) a draw equal to the
                                  remaining undrawn New Money DIP Commitments upon entry of an order
                                  approving the DIP Facility on a final basis (the “Final DIP Order”; together
                                  with the Interim DIP Order, the “DIP Orders”) and (2) following entry of the
                                  Final DIP Order and ending on the date prior to the date that is the earlier of
                                  the DIP Termination Date or effective date of the Chapter 11 Plan, a draw in

                                                     3
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34             Main Document
                                               Pg 73 of 122


                                  an amount not to exceed the New Money Delayed Draw DIP Commitments
                                  (as defined herein), in each case subject to the terms and conditions provided
                                  herein (the date of any draw under the DIP Facility pursuant to clause (1)(x),
                                  (1)(y) or (2), a “Draw Date”).
                                  Once repaid, the New Money DIP Loans and New Money Delayed Draw DIP
                                  Loans, if funded, incurred under the DIP Facility cannot be reborrowed. For
                                  the avoidance of doubt, the New Money DIP Commitments will be
                                  permanently reduced by the amount of New Money DIP Loans made on each
                                  Draw Date.

 Credit Bidding:                  The DIP Orders (as defined herein) and the DIP Loan Documents shall
                                  provide that, in connection with any sale of any of the Debtors’ assets under
                                  section 363 of the Bankruptcy Code or under a plan of reorganization (i) the
                                  Prepetition Agent shall have the right to credit bid the full amount of all
                                  amounts due and outstanding under the Prepetition Loan Documents (the
                                  “Prepetition Obligations”), at the direction of the “Required Lenders” (as
                                  such term is defined in the Prepetition Credit Agreement), and (ii) the DIP
                                  Agent shall have the right to credit bid all amounts outstanding under the DIP
                                  Facility at the direction of the Requisite DIP Lenders (as defined herein), in
                                  each case, in accordance with section 363(k) of the Bankruptcy Code.

 Closing Date:                    The date of the satisfaction or waiver by the Requisite DIP Lenders of the
                                  relevant “Conditions Precedent to the Closing of the DIP Facility” set forth
                                  below (the “Closing Date”).

 Maturity:                        All DIP Obligations (as defined herein) will be due and payable in full in cash
                                  unless otherwise agreed to by the DIP Lenders on the earliest of (i) the date
                                  that is nine months after the Petition Date, (ii) the consummation of any sale
                                  of all or substantially all of the assets of the Debtors pursuant to Section 363
                                  of the Bankruptcy Code, (iii) if the Final Order has not been entered, the date
                                  that is 35 calendar days after the Petition Date, (iv) the acceleration of the
                                  DIP Loans and the termination of the New Money DIP Commitments upon
                                  the occurrence of an event referred to below under “Termination”, and (v) the
                                  Effective Date (any such date, the “DIP Termination Date”). Principal of,
                                  and accrued interest on, the DIP Loans and all other amounts owing to the
                                  DIP Agent and/or the DIP Lenders under the DIP Facility shall be payable on
                                  the DIP Termination Date.

 Budget:                          The “Budget” shall consist of a 13-week operating budget setting forth all
                                  forecasted receipts and disbursements on a weekly basis for such 13-week
                                  period beginning as of the week of the Petition Date, broken down by week,
                                  including the anticipated weekly uses of the DIP Proceeds for such period,
                                  which shall include, among other things, available cash, cash flow, trade
                                  payables and ordinary course expenses, total expenses and incremental
                                  capital expenditures, fees and expenses relating to the DIP Facility, fees and
                                  expenses related to the Chapter 11 Cases (including professional fees), and
                                  working capital and other general corporate needs, which forecast shall be in
                                  form and substance reasonably satisfactory to the DIP Agent at the direction
                                  of the Requisite DIP Lenders (such budget shall be supplemented in the


                                                     4
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34             Main Document
                                               Pg 74 of 122


                                  manner required pursuant to the Financial Reporting Requirements).

 Use of Proceeds:                 The New Money DIP Loans and New Money Delayed Draw DIP Loans, if
                                  funded, shall be used to provide working capital, for general corporate
                                  purposes and to fund the Chapter 11 Cases, in each case subject to the Budget
                                  (including Permitted Variances (as defined herein)) and the terms and
                                  conditions of the DIP Credit Agreement and the DIP Orders, including,
                                  without limitation, to (i) provide working capital and for other general
                                  corporate purposes of the Debtors, (ii) fund the costs of the administration of
                                  the Chapter 11 Cases (including professional fees and expenses) and the
                                  consummation of the Debtors’ Chapter 11 Plan, and (iii) fund interest, fees,
                                  and other payments contemplated in respect of the DIP Facility.

                                  Without in any way limiting the foregoing, no DIP Collateral (as defined
                                  herein), DIP Proceeds, any portion of the Carve-Out (as defined herein) or
                                  any other amounts may be used directly or indirectly by any of the Debtors,
                                  the official committee of unsecured creditors appointed in the Chapter 11
                                  Cases (the “Committee”), if any, or any trustee or other estate representative
                                  appointed in the Chapter 11 Cases (or any successor case) or any other person
                                  or entity (or to pay any professional fees, disbursements, costs or expenses
                                  incurred in connection therewith): (a) to seek authorization to obtain liens or
                                  security interests that are senior to, or pari passu with, the DIP Liens or the
                                  Prepetition Liens (as defined herein) (except to the extent expressly set forth
                                  herein); or (b) to investigate (including by way of examinations or discovery
                                  proceedings), prepare, assert, join, commence, support or prosecute any
                                  action for any claim, counter-claim, action, proceeding, application, motion,
                                  objection, defense, or other contested matter seeking any order, judgment,
                                  determination or similar relief against, or adverse to the interests of, in any
                                  capacity, against any of the DIP Agent, the DIP Lenders, the Prepetition
                                  Agent or the Prepetition Lenders, and each of their respective officers,
                                  directors, controlling persons, employees, agents, attorneys, affiliates,
                                  assigns, or successors of each of the foregoing (all in their capacities as such)
                                  (collectively, the “Released Parties”), with respect to any transaction,
                                  occurrence, omission, action or other matter (including formal discovery
                                  proceedings in anticipation thereof), including, without limitation, (i) any
                                  claims or causes of action arising under chapter 5 of the Bankruptcy Code;
                                  (ii) any so-called “lender liability” claims and causes of action; (iii) any
                                  action with respect to the validity, enforceability, priority and extent of, or
                                  asserting any defense, counterclaim, or offset to, the DIP Obligations, the DIP
                                  Claims, the DIP Liens, the DIP Loan Documents, the Prepetition Loan
                                  Documents or the Prepetition Obligations; (iv) any action seeking to
                                  invalidate, modify, set aside, avoid or subordinate, in whole or in part, the
                                  DIP Obligations or the Prepetition Obligations; (v) any action seeking to
                                  modify any of the rights, remedies, priorities, privileges, protections and
                                  benefits granted to either (A) the DIP Agent or the DIP Lenders hereunder or
                                  under any of the DIP Loan Documents, or (B) the Prepetition Agent or the
                                  Prepetition Lenders under any of the Prepetition Loan Documents (in each
                                  case, including, without limitation, claims, proceedings or actions that might
                                  prevent, hinder or delay any of the DIP Agent’s or the DIP Lenders’
                                  assertions, enforcements, realizations or remedies on or against the DIP
                                  Collateral in accordance with the applicable DIP Loan Documents and the
                                                     5
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34             Main Document
                                               Pg 75 of 122


                                  DIP Orders); or (vi) objecting to, contesting, or interfering with, in any way,
                                  the DIP Agent’s and the DIP Lenders’ enforcement or realization upon any
                                  of the DIP Collateral once an Event of Default (as defined herein) has
                                  occurred; provided, however, that no more than $100,000 in the aggregate of
                                  the DIP Collateral, the Carve Out, proceeds from the borrowings under the
                                  DIP Facility or any other amounts, may be used by the Committee, if any, to
                                  investigate claims and/or liens of the Prepetition Agent and Prepetition
                                  Lenders under the Prepetition Credit Agreement.

 Documentation:                   The DIP Facility will be evidenced by a credit agreement (the “DIP Credit
                                  Agreement”) to be in form consistent with the Prepetition Credit Agreement
                                  (with such modifications as are necessary to reflect the terms set forth in this
                                  DIP Term Sheet and to reflect administrative agency and operational matters
                                  reasonably acceptable to the DIP Agent and the Debtors and the nature of the
                                  DIP Facility as a debtor-in-possession facility and other modifications as may
                                  be reasonably agreed between DIP Agent (acting at the direction of the
                                  Requisite DIP Lenders) and the Debtors, the “Documentation Principles”),
                                  security documents, guarantees and other legal documentation (collectively,
                                  together with the DIP Credit Agreement, the “DIP Loan Documents”), which
                                  DIP Loan Documents shall be in form and substance consistent with the
                                  Documentation Principles, this DIP Term Sheet and otherwise satisfactory to
                                  the DIP Agent and the DIP Lenders.

 Controlled Accounts:             The Debtors shall use commercially reasonable efforts to enter into one or
                                  more deposit account control agreements within three weeks of the Closing
                                  Date, with respect to all accounts holding the DIP Proceeds (collectively, the
                                  “Controlled Accounts”), which establish “control” (as defined in the Uniform
                                  Commercial Code as in effect from time to time in the State of New York) in
                                  favor of the DIP Agent for the benefit of the DIP Lenders, in form and
                                  substance reasonably satisfactory to the DIP Agent and the Requisite DIP
                                  Lenders. The DIP Credit Agreement shall require the Debtors to maintain
                                  the DIP Proceeds (including any intra-company transfers of DIP Proceeds) in
                                  the Controlled Accounts except as permitted to be used in accordance with
                                  the Budget (including Permitted Variances). From and after the Closing
                                  Date, all cash collateral (other than cash collateral held as security by issuers
                                  of letters of credit as of the Petition Date) must be held in Controlled
                                  Accounts.

 Interest:                        The DIP Loans will bear interest at 10.00% per annum.

                                  Interest shall be calculated on the basis of the actual number of days elapsed
                                  in a 360 day year.

 Default Interest:                Upon the occurrence of and during the continuance of an Event of Default
                                  under the DIP Loan Documents, the DIP Loans and all DIP Obligations will
                                  automatically bear interest at an additional 2.00% per annum.

 Fees:                            An administrative agency fee set forth in a separate fee letter payable in cash




                                                     6
WEIL:\97352148\2\44444.0008
20-10161-jlg           Doc 4       Filed 01/23/20        Entered 01/23/20 02:03:34            Main Document
                                                        Pg 76 of 122


                                         to the DIP Agent on the Closing Date. 2
                                         A commitment fee equal to 4.00% (the “Commitment Fee”) on the entire
                                         New Money DIP Commitments, which shall be earned upon entry of the
                                         Interim DIP Order, with such Commitment Fee to be shared on a pro rata
                                         basis by the DIP Lenders. The Commitment Fee shall be paid as follows: (i)
                                         2.00% shall be paid on the Closing Date in the form of Original Issue
                                         Discount (“OID”) and (ii) 2.00% shall be paid in cash to the DIP Agent (for
                                         distribution to the DIP Lenders) on the earlier of the DIP Termination Date
                                         or effective date of the Chapter 11 Plan. For the avoidance of doubt, no
                                         Commitment Fee shall be earned or payable on the Roll-Up DIP
                                         Commitments.
                                         A structuring fee equal to 3.00% (the “Structuring Fee”) on the entire New
                                         Money DIP Commitments, which shall be earned upon entry of the Interim
                                         DIP Order, with such Structuring Fee to be shared on a pro rata basis solely
                                         by DIP Lenders affiliated with Brigade Capital Management and Special
                                         Situations Investing Group based on their pro rata share of the New Money
                                         DIP Commitments. The Structuring Fee shall be paid in cash on the Closing
                                         Date. For the avoidance of doubt, no Structuring Fee shall be earned or
                                         payable on the Roll-Up DIP Commitments.

                                         For the avoidance of doubt, the Commitment Fee and Structuring Fee shall
                                         also be paid on account of the New Money Delayed Draw DIP Commitments
                                         if funded; provided that the OID portion of the Commitment Fee shall be paid
                                         on the date the New Money Delayed Draw DIP Loans are disbursed.

    Voluntary Prepayments:               Voluntary prepayments of the DIP Loans shall be permitted at any time,
                                         without premium or penalty.

    Mandatory Prepayments:               The DIP Credit Agreement will contain customary mandatory prepayment
                                         events for financings of this type consistent with the Documentation
                                         Principles and others agreed to by the DIP Lenders and the Borrower
                                         (“Mandatory Prepayments”), including, without limitation, prepayments
                                         from proceeds of (i) asset sales, (ii) insurance and condemnation proceeds,
                                         subject to reinvestment rights to be agreed upon by the Debtors and the
                                         Requisite DIP Lenders, (iii) equity or debt issuances, (iv) extraordinary
                                         receipts, (v) any cash or cash equivalents cash collateralizing any letter of that
                                         is returned to the Borrower or any Guarantor for its own account and (vi) any
                                         cash or cash equivalents returned to the Borrower or any Guarantor from rent
                                         reserves or security deposits returned to the Borrower or any Guarantor upon
                                         the assignment of a lease or otherwise, in each case, received by the Borrower
                                         or any of the Guarantors and subject to exceptions to be agreed; provided that
                                         the aggregate net cash proceeds utilized for a Mandatory Prepayment on
                                         account of the sale of the Stalking Horse Package (as defined below) shall be
                                         limited in an amount determined by Requisite DIP Lenders in good faith and
                                         in consultation with the Debtors and their advisors, if necessary, to ensure
                                         sufficient liquidity to fund the remaining disbursements set forth in the
                                         Budget in effect at such time after taking into account the Debtors’ (i) cash

2
    Agency fee will be set forth in a separate fee letter.

                                                             7
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34               Main Document
                                               Pg 77 of 122


                                  on hand and (ii) anticipated receipts and disbursements. Mandatory
                                  Prepayments will result in a permanent reduction of the DIP Facility.

 Amortization:                    None.

 Priority and Security under All obligations of the Borrower and the Guarantors to the DIP Agent and the
 DIP Facility:               DIP Lenders under the DIP Facility, including, without limitation, all
                             principal and accrued interest, premiums (if any), costs, fees and expenses or
                             any other amounts due, or any exposure of each DIP Lender and its affiliates
                             in respect of cash management incurred on behalf of the Borrower or any
                             Guarantor under the DIP Facility (collectively, the “DIP Obligations”), shall
                             be secured by the following liens and security interests (the “DIP Liens”):

                                  (a)      subject to the Carve Out and subject only to existing liens that under
                                  applicable law, are senior to, and have not been subordinated to, the liens of
                                  the DIP Agent under the DIP Loan Documents, but only to the extent that
                                  such liens are valid, enforceable and non-avoidable liens as of the Petition
                                  Date (the “Permitted Liens”), pursuant to section 364(d)(1) of the Bankruptcy
                                  Code, a first priority perfected senior priming lien on, and security interest in
                                  the Collateral (as defined in the Prepetition Loan Documents) securing the
                                  Prepetition Obligations, wherever located, that may be subject to a validly
                                  perfected security interest in existence on the Petition Date securing the
                                  Prepetition Obligations under the Prepetition Loan Documents (the
                                  “Prepetition Liens”), which Prepetition Liens shall be primed by, and made
                                  subject and subordinate to, the perfected first priority senior priming liens and
                                  security interests to be granted to the DIP Agent for the benefit of the DIP
                                  Lenders, which senior priming liens and security interests in favor of the DIP
                                  Agent for the benefit of the DIP Lenders shall also be senior to the Prepetition
                                  Lender Adequate Protection Liens (as defined herein);

                                  (b)      subject to the Carve Out, pursuant to section 364(c)(2) of the
                                  Bankruptcy Code, a first priority perfected lien on, and security interest in,
                                  all present and after acquired property of the Debtors, wherever located, not
                                  subject to a lien or security interest on the date of commencement of the
                                  Chapter 11 Cases (collectively, the “Unencumbered Property”);

                                  (c)      subject to the Carve Out, pursuant to section 364(c)(3) of the
                                  Bankruptcy Code, a junior perfected lien on, and security interest in, all
                                  present and after-acquired property of the Debtors, wherever located, that is
                                  subject to a perfected lien or security interest on the Petition Date or subject
                                  to a lien or security interest in existence on the Petition Date that is perfected
                                  subsequent thereto as permitted by section 546(b) of the Bankruptcy Code;
                                  and

                                  (d)      subject to the Carve Out, a first priority perfected lien on, and security
                                  interest in, all funds on deposit in the Controlled Accounts.

                                  The property referred to in the preceding clauses (a), (b), (c) and (d) is
                                  collectively referred to as the “DIP Collateral” and shall include, without
                                  limitation, all assets (whether tangible, intangible, personal or mixed) of the
                                  Borrower and the Guarantors, whether now owned or hereafter acquired and

                                                      8
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34             Main Document
                                               Pg 78 of 122


                                  wherever located, before or after the Petition Date, including, without
                                  limitation, all accounts, proceeds of leases, inventory, equipment, equity
                                  interests or capital stock in subsidiaries, investment property, instruments,
                                  chattel paper, real estate, leasehold interests, contracts, patents, copyrights,
                                  trademarks and other general intangibles, the proceeds of all claims or causes
                                  of action (including, subject to entry of the Final Order, proceeds of
                                  avoidance actions under chapter 5 of the Bankruptcy Code) and all products,
                                  offspring, profits and proceeds thereof.

                                  The DIP Liens shall be effective and perfected as of the entry of the Interim
                                  DIP Order (as defined herein) and without necessity of the execution, filing
                                  or recording of security agreements, pledge agreements, control agreements,
                                  financing statements or other agreements. However, the DIP Agent may, in
                                  its discretion, require the execution, filing or recording of any or all of the
                                  documents described in the preceding sentence.

                                  Notwithstanding the foregoing, the DIP Collateral shall not include (and the
                                  DIP Liens shall not extend to) assets held by the Debtors in trust. Nothing
                                  herein shall limit, subordinate, or constitute a waiver of any rights and
                                  priorities of claimants with statutory trust rights, including those afforded
                                  under the Perishable Agricultural Commodities Act of 1930, as amended, 7
                                  U.S.C. §§ 499a et. seq or the Packers and Stockyards Act of 1921, as
                                  amended, 7 U.S.C. § 181 et. seq.

 Superpriority DIP Claims:        All DIP Claims shall be entitled to the benefits of section 364(c)(1) of the
                                  Bankruptcy Code, having superpriority over any and all administrative
                                  expenses of the kind that are specified in sections 105, 326, 328, 330, 331,
                                  503(b), 506(c), 507(a), 507(b), 546(c), 726, 1114 or any other provisions of
                                  the Bankruptcy Code, subject only to the Carve Out.

                                  The DIP Claims will, at all times during the period that the DIP Loans remain
                                  outstanding, remain, in right of payment, senior in priority to all other claims
                                  or administrative expenses, including (a) any claims allowed pursuant to the
                                  obligations under the Prepetition Loan Documents, and (b) the Prepetition
                                  Lender Superpriority Claims (as defined herein), subject only to the Carve
                                  Out.



 Carve Out:                       “Carve Out” means an amount equal to the sum of the following (A) : (i) all
                                  fees required to be paid to the Clerk of the Bankruptcy Court and to the Office
                                  of the United States Trustee under 28 U.S.C. § 1930(a) plus interest pursuant
                                  to 31 U.S.C. § 3717 (without regard to the notice set forth in clause (iii)
                                  below); (ii) all reasonable fees and expenses incurred by a trustee under
                                  section 726(b) of the Bankruptcy Code in an aggregate amount not to exceed
                                  $25,000 (without regard to the notice set forth in clause (iii) below); (iii) to
                                  the extent allowed by the Bankruptcy Court at any time, whether by interim
                                  order, procedural order, final order or otherwise, all accrued and unpaid fees,
                                  disbursements, costs and expenses incurred by persons or firms retained by
                                  the Debtors pursuant to section 327, 328 or 363 of the Bankruptcy Code (the
                                  “Debtor Professionals”) and all budgeted and accrued unpaid fees,

                                                     9
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34              Main Document
                                               Pg 79 of 122


                                  disbursements, costs and expenses incurred by the Committee (if any)
                                  pursuant to section 328 and 1103 of the Bankruptcy Code (the “Committee
                                  Professionals,” together with the Debtor Professionals, the “Estate
                                  Professionals,” and such Estate Professional fees, the “Allowed Professional
                                  Fees”) at any time before or on the first business day following delivery by
                                  the DIP Agent at the direction of the Requisite DIP Lenders of a Carve Out
                                  Trigger Notice (as defined herein), whether allowed by the Bankruptcy Court
                                  prior to or after delivery of a Carve Out Trigger Notice; (iv) Allowed
                                  Professional Fees of Estate Professionals in an aggregate amount not to
                                  exceed $500,000 incurred after the first business day following delivery by
                                  the DIP Agent at the direction of the Requisite DIP Lenders of a Carve Out
                                  Trigger Notice, to the extent allowed at any time, whether by interim order,
                                  procedural order, final order, or otherwise (the amounts set forth in this clause
                                  (iv) being the “Post-Carve Out Trigger Notice Cap”) and (v) subject to entry
                                  of the Bid Procedures Order (as defined herein), amounts used to pay the
                                  Termination Payment and any of Buyer’s Damages, as each of those terms
                                  are defined in and pursuant to the Stalking Horse Agreement (as defined
                                  herein), provided that such amounts, in the aggregate, shall not exceed three
                                  (3%) of the Cash Purchase Price (as such term is defined in and.in accordance
                                  with the Stalking Horse Agreement). For purposes of the foregoing, “Carve
                                  Out Trigger Notice” shall mean a written notice delivered by e-mail (or other
                                  electronic means) by the DIP Agent at the direction of the Requisite DIP
                                  Lenders to the Debtors and their counsel, the United States Trustee, and lead
                                  counsel to any Committee appointed in the Chapter 11 Cases, which notice
                                  may be delivered following the occurrence of an Event of Default, stating that
                                  the Post-Carve Out Trigger Notice Cap has been invoked.

                                  On the day on which a Carve Out Trigger Notice is given by the DIP Agent
                                  at the direction of the Requisite DIP Lenders to the Debtors with a copy to
                                  counsel to the Committee (if any) (the “Carve Out Trigger Notice Date”), the
                                  Carve Out Trigger Notice shall constitute a demand to the Debtors to utilize
                                  all cash on hand as of such date and any available cash thereafter held by any
                                  Debtor (including any cash collateral) to fund the Professional Fees Escrow
                                  Account (as defined herein) in an amount equal to the then unpaid amounts
                                  of Estimated Fees and Expenses (as defined herein) in an amount to pay
                                  unpaid Allowed Professional Fees prior to any and all other claims. The
                                  Debtors shall deposit and hold in trust in the Professional Fees Escrow
                                  Account an amount equal to the Post-Carve Out Trigger Notice Cap, which
                                  shall exclusively be used to pay such Allowed Professional Fees benefiting
                                  from the Post-Carve Out Trigger Notice Cap Notwithstanding anything to the
                                  contrary herein, following delivery of a Carve Out Trigger Notice, if the DIP
                                  Agent (at the direction of the Requisite DIP Lenders) sweeps or forecloses on
                                  cash (including cash received as a result of the sale or other disposition of any
                                  assets) of the Debtors, the DIP Agent shall promptly deposit any cash swept
                                  or foreclosed upon after delivery of the Carve-Out Trigger Notice (including
                                  cash received as a result of the sale or other disposition of any assets) into the
                                  Professional Fees Escrow Account until it is fully funded. Further,
                                  notwithstanding anything to the contrary herein, (i) the failure of the
                                  Professional Fees Escrow Account to satisfy in full the Allowed Professional
                                  Fees shall not affect the priority of the Carve Out and (ii) in no way shall the
                                  Budget, Carve Out, Post-Carve Out Trigger Notice Cap, Professional Fees
                                                     10
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34             Main Document
                                               Pg 80 of 122


                                  Escrow Account, or any of the foregoing be construed as a cap or limitation
                                  on the amount of the Allowed Professional Fees due and payable by the
                                  Debtors.

                                  For the avoidance of doubt and notwithstanding anything to the contrary
                                  herein, the Carve Out shall be senior to all liens and claims securing the DIP
                                  Facility, the adequate protection liens and claims, and all other forms of
                                  adequate protection, liens, or claims securing the DIP Obligations or the
                                  Prepetition Obligations.

                                  Prior to the occurrence of an Event of Default, the Debtors shall be permitted
                                  to pay compensation and reimbursement of all Allowed Professional Fees of
                                  Estate Professionals, as the same may be due and payable, and such payments
                                  shall not reduce the Carve Out. Upon the receipt of the Carve Out Trigger
                                  Notice, the right of the Debtors to pay professional fees using Cash Collateral
                                  outside the Carve Out shall terminate and the Debtors shall provide
                                  immediate notice to all Estate Professionals informing them that such notice
                                  was delivered and further advising them that the Debtors’ ability to pay
                                  professional fees to such Estate Professionals using Cash Collateral is subject
                                  to and limited by the Carve Out. Any payment or reimbursement made prior
                                  to the occurrence of the Carve Out Trigger Notice Date in respect of any
                                  Allowed Professional Fees shall not reduce the Carve Out.

                                  Starting with the first full calendar week following the Petition Date, each
                                  Estate Professional shall deliver to the Debtors a statement (each such
                                  statement, a “Weekly Statement”) setting forth a good-faith estimate of the
                                  amount of unpaid fees and expenses incurred during the preceding week by
                                  such Estate Professional (through Saturday of such week, the “Calculation
                                  Date”) (the “Estimated Fees and Expenses”). No later than one business day
                                  after the delivery of a Carve-Out Trigger Notice, each Estate Professional
                                  shall deliver one additional statement to the Debtors setting forth a good-faith
                                  estimate of the amount of unpaid fees and expenses incurred during the period
                                  commencing on the calendar day after the most recent Calculation Date for
                                  which a Weekly Statement has already been delivered and concluding on the
                                  date of the Carve-Out Trigger Notice, and the Debtors shall transfer such
                                  amounts to the Professional Fees Escrow Account (as defined herein).

                                  The Debtors shall on a weekly basis, transfer cash proceeds from the DIP
                                  Facility or cash on hand in an amount equal to the aggregate unpaid amount
                                  of Estimated Fees and Expenses included in all Weekly Statements timely
                                  received by the Debtors which shall be reported to the DIP Agent, or if an
                                  estimate is not provided, the total budgeted weekly fees of Estate
                                  Professionals for the prior week set forth in the Budget, into a segregated
                                  account not subject to the control of the DIP Agent, any DIP Lender, or any
                                  Prepetition Secured Party (the “Professional Fees Escrow Account”). The
                                  Debtors shall use funds held in the Professional Fees Escrow Account
                                  exclusively to pay Professional Fees as they become allowed and payable
                                  pursuant to the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy
                                  Local Rules, and any interim or final orders of the Court; provided that when
                                  all allowed Professional Fees have been paid in full (regardless of when such
                                  Professional Fees are allowed by the Court), any funds remaining in the
                                                    11
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34            Main Document
                                               Pg 81 of 122


                                  Professional Fees Escrow Account shall revert to the Debtors for use in a
                                  manner consistent with the DIP Credit Agreement and the DIP Orders; and
                                  provided further that the Debtors’ obligations to pay allowed Professional
                                  Fees shall not be limited or be deemed limited to funds held in the
                                  Professional Fees Escrow Account. Funds transferred to the Professional
                                  Fees Escrow Account shall be held in trust for and exclusively available for
                                  the payment of any fees and expenses of the Estate Professionals, including
                                  with respect to obligations arising out of the Carve-Out (with a reversionary
                                  interest to the Debtors of any amount remaining in the Professional Fees
                                  Escrow Account after all allowed Professional Fees are satisfied in full).
                                  Funds transferred to the Professional Fees Escrow Account shall not be
                                  subject to any liens or claims granted to the DIP Lenders herein or any liens
                                  or claims granted as adequate protection, shall not constitute DIP Collateral,
                                  and shall not constitute Cash Collateral or assets of the Debtors’ estates;
                                  provided that the DIP Collateral shall include the Debtors’ reversionary
                                  interest in funds held in the Professional Fees Escrow Account, if any, after
                                  all allowed Professional Fees are satisfied in full.

                                  Nothing herein shall be construed to impair the ability of any party to object
                                  to any fees, expenses, reimbursement or compensation sought by any Estate
                                  Professionals or any other person or entity.

 Investigation Rights:            The Committee (to the extent one is appointed) shall have a maximum of
                                  sixty (60) calendar days from entry of the Final DIP Order and, to the extent
                                  a Committee is not appointed, any party in interest (other than the Debtors)
                                  shall have a maximum of seventy-five (75) calendar days from entry of the
                                  Final DIP Order (the “Investigation Period”) to investigate and commence an
                                  adversary proceeding or contested matter, as required by the applicable
                                  Federal Rules of Bankruptcy Procedure, and challenge (each, a “Challenge”)
                                  the findings, the Debtors’ stipulations, or any other stipulations contained in
                                  the DIP Orders, including, without limitation, any challenge to the validity,
                                  priority or enforceability of the liens securing the obligations under the
                                  Prepetition Loan Documents, or to assert any claim or cause of action against
                                  the Prepetition Agent or the Prepetition Lenders arising under or in
                                  connection with the Prepetition Loan Documents or the Prepetition
                                  Obligations, as the case may be, whether in the nature of a setoff,
                                  counterclaim or defense of Prepetition Obligations, or otherwise. The
                                  Investigation Period may only be extended with the prior written consent of
                                  the DIP Agent (acting at the direction of the Requisite DIP Lenders), or
                                  pursuant to an order of the Bankruptcy Court. Except to the extent asserted
                                  in an adversary proceeding or contested matter filed during the Investigation
                                  Period, upon the expiration of such applicable Investigation Period (to the
                                  extent not otherwise waived or barred), (i) any and all Challenges or potential
                                  challenges shall be deemed to be forever waived and barred; (ii) all of the
                                  agreements, waivers, releases, affirmations, acknowledgements and
                                  stipulations contained in the Interim DIP Order shall be irrevocably and
                                  forever binding on the Debtors, the Committee and all parties-in-interest and
                                  any and all successors-in-interest as to any of the foregoing, including any
                                  Chapter 7 Trustee, without further action by any party or the Bankruptcy
                                  Court; (iii) the Prepetition Obligations shall be deemed to be finally allowed
                                  and the Prepetition Liens shall be deemed to constitute valid, binding and
                                                    12
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34            Main Document
                                               Pg 82 of 122


                                  enforceable encumbrances, and not subject to avoidance pursuant to the
                                  Bankruptcy Code or applicable non-bankruptcy law; and (iv) the Debtors
                                  shall be deemed to have released, waived and discharged the Released Parties
                                  from any and all claims and causes of action arising out of, based upon or
                                  related to, in whole or in part, the Prepetition Obligations. Notwithstanding
                                  anything to the contrary herein: (x) if any Challenge is timely commenced,
                                  the stipulations contained in the DIP Orders shall nonetheless remain binding
                                  on all other parties-in-interest and preclusive except to the extent that such
                                  stipulations are expressly and successfully challenged in such Challenge; and
                                  (y) the Released Parties reserve all of their rights to contest on any grounds
                                  any Challenge. For the avoidance of doubt, the DIP Orders shall include
                                  language that the investigation rights afforded to the Committee will not
                                  constitute the Debtors’ or DIP Lenders’ recognition, consent, or agreement
                                  not to object to, the Committee’s standing to assert any claim or cause of
                                  action. To the extent that there is a successful Challenge to any Prepetition
                                  Obligations that are converted into the Roll-Up DIP Facility, the Roll-Up DIP
                                  Facility shall be automatically unwound and deemed null and void in an
                                  equivalent amount.

 Conditions Precedent to the The DIP Credit Agreement will contain customary conditions precedent to
 Closing of the DIP Facility: closing mutually acceptable to the Debtors, the DIP Agent and the DIP
                              Lenders, including but not limited to the following conditions precedent, each
                              of which shall be subject to waiver with the consent of the Debtors and the
                              DIP Agent at the direction of the Requisite DIP Lenders:

                                  •   All documentation relating to the DIP Facility shall be in form and
                                      substance reasonably satisfactory to the DIP Agent and the DIP Lenders,
                                      and shall have been duly executed and delivered by all parties thereto.

                                  •   All reasonable and documented (in summary form) out-of-pocket fees,
                                      costs, disbursements and expenses, accrued and unpaid as of the Closing
                                      Date, of (i) the DIP Agent (limited, in the case of counsel, to all
                                      reasonable and documented out-of-pocket fees, costs, disbursements and
                                      expenses of the DIP Agent’s outside counsel, Davis Polk & Wardwell
                                      LLP (“DPW”) and any successor counsel, and, to the extent necessary,
                                      one firm of local counsel engaged by the DIP Agent in connection with
                                      the Debtors’ Chapter 11 Cases), (ii) the Prepetition Lenders and DIP
                                      Lenders represented by King & Spalding LLP (“K&S”) (collectively, the
                                      “Ad Hoc Group”) (limited, in the case of counsel, to all reasonable and
                                      documented fees, costs, disbursements and expenses of the Ad Hoc
                                      Group’s outside counsel, K&S, and, to the extent necessary, one firm of
                                      local counsel engaged by the Ad Hoc Group in connection with the
                                      Debtors’ Chapter 11 Cases), and (iii) any other professional advisors
                                      retained by the DIP Agent at the direction of the Requisite DIP Lenders
                                      in their reasonable discretion, or the Ad Hoc Group, in their reasonable
                                      discretion, shall have been paid in full in cash (which payment may be
                                      made from DIP Proceeds), in each case to the extent invoices for any
                                      such accrued and unpaid amounts are provided to the Debtors no later
                                      than three (3) Business Days prior to the Closing Date.



                                                    13
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34              Main Document
                                               Pg 83 of 122


                                  •   The DIP Agent and the DIP Lenders shall have received a Budget in form
                                      and substance reasonably satisfactory to the DIP Agent at the direction
                                      of the Requisite DIP Lenders.

                                  •   All first day motions, including those related to the DIP Facility, filed by
                                      the Debtors and related orders entered by the Bankruptcy Court in the
                                      Chapter 11 Cases shall be in form and substance reasonably satisfactory
                                      to the DIP Agent (with respect to matters relevant to or affecting the DIP
                                      Agent) and the Requisite DIP Lenders.

                                  •   Other than the DIP Orders, there shall not exist any law, regulation,
                                      ruling, judgment, order, injunction or other restraint that prohibits,
                                      restricts or imposes a materially adverse condition on the DIP Facility or
                                      the exercise by the DIP Agent at the direction of the DIP Lenders of its
                                      rights as a secured party with respect to the DIP Collateral.

                                  •   Other than, in each case, as a result of the commencement and
                                      continuation of the Chapter 11 Cases, the events leading up to the Chapter
                                      11 Cases, the effect of the bankruptcy, the conditions in the industry in
                                      which the Borrower operates in as existing on the Closing Date and/or
                                      the consummation of transactions contemplated by the Debtors’ “first
                                      day” pleadings reviewed by the DIP Agent and the Requisite DIP
                                      Lenders, since the Petition Date there shall have occurred no event,
                                      circumstance or condition which has resulted, or could reasonably be
                                      expected to result, in a material adverse change in (i) the business,
                                      operations, properties or condition (financial or otherwise) of the Debtors
                                      and their subsidiaries, collectively, (ii) the legality, validity or
                                      enforceability of any DIP Loan Documents or the DIP Orders, (iii) the
                                      ability of the Borrower or the Guarantors, taken as a whole, to perform
                                      their payment obligations under the DIP Loan Documents, (iv) the
                                      perfection or priority of the DIP Liens granted pursuant to the DIP Loan
                                      Documents or the DIP Orders, or (v) the rights and remedies of the DIP
                                      Agent and the DIP Lenders under the DIP Loan Documents taken as a
                                      whole (any of the foregoing being a “Material Adverse Change”).

                                  •   Other than the Chapter 11 Cases, as stayed upon the commencement of
                                      the Chapter 11 Cases, or as disclosed to the DIP Agent prior to the
                                      Petition Date, there shall exist no action, suit, investigation, litigation or
                                      proceeding pending or threatened in writing in any court or before any
                                      arbitrator or governmental authority that (i) would reasonably be
                                      expected to result in a Material Adverse Change or (ii) restrains, prevents
                                      or purports to affect materially adversely the legality, validity or
                                      enforceability of the DIP Facility or the consummation of the transactions
                                      contemplated thereby.

                                  •   Other than as a result of or in connection with the Chapter 11 Cases, all
                                      governmental and third party consents and approvals reasonably
                                      necessary to be obtained by the Borrower in connection with the DIP
                                      Facility, if any, shall have been obtained (without the imposition of any
                                      conditions that are not reasonably acceptable to the DIP Agent at the
                                      direction of the Requisite DIP Lenders in their reasonable discretion) and
                                                    14
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34             Main Document
                                               Pg 84 of 122


                                      shall remain in effect.

                                  •   Subject to the entry of the Interim DIP Order, the DIP Agent, for the
                                      benefit of the DIP Lenders, shall have a valid and perfected lien on and
                                      security interest in the DIP Collateral of the Debtors on the basis and with
                                      the priority set forth herein.

                                  •   The Bankruptcy Court shall have entered an interim order (the “Interim
                                      DIP Order”) within three (3) calendar days following the Petition Date,
                                      in form and substance consistent with the terms and conditions set forth
                                      herein and otherwise satisfactory to the DIP Agent at the direction of the
                                      Requisite DIP Lenders, which Order shall include, without limitation,
                                      copies of the DIP Facility and the initial Budget as exhibits thereto,
                                      entered on notice to such parties as may be satisfactory to the DIP Agent
                                      acting at the direction of the Requisite DIP Lenders and otherwise as
                                      required by applicable Bankruptcy Law, (i) authorizing and approving
                                      the New Money DIP Facility and the transactions contemplated thereby,
                                      including, without limitation, the granting of the superpriority status,
                                      security interests and priming liens, and the payment of all fees, referred
                                      to herein; (ii) authorizing the lifting or modification of the automatic stay
                                      to permit the Borrower and the Guarantors to perform their obligations,
                                      and the DIP Lenders to exercise their rights and remedies, with respect to
                                      the DIP Facility; (iii) authorizing the use of cash collateral and providing
                                      for adequate protection in favor of the Prepetition Lenders as and to the
                                      extent provided herein; and (iv) reflecting such other terms and
                                      conditions that are mutually satisfactory to the DIP Agent (with respect
                                      to matters relevant to or affecting the DIP Agent), the Requisite DIP
                                      Lenders, and the Debtors, in their respective discretion, in each case, on
                                      the terms and conditions set forth herein; which Interim DIP Order shall
                                      be in full force and effect, shall not have been reversed, vacated or stayed
                                      and shall not have been amended, supplemented or otherwise modified
                                      without the prior written consent of the DIP Agent (at the direction of the
                                      Requisite DIP Lenders); provided that, for the avoidance of doubt, the
                                      Interim DIP Order need not include authorization and approval of the
                                      Roll-Up DIP Facility, which shall be deferred to and included in the Final
                                      DIP Order.

                                  •   The Debtors shall have entered into the RSA with the Requisite
                                      Consenting Lenders in form and substance reasonably satisfactory to the
                                      DIP Agent and the DIP Lenders.

                                  •   The DIP Agent shall have received, at least three (3) Business Days prior
                                      to the Closing Date, all documentation and other information required by
                                      regulatory authorities under applicable “know your customer” and anti-
                                      money laundering rules and regulations, including, without limitation,
                                      the PATRIOT Act.

 Conditions Precedent to In addition to the satisfaction of the conditions on the Closing Date, the DIP
 Borrowing New Money DIP Credit Agreement will contain only the following conditions precedent to
 Loans    and New Money borrowings:
 Delayed Draw DIP Loans (if
                                                    15
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34             Main Document
                                               Pg 85 of 122


 funded):                         •   No Default or Event of Default shall have occurred, and shall be
                                      continuing, under the DIP Loan Documents immediately prior to the
                                      funding of the New Money DIP Loans or New Money Delayed Draw
                                      DIP Loans, if funded, or would result from such borrowing of the New
                                      Money DIP Loans or New Money Delayed Draw DIP Loans, if funded.

                                  •   The representations and warranties of each Borrower and each
                                      Guarantor set forth in the DIP Credit Agreement shall be true and
                                      correct in all material respects (without duplication of any materiality
                                      qualifier) on and as of the Closing Date or on and as of any Draw Date
                                      thereafter, as applicable, in each case immediately after giving effect to
                                      the funding of any New Money DIP Loans and New Money Delayed
                                      Draw DIP Loans, and to the application of the proceeds therefrom as
                                      though made on and as of such date (except to the extent such
                                      representations and warranties expressly relate to an earlier date, in
                                      which case such representations and warranties shall be true and correct
                                      in all material respects (without duplication of any materiality qualifier)
                                      as of such earlier date).

                                  •   The making of the New Money DIP Loans shall not violate any
                                      requirement of law and shall not be enjoined temporarily, preliminarily
                                      or permanently.

                                  •   The making of the New Money DIP Loans shall be authorized pursuant
                                      to the Interim DIP Order or the Final DIP Order, as applicable.

                                  •   The entry of the Interim DIP Order or the Final DIP Orders (as
                                      applicable).

                                  The RSA shall remain in force and effect according to its terms as to the
                                  Debtors and the Requisite Consenting Creditors.




                                                    16
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34            Main Document
                                               Pg 86 of 122


 Representations and              The DIP Credit Agreement will contain the following representations and
 Warranties:                      warranties (which will be applicable to each Debtor and its subsidiaries)
                                  consistent with the Documentation Principles and to be made as of (x) the
                                  date the Borrower and the Guarantors execute the DIP Loan Documents, (y)
                                  the Closing Date, and (z) any Draw Date thereafter: representations and
                                  warranties regarding valid existence, requisite power, due authorization, no
                                  conflict with the Interim DIP Order or the Final DIP Order (as applicable) or
                                  applicable law, governmental consent, enforceability of DIP Loan
                                  Documents, accuracy of financial statements, and all other non-forward
                                  looking information provided, compliance with law, absence of Material
                                  Adverse Change, no default under the DIP Loan Documents, taxes,
                                  subsidiaries, ERISA, pension and benefit plans, ownership of properties and
                                  necessary rights to intellectual property, insurance, inapplicability of
                                  Investment Company Act, compliance with OFAC, money laundering,
                                  PATRIOT Act and other anti-terrorism laws and anti-corruption laws,
                                  continued accuracy of representations and continued effectiveness of the
                                  applicable DIP Order and each other order of the Bankruptcy Court with
                                  respect to the DIP Facility.

 Affirmative and Negative         The DIP Credit Agreement will contain customary affirmative and negative
 Covenants:                       covenants to be consistent with the Documentation Principles, including, the
                                  following:

                                  •   Deliver to the DIP Agent and the DIP Lenders and their counsel for
                                      review and comment, as soon as commercially reasonable, and in any
                                      event not less than two (2) Business Days prior to filing (or as soon
                                      thereafter as is reasonably practicable under the circumstances), upon
                                      request, all pleadings, motions and other documents material to the DIP
                                      Agent or DIP Lenders (provided that any of the foregoing relating to the
                                      DIP Facility shall be deemed material) to be filed on behalf of the Debtors
                                      with the Bankruptcy Court.

                                  •   Promptly deliver, upon receipt of same, to the DIP Agent and the DIP
                                      Lenders copies of any term sheets, proposals, presentations or other
                                      documents, from any party, related to (i) the restructuring of the Debtors,
                                      or (ii) the sale of assets of one or more of the Debtors.

                                  •   Comply in all material respects with laws (including without limitation,
                                      the Bankruptcy Code, ERISA, environmental laws, OFAC, money
                                      laundering laws, PATRIOT Act and other anti-terrorism laws and anti-
                                      corruption laws), pay taxes, maintain all necessary licenses and permits
                                      and trade names, trademarks, patents, preserve corporate existence,
                                      maintain appropriate and adequate insurance coverage and permit
                                      inspection of properties, books and records.

                                  •   Conduct all transactions with affiliates of the Debtors on terms no less
                                      favorable to the Debtors than those obtainable in arm’s length
                                      transactions, including, without limitation, restrictions on management
                                      fees paid to affiliates.

                                  •   Maintain a cash management system as required by the DIP Orders and
                                                    17
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34            Main Document
                                               Pg 87 of 122


                                      otherwise the Prepetition Credit Agreement.

                                  •   Not make or commit to make payments to critical vendors in respect of
                                      prepetition amounts in excess of $7.5 million in the aggregate (or as
                                      otherwise contemplated by the Chapter 11 Plan).

                                  •   Delivery of the Budget, updated on a weekly basis and adherence to the
                                      Budget, subject to Permitted Variances.

                                  •   (i) Actual aggregate disbursements shall not exceed the aggregate amount
                                      of disbursements in the Budget for the applicable period by more than
                                      the Permitted Variances, and (ii) actual aggregate cash receipts
                                      (excluding DIP Proceeds that may be deemed a receipt) during the
                                      applicable period shall not be less than the aggregate amount of such cash
                                      receipts in the Budget for such period by more than the Permitted
                                      Variances.

                                      For purposes hereof, the term “Permitted Variances” will mean, for the
                                      first two weeks after the Closing Date and on a rolling two-week basis
                                      thereafter, to be tested commencing on the third Friday following the
                                      Closing Date and every other Friday thereafter (each such period, the
                                      “Testing Periods”): (i) all favorable variances, (ii) (x) an unfavorable
                                      variance of no more than 10% for each of actual aggregate receipts and
                                      disbursements (excluding professional fees and expenses), (y) an
                                      unfavorable variance of no more than 10% for professional fee and
                                      expense disbursements, and (z) an unfavorable variance of no more than
                                      the greater of $500,000 and 10% of net cash flow (excluding professional
                                      fees and expenses), as compared to the budgeted aggregate receipts,
                                      disbursements (excluding professional fees and expenses), professional
                                      fee and expense disbursements, and net cash flow (excluding
                                      professional fees and expenses), respectively, set forth in the Budget with
                                      respect to the applicable Testing Period; provided, that any
                                      disbursements in such Testing Period made from proceeds of favorable
                                      variances with respect to receipts in such Testing Period shall not be
                                      counted as disbursements for purposes of calculating unfavorable
                                      variances. The Permitted Variances with respect to each Testing Period
                                      shall be determined and reported to the DIP Agent and the DIP Lenders
                                      not later than Friday immediately following each such Testing Period.
                                      Additional variances, if any, from the Budget, and any proposed changes
                                      to the Budget, shall be subject to the approval of the DIP Agent at the
                                      direction of the Requisite DIP Lenders.

                                  •   Consistent with the Documentation Principles and subject to the Budget,
                                      not incur or assume any additional debt or contingent obligations in
                                      respect of debt, give any guaranties in respect of debt, create any liens,
                                      charges or encumbrances or incur additional material lease obligations,
                                      in each case, beyond agreed upon limits; not merge or consolidate with
                                      any other person, change the nature of business or corporate structure or
                                      create or acquire new subsidiaries, in each case, beyond agreed upon
                                      limits; not amend its charter or by laws; not sell, lease or otherwise
                                      dispose of assets (including, without limitation, in connection with a sale
                                                    18
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34             Main Document
                                               Pg 88 of 122


                                      leaseback transaction) outside the ordinary course of business and beyond
                                      agreed upon limits; not give a negative pledge on any assets in favor of
                                      any person other than the DIP Agent for the benefit of the DIP Lenders;
                                      and not permit to exist any consensual encumbrance on the ability of any
                                      subsidiary to pay dividends or other distributions to the Borrower; in each
                                      case, subject to customary exceptions or baskets as may be agreed.

                                  •   Other than the DIP Obligations, not prepay, redeem, purchase, defease,
                                      exchange or repurchase any debt or amend or modify any of the terms of
                                      any such debt or other similar agreements entered into by any Debtor or
                                      its subsidiaries.

                                  •   Not make any loans, advances, capital contributions or acquisitions, form
                                      any joint ventures or partnerships or make any other investments in
                                      subsidiaries (other than among the Debtors) or any other person, subject
                                      to certain exceptions to be agreed.

                                  •   Not make or commit to make any payments in respect of warrants,
                                      options, repurchase of stock, dividends or any other distributions (other
                                      than among the Debtors, from Debtors to non-Debtor affiliates in the
                                      ordinary course, among non-Debtors, and from non-Debtors to Debtors).

                                  •   Not make, commit to make, or permit to be made any bonus payments to
                                      executive officers of the Debtors and their subsidiaries in excess of the
                                      amounts set forth in the Budget.

                                  •   Not permit any change in ownership or control of any Debtor or any
                                      subsidiary or any change in accounting treatment or reporting practices,
                                      except as required by GAAP or as permitted or contemplated by the RSA,
                                      the Chapter 11 Plan or the DIP Credit Agreement.

                                  •   Without the prior written consent of the Requisite DIP Lenders, not make
                                      or permit to be made any change to the DIP Orders or any other order of
                                      the Bankruptcy Court with respect to the DIP Facility.

                                  •   Not permit the Debtors to seek authorization for, and not permit the
                                      existence of, any claims other than that of the DIP Lenders entitled to a
                                      superpriority under section 364(c)(1) of the Bankruptcy Code that is
                                      senior or pari passu with the DIP Lenders’ section 364(c)(1) claim,
                                      except for the Carve Out.

                                  •   The Debtors shall comply with the Milestones (as defined herein).

 Financial Reporting              The Borrower shall provide to the DIP Agent for the benefit of the DIP
 Requirements:                    Lenders (hereinafter the “Financial Reporting Requirements”): (i) monthly
                                  operating reports of the Debtors and their subsidiaries, within thirty (30)
                                  calendar days of month end, certified by the Debtors’ chief financial officer;
                                  (ii) quarterly consolidated financial statements of the Debtors and their
                                  subsidiaries within sixty (60) calendar days of fiscal quarter end, certified by
                                  the Borrower’s chief financial officer; (iii) annual audited consolidated
                                  financial statements of the Debtors and their subsidiaries within one-hundred
                                                    19
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34             Main Document
                                               Pg 89 of 122


                                  twenty (120) calendar days of fiscal year end, certified with respect to such
                                  consolidated statements by independent certified public accountants
                                  acceptable to the DIP Lenders (provided that the Borrower’s existing
                                  independent certified public accountants are acceptable) which shall not be
                                  qualified in any material respect as to scope but may contain a qualification
                                  with respect to the Chapter 11 Cases; (iv) following delivery of the Budget,
                                  on every Friday during the Chapter 11 Cases, an updated Budget, in each
                                  case, in form reasonably satisfactory to the DIP Agent at the direction of the
                                  Requisite DIP Lenders and substance satisfactory to the DIP Agent at the
                                  direction of the Requisite DIP Lenders for the subsequent 13 week period
                                  consistent with the form of the initial Budget and such updated Budget shall
                                  become the “Budget” for the purposes of the DIP Facility upon the DIP
                                  Agent’s acknowledgement at the direction of the Requisite DIP Lenders that
                                  the proposed updated Budget is substantially in the form of the initial Budget
                                  and in substance satisfactory to the DIP Agent (provided, that, until a new
                                  Budget has been approved by the DIP Agent at the direction of the Requisite
                                  DIP Lenders, the most recently approved Budget shall govern); and (v)
                                  beginning on the third Friday following the Closing Date, and every other
                                  Friday thereafter, a variance report (the “Variance Report”) setting forth
                                  actual cash receipts, disbursements (excluding professional fees and
                                  expenses), professional fee and expense disbursements and net cash flow
                                  (excluding professional fees and expenses) of the Debtors for the prior
                                  Testing Period and setting forth all the variances, on a line-item and aggregate
                                  basis, from the amount set forth for such period as compared to the applicable
                                  Budget delivered by the Debtors, in each case, on a cumulative rolling 2-week
                                  basis (and each such Variance Report shall include explanations for all
                                  material variances and shall be certified by the Chief Financial Officer of the
                                  Debtors). The Borrower will promptly provide notice to the DIP Agent, for
                                  distribution to the DIP Lenders, of any Material Adverse Change.

                                  All deliveries required pursuant to this section shall be subject to the
                                  confidentiality provision to be negotiated in the DIP Credit Agreement.

 Other Reporting                  The DIP Credit Agreement will contain other customary reporting
 Requirements:                    requirements for similar financings and others determined by the DIP Lenders
                                  in their reasonable discretion to be appropriate to the transactions
                                  contemplated herein, including, without limitation, with respect to material
                                  adverse events, events and notices under other material debt instruments,
                                  litigation, contingent liabilities, ERISA or environmental events and
                                  consistent with the Documentation Principles (collectively with the financial
                                  reporting information described above, the “Information”).




                                                    20
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34           Main Document
                                               Pg 90 of 122


 Chapter 11 Cases                 The DIP Credit Agreement will include the following milestones (the “Case
 Milestones:                      Milestones”) related to the Debtors’ Chapter 11 Cases:
                                     •   No later than three calendar days after the Petition Date, the
                                         Bankruptcy Court shall have entered the Interim DIP Order.
                                     •   No later than 30 calendar days after the Petition Date, the Debtors
                                         shall have filed a plan of reorganization, in form and substance
                                         satisfactory to the DIP Agent and the Requisite DIP Lenders.
                                     •   No later than 30 calendar days after the Petition Date, the Debtors
                                         shall have filed disclosure statement motion and disclosure statement
                                         in form and substance satisfactory to the DIP Agent and the Requisite
                                         DIP Lenders.
                                     •   No later than 30 calendar days after the Petition Date, the Bankruptcy
                                         Court shall have entered an order setting the date (the “Bar Date”) by
                                         which proofs of claim for general unsecured creditors must be filed.
                                     •   No later than 35 calendar days following the Petition Date, the
                                         Bankruptcy Court shall have entered the Final DIP Order.
                                     •   No later than 65 calendar days following the Petition Date, the
                                         Bankruptcy Court shall have entered an order, in form and substance
                                         reasonably satisfactory to the DIP Agent (with respect to matters
                                         relevant to or affecting the DIP Agent) and the Requisite DIP
                                         Lenders, approving the Disclosure Statement (the “Disclosure
                                         Statement Order”).
                                     •   No later than 60 calendar days following the Petition Date, the Bar
                                         Date shall have occurred.
                                     •   No later than 70 calendar days after the Petition Date, the Debtors
                                         shall have commenced solicitation on the Chapter Plan.
                                     •   No later than 120 calendar days following the Petition Date the
                                         Bankruptcy Court shall have entered an order, in form and substance
                                         reasonably satisfactory to the DIP Agent (with respect to matters
                                         relevant to or affecting the DIP Agent) and the Requisite DIP
                                         Lenders, confirming the Chapter 11 Plan (the “Plan Confirmation
                                         Order”).
                                     •   No later than 125 calendar days following the Petition Date the
                                         effective date (the “Effective Date”) of the Chapter 11 Plan shall have
                                         occurred.
                                  The DIP Credit Agreement will include the following sale milestones (the
                                  “Sale Milestones”; together with the Case Milestones, the “Milestones”)
                                  related to the Debtors’ 363 Sale (as defined herein):
                                     •   Prior to the Petition Date, the Debtors shall have entered into a
                                         stalking horse purchase agreement (the “Staking Horse Agreement”)
                                         (in form and substance acceptable to the Requisite DIP Lenders) with
                                         Village Supermarket, Inc. (the “Stalking Horse Bidder”) for a
                                         substantial portion of the Debtors’ assets (the “Stalking Horse
                                         Package” and, the Stalking Horse Bidder’s bid for such Stalking

                                                   21
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34            Main Document
                                               Pg 91 of 122


                                         Horse Package, the “Stalking Horse Bid”), and such Stalking Horse
                                         Agreement shall not have been terminated by the Stalking Horse
                                         Bidder.
                                     •   No later than 2 calendar days after the Petition Date, the Debtors shall
                                         file a motion (the “Sale Motion”), in form and substance acceptable
                                         to the DIP Agent and the Requisite DIP Lenders, requesting (x) an
                                         order from the Bankruptcy Court (the “Bid Procedures Order”) (i)
                                         approving the proposed bid procedures attached to the Sale Motion
                                         related to the sale of substantially all of the assets of the Debtors,
                                         including the Stalking Horse Package (the “Bid Procedures”), and (ii)
                                         authorizing the Debtors to provide the Stalking Horse Bidder with
                                         the bid protections set forth in the Stalking Horse Agreement, and (y)
                                         an order from the Bankruptcy Court (the “Sale Order”) approving the
                                         sale of the Debtors’ assets to the highest and best bidder for such
                                         assets pursuant to Section 363 of the Bankruptcy Code, including the
                                         sale of the Stalking Horse Package to the Stalking Horse Bidder or
                                         such other higher or better bidder determined in accordance with the
                                         Bid Procedures.
                                     •   No later than 25 calendar days after the Petition Date, the Debtors
                                         shall have obtained the Bid Procedures Order, in form and substance
                                         reasonably satisfactory to the DIP Agent and the Requisite DIP
                                         Lenders.
                                     •   No later than 50 calendar days after the Petition Date, the Debtors
                                         shall have commenced an auction, if applicable, for the Stalking
                                         Horse Package.
                                     •   No later than 55 calendar days after the Petition Date, the Debtors
                                         shall have commenced an auction, if applicable, for the Other Assets
                                         (as such term is defined in the Bid Procedures).
                                     •   No later than 65 calendar days after the Petition Date, the Bankruptcy
                                         Court shall have entered an order (the “Stalking Horse Sale Order”),
                                         in form and substance reasonably acceptable to the DIP Agent (acting
                                         at the direction of the Requisite DIP Lenders), approving the sale of
                                         the Stalking Horse Package; provided that if there is no overbid for
                                         the Stalking Horse Package, then the Stalking Horse Sale Order shall
                                         be entered no later than 50 calendar days after the Petition Date.
                                     •   No later than 65 calendar days after the Petition Date, the Bankruptcy
                                         Court shall have entered an order, in form and substance reasonably
                                         acceptable to the DIP Agent (acting at the direction of the Requisite
                                         DIP Lenders), approving the sale of the Other Assets.
                                     •   No later than calendar 68 days after the Petition Date, the Debtors
                                         shall have consummated the sale(s) of the Stalking Horse Package to
                                         the winning bidder(s) at the applicable Auction, provided if there is
                                         no overbid for the Stalking Horse Package, then the Debtors shall
                                         have consummated the sale(s) of the Stalking Horse Package no later
                                         than 55 days from the Petition Date.
                                     •   No later than calendar 70 days after the Petition Date, the Debtors

                                                   22
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34             Main Document
                                               Pg 92 of 122


                                          shall have consummated the sale(s) of the Other Assets to the
                                          winning bidder(s) at the applicable Auction.
 Events of Default:               The DIP Credit Agreement will contain events of default customarily found
                                  in loan agreements for similar financings and other events of default deemed
                                  by the DIP Lenders appropriate to the transactions contemplated therein
                                  which will be applicable to the Debtors and their subsidiaries (each an “Event
                                  of Default”), including, without limitation:
                                  •   failure to make payments when due;
                                  •   noncompliance with covenants (subject to customary cure periods as may
                                      be agreed with respect to certain covenants);
                                  •   breaches of representations and warranties in any material respect;
                                  •   failure to satisfy or stay execution of judgments in excess of specified
                                      amounts;
                                  •   the existence of certain materially adverse employee benefit or
                                      environmental liabilities, except for such liabilities as are in existence as
                                      of the Closing Date and are set forth on a schedule to the DIP Credit
                                      Agreement, and customary ERISA and similar foreign plan events;
                                  •   impairment of DIP Loan Documents;
                                  •   change in ownership or control, except as contemplated by the Chapter
                                      11 Plan;
                                  •   filing of a plan of reorganization under Chapter 11 of the Bankruptcy
                                      Code by the Debtors (other than the Chapter 11 Plan) that has not been
                                      consented to by the Requisite DIP Lenders;
                                  •   filing of a plan of reorganization by the Debtors (other than the Chapter
                                      11 Plan) that does not propose to indefeasibly repay the DIP Obligations
                                      in full in cash, unless otherwise consented to by the DIP Agent and the
                                      Requisite DIP Lenders;
                                  •   any of the Debtors shall file a pleading seeking to vacate or modify any
                                      of the DIP Orders over the objection of the DIP Agent or the DIP Lenders
                                      constituting the Requisite DIP Lenders;
                                  •   entry of an order without the prior written consent of the Requisite DIP
                                      Lenders amending, supplementing or otherwise modifying the Order;
                                  •   reversal, vacatur or stay of the effectiveness of the DIP Orders except to
                                      the extent stayed or reversed within five (5) Business Days (and, other
                                      than, in respect of the Interim DIP Order, the entry of the Final DIP
                                      Order);
                                  •   any violation of the terms of the DIP Orders by the Debtors that are not
                                      cured within 3 calendar days (to the extent any such violation is curable);
                                  •   dismissal of the Chapter 11 Case of a Debtor with material assets or
                                      conversion of the Chapter 11 Case of a Debtor with material assets to a
                                      case under Chapter 7 of the Bankruptcy Code;
                                  •   appointment of a Chapter 11 trustee or examiner with enlarged powers

                                                    23
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34              Main Document
                                               Pg 93 of 122


                                      relating to the operation of the business of the Borrower or any
                                      Guarantor;
                                  •   any sale of all or substantially all assets of the Debtors pursuant to section
                                      363 of the Bankruptcy Code, unless (a) such sale is conducted in
                                      accordance with the Bid Procedures and (b) the proceeds of such sale will
                                      indefeasibly satisfy the DIP Obligations in full in cash;
                                  •   failure to meet a Milestone, unless extended or waived by the prior
                                      written consent of the DIP Agent at the direction of the Requisite DIP
                                      Lenders;
                                  •   granting of relief from the automatic stay in the Chapter 11 Cases to
                                      permit foreclosure or enforcement on assets of the Borrower or any
                                      Guarantor, in each case, with a fair market value in excess of $100,000;
                                  •   the Debtors’ filing of (or supporting another party in the filing of) a
                                      motion seeking entry of, or the entry of an order by the Bankruptcy Court,
                                      granting any superpriority claim or lien (except as contemplated herein)
                                      which is senior to or pari passu with the DIP Claims;
                                  •   the Debtors’ filing of a motion seeking entry of an order approving any
                                      key employee incentive plan, employee retention plan, or comparable
                                      plan, except as provided in the Chapter 11 Plan, without the prior written
                                      consent of the Requisite DIP Lenders;
                                  •   the Debtors shall seek, or shall support any other person’s motion
                                      seeking (in any such case, verbally in any court of competent jurisdiction
                                      or by way of any motion or pleading filed with the Bankruptcy Court, or
                                      any other writing to another party in interest by the Debtors), to challenge
                                      the validity or enforceability of any of the obligations of the parties under
                                      the Prepetition Loan Documents;
                                  •   payment of or granting adequate protection with respect to prepetition
                                      debt, other than as expressly provided herein or in the DIP Orders or
                                      consented to by the DIP Agent at the direction of the Requisite DIP
                                      Lenders;
                                  •   expiration or termination of the period provided by section 1121 of the
                                      Bankruptcy Code for the exclusive right to file a plan with respect to a
                                      Debtor with material assets;
                                  •   cessation of the DIP Liens or the DIP Claims to be valid, perfected and
                                      enforceable in all respects;
                                  •   Permitted Variances under the Budget are exceeded for any Test Period
                                      without consent of or waiver by the DIP Agent at the direction of the
                                      Requisite DIP Lenders;
                                  •   any uninsured judgments are entered with respect to any post-petition
                                      non-ordinary course claims against any of the Debtors or any of their
                                      respective affiliates in a combined aggregate amount in excess of
                                      $250,000 unless stayed;
                                  •   the termination of the RSA and revocation of the votes to accept the
                                      Chapter 11 Plan by Prepetition Lenders that has the effect of causing the

                                                    24
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34             Main Document
                                               Pg 94 of 122


                                      percentage of funded debt owned by the Consenting Creditors to fall
                                      below 66 2/ 3 % of the total amount of Senior First Out Term Loans, it
                                      being understood and agreed that the Consenting Creditors shall have the
                                      right to revoke their votes to accept the Chapter 11 Plan as provided in
                                      the RSA; and
                                  •   any Debtor asserting any right of subrogation or contribution against any
                                      other Debtor until all borrowings under the DIP Facility are paid in full
                                      and the commitments are terminated.

 Termination:                     Upon the occurrence and during the continuance of an Event of Default, the
                                  DIP Agent, at the direction of the Requisite DIP Lenders shall, by written
                                  notice to the Borrower, its counsel, the U.S. Trustee and counsel for any
                                  statutory committee, terminate the DIP Facility, declare the obligations in
                                  respect thereof to be immediately due and payable and, subject to the
                                  immediately following paragraph, exercise all rights and remedies under the
                                  DIP Loan Documents and the DIP Orders.

 Remedies:                        The DIP Agent and the DIP Lenders shall have customary remedies,
                                  including, without limitation, the following:

                                  Without further order from the Bankruptcy Court, and subject to the terms of
                                  the DIP Orders, the automatic stay provisions of section 362 of the
                                  Bankruptcy Code shall be vacated and modified to the extent necessary to
                                  permit the DIP Agent and the DIP Lenders to exercise, upon the occurrence
                                  and during the continuance of any Event of Default under their respective
                                  DIP Loan Documents, all rights and remedies provided for in the DIP Loan
                                  Documents, and to take any or all of the following actions without further
                                  order of or application to the Bankruptcy Court (as applicable): (a)
                                  immediately terminate the Debtors’ limited use of any cash collateral; (b)
                                  cease making any DIP Loans under the DIP Facility to the Debtors; (c)
                                  declare all DIP Obligations to be immediately due and payable; (d) freeze
                                  monies or balances in the Debtors’ accounts (and, with respect to the DIP
                                  Credit Agreement and the DIP Facility, sweep all funds contained in the
                                  Controlled Accounts); (e) immediately set-off any and all amounts in
                                  accounts maintained by the Debtors with the DIP Agent or the DIP Lenders
                                  against the DIP Obligations, or otherwise enforce any and all rights against
                                  the DIP Collateral in the possession of any of the applicable DIP Lenders,
                                  including, without limitation, disposition of the DIP Collateral solely for
                                  application towards the DIP Obligations; and (f) take any other actions or
                                  exercise any other rights or remedies permitted under the DIP Orders, the DIP
                                  Loan Documents or applicable law to effect the repayment of the DIP
                                  Obligations; provided, however, that prior to the exercise of any right in
                                  clauses (a) or (f) of this paragraph, the DIP Agent shall be required to provide
                                  seven (7) calendar days written notice to the Debtors, the U.S. Trustee, and
                                  the Committee of the DIP Agent’s intent to exercise its rights and remedies;
                                  provided, further, that neither the Debtors, the Committee nor any other party-
                                  in-interest shall have the right to contest the enforcement of the remedies set
                                  forth in the DIP Orders and the DIP Loan Documents on any basis other than
                                  an assertion that an Event of Default has not occurred or has been cured
                                  within the cure periods expressly set forth in the applicable DIP Loan

                                                    25
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34             Main Document
                                               Pg 95 of 122


                                  Documents. The Debtors shall cooperate fully with the DIP Agent and the
                                  DIP Lenders in their exercise of rights and remedies, whether against the DIP
                                  Collateral or otherwise.

                                  The Debtors shall waive any right to seek relief under the Bankruptcy Code,
                                  including under section 105 thereof, to the extent such relief would restrict or
                                  impair the rights and remedies of the DIP Agent and the DIP Lenders set forth
                                  in the DIP Orders and in the DIP Loan Documents.

 Adequate Protection:             As adequate protection for the use of the collateral securing the Prepetition
                                  Obligations (the “Prepetition Collateral”), the Prepetition Agent, on behalf of
                                  and for the benefit of the Prepetition Lenders, and the Prepetition Lenders,
                                  shall receive, in each case subject to the Carve Out:

                                      (i)      current payment of interest in cash at the non-default rate on the
                                               outstanding Prepetition Super Senior Obligations; provided that
                                               if the Roll-Up DIP Facility is approved by the court pursuant to
                                               the Final Order, such interest payments shall cease and shall no
                                               longer be required as adequate protection;

                                      (ii)     current payment of all reasonable and documented (in summary
                                               form) out-of-pocket fees, costs and expenses of the Prepetition
                                               Agent (limited, in the case of counsel, to all reasonable and
                                               documented out-of-pocket fees, costs, disbursements and
                                               expenses of its outside counsel, DPW, and one local counsel
                                               shared with the DIP Agent and any successor counsel);

                                      (iii)    current payment of all reasonable and documented (in summary
                                               form) out-of-pocket fees, costs and expenses of the Ad Hoc
                                               Group (limited, in the case of counsel, financial advisors and
                                               other outside professionals, to all reasonable and documented
                                               out-of-pocket fees, costs, disbursements and expenses of its
                                               outside counsel, K&S, and, to the extent necessary, one firm of
                                               local counsel engaged by the Ad Hoc Group in connection with
                                               the Debtors’ Chapter 11 Cases);
                                      (iv)     replacement liens to the extent of any postpetition diminution in
                                               value of the Prepetition Lenders’ interest in the Collateral
                                               resulting from the use, sale or lease by the Debtors of such
                                               Prepetition Collateral and/or the imposition of the automatic stay,
                                               including replacement liens on all Unencumbered Property of the
                                               Debtors, which liens will be junior to DIP Liens (the “Prepetition
                                               Lender Adequate Protection Liens”) and senior to the Prepetition
                                               Liens;
                                      (v)      superpriority administrative expense claims to the extent of any
                                               postpetition diminution in value of the Prepetition Lenders’
                                               interest in the Collateral resulting from the use, sale or lease by
                                               the Debtors of such Prepetition Collateral and/or the imposition
                                               of the automatic stay (the “Prepetition Lender Superpriority
                                               Claims”), which claims will be junior to the DIP Obligations and
                                               be payable from and have recourse to all assets and property of

                                                    26
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34             Main Document
                                               Pg 96 of 122


                                               the Debtors; and
                                      (vi)     reasonable access to the Debtors’ books and records and such
                                               financial reports as are provided to the DIP Agent pursuant to
                                               provisions (i) through (iii) above of the Financial Reporting
                                               Requirements section.
                                  (the foregoing clauses (i)-(v), the “Adequate Protection Package”).

                                  The DIP Orders shall provide that the Debtors’ agreement to the Milestones
                                  and the Budget shall constitute a component of the Adequate Protection
                                  Package.
                                  The Interim DIP Order shall include language providing for the payment of
                                  all outstanding fees and expenses referenced in the foregoing clauses (i) and
                                  (ii) through and including the Petition Date upon entry of the Interim DIP
                                  Order.

                                  For the avoidance of doubt, any and all payments made on account of the
                                  Prepetition Obligations to the Prepetition Lenders in connection with the
                                  Adequate Protection Package shall be distributed in accordance with the
                                  waterfall set forth in the Prepetition Credit Agreement.

 Marshalling and Waiver of The Final DIP Order shall provide that in no event shall the DIP Agent, the
 506(c) and 552(b) Claims: DIP Lenders, the Prepetition Agent, the Prepetition Lenders, the Prepetition
                           Agent be subject to the equitable doctrine of “marshalling” or any similar
                           doctrine with respect to the DIP Collateral, the Prepetition Collateral, as
                           applicable, and all proceeds shall be received and applied pursuant to the
                           Final DIP Order and the DIP Loan Documents notwithstanding any other
                           agreement or provision to the contrary.
                                  Upon entry of the Final DIP Order, the Debtors (on behalf of themselves and
                                  their estates) shall waive, and shall not assert in the Chapter 11 Cases or any
                                  successor cases, (i) any surcharge claim under sections 105(a) and/or 506(c)
                                  of the Bankruptcy Code or otherwise for any costs and expenses incurred in
                                  connection with the preservation, protection or enhancement of, or realization
                                  by the DIP Agent, the DIP Lenders, or the Prepetition Secured Parties, upon
                                  the DIP Collateral, or the Prepetition Collateral and (ii) the DIP Agent, the
                                  DIP Lenders, and the Prepetition Secured Parties shall each be entitled to all
                                  of the rights and benefits of section 552(b) of the Bankruptcy Code, and the
                                  “equities of the case” exception under section 552(b) of the Bankruptcy Code
                                  shall not apply to the DIP Agent, the DIP Lenders, and the Prepetition
                                  Secured Parties with respect to proceeds, product, offspring or profits of any
                                  of the Prepetition Collateral or DIP Collateral.

 Indemnification:                 The Debtors shall jointly and severally indemnify and hold harmless the DIP
                                  Agent, each DIP Lender and each of their affiliates and each of the respective
                                  officers, directors, employees, controlling persons, agents, advisors, attorneys
                                  and representatives of each (each, an “Indemnified Party”) from and against
                                  any and all claims, damages, losses, liabilities and expenses (including,
                                  without limitation, fees and disbursements of counsel), joint or several, that
                                  may be incurred by or asserted or awarded against any Indemnified Party, in
                                  each case arising out of or in connection with or relating to any investigation,

                                                    27
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34             Main Document
                                               Pg 97 of 122


                                  litigation or proceeding or the preparation of any defense with respect thereto,
                                  arising out of or in connection with or relating to the DIP Facility, the DIP
                                  Loan Documents or the transactions contemplated thereby, or any use made
                                  or proposed to be made with the DIP Proceeds, whether or not such
                                  investigation, litigation or proceeding is brought by any Debtor or any of its
                                  subsidiaries, any shareholders or creditors of the foregoing, an Indemnified
                                  Party or any other person, or an Indemnified Party is otherwise a party thereto
                                  and whether or not the transactions contemplated hereby or under the DIP
                                  Loan Documents are consummated, except, with respect to any Indemnified
                                  Party, to the extent such claim, damage, loss, liability or expense is found in
                                  a final non-appealable judgment by a court of competent jurisdiction to have
                                  resulted solely from such Indemnified Party’s gross negligence or willful
                                  misconduct or any of such Indemnified Party’s affiliates or their respective
                                  principals, directors, officers, employees, representatives, agents, attorneys
                                  or third party advisors. No Indemnified Party shall have any liability
                                  (whether direct or indirect, in contract, tort or otherwise) to any Debtor or any
                                  of its subsidiaries or any shareholders or creditors of the foregoing for or in
                                  connection with the transactions contemplated hereby, except, with respect to
                                  any Indemnified Party, to the extent such liability is found in a final
                                  non-appealable judgment by a court of competent jurisdiction to have resulted
                                  solely from such Indemnified Party’s gross negligence or willful misconduct
                                  or any of such Indemnified Party’s affiliates or their respective principals,
                                  directors, officers, employees, representatives, agents, attorneys or third party
                                  advisors. In no event, however, shall any Indemnified Party be liable on any
                                  theory of liability for any special, indirect, consequential or punitive
                                  damages.

 Expenses:                        The Borrower and each Guarantor shall jointly and severally pay all (i)
                                  reasonable and documented (in summary form) out-of-pocket fees, costs,
                                  disbursements and expenses of (a) the DIP Agent (including (and limited, in
                                  the case of counsel, to) all reasonable and documented out-of-pocket fees,
                                  costs, disbursements and expenses of the DIP Agent’s outside counsel, DPW
                                  and, to the extent necessary, one firm of local counsel engaged by the DIP
                                  Agent in connection with the Debtors’ Chapter 11 Cases, and any successor
                                  counsel to each) and any other professional advisors retained by the DIP
                                  Agent at the direction of the Requisite DIP Lenders in their reasonable
                                  discretion and (b) the Ad Hoc Group (including (and limited, in the case of
                                  counsel,) all reasonable and documented out-of-pocket fees, costs,
                                  disbursements and expenses of the Ad Hoc Group’s outside counsel, K&S,
                                  and, to the extent necessary, one firm of local counsel engaged by the Ad Hoc
                                  Group in connection with the Debtors’ Chapter 11 Cases) and any other
                                  professional advisors retained by the Ad Hoc Group in their reasonable
                                  discretion, in the case of each of the foregoing clauses (a) and (b), in
                                  connection with the negotiations, preparation, execution and delivery of the
                                  DIP Loan Documents and the funding of all DIP Loans under the DIP
                                  Facility, including, without limitation, all due diligence, transportation,
                                  computer, duplication, messenger, audit, insurance, appraisal, valuation and
                                  consultant costs and expenses, and all search, filing and recording fees,
                                  incurred or sustained by the DIP Agent and the Ad Hoc Group, and their
                                  counsel and professional advisors in connection with the DIP Facility, the
                                  DIP Loan Documents or the transactions contemplated thereby, the
                                                    28
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34           Main Document
                                               Pg 98 of 122


                                  administration of the DIP Facility and any amendment or waiver of any
                                  provision of the DIP Loan Documents, and (ii) without duplication,
                                  reasonable and documented (in summary form) out-of-pocket fees, costs,
                                  disbursements and expenses of the DIP Agent and the Ad Hoc Group
                                  (including (and limited, in the case of counsel, to) (x) all reasonable and
                                  documented out-of-pocket fees, costs, disbursements and expenses of one
                                  firm of outside counsel for the DIP Agent and, to the extent necessary, one
                                  firm of local counsel engaged by the DIP Agent in each relevant jurisdiction,
                                  and any successor counsel to such primary counsel and local counsel) and (y)
                                  all reasonable and documented out-of-pocket fees, costs, disbursements and
                                  expenses of one firm of outside counsel for the Ad Hoc Group and, to the
                                  extent necessary, one firm of local counsel engaged by the Ad Hoc Group in
                                  connection therewith) in connection with (A) the enforcement of any rights
                                  and remedies under the DIP Loan Documents, (B) the Chapter 11 Cases,
                                  including attendance at all hearings in respect of the Chapter 11 Cases, and
                                  (C) defending and prosecuting any actions or proceedings arising out of or
                                  relating to the Prepetition Obligations, the DIP Obligations, the Liens
                                  securing the Prepetition Obligations and the DIP Obligations, or any
                                  transaction related to or arising in connection with the Prepetition Loan
                                  Documents, the DIP Credit Agreement or the other DIP Documents (in the
                                  case of the Prepetition Obligations and the Liens securing the Prepetition
                                  Obligations, to the extent provided in the Prepetition Loan Documents).

 Assignments and                  Prior to the occurrence of an Event of Default, assignments (other than
 Participations:                  assignments to another DIP Lender or an affiliate of any DIP Lender or an
                                  Approved Fund (to be defined)) shall be subject to the consent of the
                                  Borrower, which consent shall not be unreasonably withheld, delayed or
                                  conditioned; provided, that the consent of the Borrower will be deemed to
                                  have been given if the Borrower has not responded within three Business
                                  Days of a request for such consent. Following the occurrence of an Event of
                                  Default, no consent of the Borrower shall be required for any assignment.
                                  Each DIP Lender shall have the right to sell participations in its DIP Loans,
                                  subject to customary voting limitations. Any assignment by a DIP Lender
                                  shall be subject to the terms and conditions of the RSA as long as the RSA is
                                  in effect.


 Removal of DIP Lenders:          The Requisite DIP Lenders shall have the right to cause any DIP Lender
                                  (under certain situations to be specified in the DIP Credit Agreement) to
                                  assign its DIP Loans, DIP Commitment or any other obligations to one or
                                  more existing and consenting DIP Lenders.




                                                   29
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20    Entered 01/23/20 02:03:34             Main Document
                                               Pg 99 of 122


 Requisite DIP Lenders:           DIP Lenders holding more than 50.0% of the DIP Commitments, which shall
                                  include each of both Brigade and SSIG for so long as such institutions and/or
                                  their affiliates are DIP Lenders (the “Requisite DIP Lenders”), except as to
                                  matters requiring unanimity under the DIP Credit Agreement (e.g., the
                                  reduction of interest rates, the extension of interest payment dates, the
                                  reduction of fees, the extension of the maturity of the Borrower’s obligations,
                                  any change in the superpriority status of the Borrower’s and Guarantors’
                                  obligations under the DIP Facility and the release of all or substantially all of
                                  the DIP Collateral).

 Miscellaneous:                   The DIP Credit Agreement will include standard yield protection provisions
                                  (including, without limitation, provisions relating to compliance with
                                  risk-based capital guidelines, increased costs, payments free and clear of
                                  withholding taxes and customary EU bail-in provisions).

 Governing Law:                   Except as governed by the Bankruptcy Code, the law of the State of New
                                  York.

 Counsel to the DIP Agent:        Davis Polk & Wardwell LLP

 Counsel to the Ad Hoc King & Spalding LLP
 Group:

 Counsel to the Debtors:          Weil, Gotshal & Manges LLP




                                                    30
WEIL:\97352148\2\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20 Entered 01/23/20 02:03:34        Main Document
                                            Pg 100 of 122


                                             Exhibit B


          [FORM OF JOINDER AGREEMENT FOR CONSENTING CREDITORS]

This joinder agreement (the “Joinder Agreement”) to the Restructuring Support Agreement dated
January 22, 2020 (as amended, supplemented or otherwise modified from time to time, the
“Agreement”), between Fairway Group Holdings Corp. (“Fairway”), and its direct and indirect
subsidiaries (each, a “Company Party” and collectively, the “Company Parties”) and the [●]
(together with their respective successors and permitted assigns, the “Consenting Creditors” and
each,      a     “Consenting        Creditor”)     is     executed      and     delivered        by
________________________________ (the “Joining Party”) as of ______________, 2020.
Each capitalized term used herein but not otherwise defined shall have the meaning set forth in the
Agreement.

Agreement to be Bound. The Joining Party hereby agrees to be bound by all of the terms of the
Agreement, a copy of which is attached to this Joinder Agreement as Annex I (as the same has
been or may be hereafter amended, restated or otherwise modified from time to time in accordance
with the provisions thereof). The Joining Party shall hereafter be deemed to be a “Consenting
Creditor” and a “Party” for all purposes under the Agreement and with respect to any and all
Claims held by such Joining Party.

Representations and Warranties. With respect to the aggregate principal amount of [●] set forth
below its name on the signature page hereto, the Joining Party hereby makes the representations
and warranties of the Consenting Creditors set forth in Section 7 of the Agreement to each other
Party to the Agreement.

Governing Law. This Joinder Agreement shall be governed by and construed in accordance with
the internal laws of the State of New York, without regard to any conflict of laws provisions which
would require the application of the law of any other jurisdiction.

                                      [Signature pages follow.]




WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20 Entered 01/23/20 02:03:34      Main Document
                                            Pg 101 of 122


IN WITNESS WHEREOF, the Joining Party has caused this Joinder Agreement to be executed as
of the date first written above.

                                             [CONSENTING CREDITOR]




                                             By:
                                                   Name:
                                                   Title:




                                                      Principal Amount of the [●]: $_____________



                                                      Notice Address:




Fax:

Attention:

E-mail:




WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4   Filed 01/23/20 Entered 01/23/20 02:03:34    Main Document
                                            Pg 102 of 122


                                             Acknowledged:


                                             Fairway          Group       Holdings      Corp.
                                             on its own behalf and on behalf of its direct and
                                             indirect debtor subsidiaries




                                             By:
                                                   Name:
                                                   Title:




WEIL:\97352158\1\44444.0008
20-10161-jlg          Doc 4    Filed 01/23/20 Entered 01/23/20 02:03:34     Main Document
                                             Pg 103 of 122


                                             Schedule 1

                                            Committees

        Pursuant to Local Rule 1007-2(a)(3), to the best of the Debtors’ knowledge and belief, no
official committee has been organized prior to the Commencement Date.




WEIL:\97260920\10\44444.0008
          20-10161-jlg         Doc 4     Filed 01/23/20 Entered 01/23/20 02:03:34                        Main Document
                                                       Pg 104 of 122


                                                               Schedule 2

                       Consolidated List of 40 Largest Unsecured Claims (Excluding Insiders)1

              Pursuant to Local Rule 1007-2(a)(4), the following is a list of creditors holding, as of the
Commencement Date, the forty (40) largest, unsecured claims against the Debtors, on a consolidated basis,
excluding claims of insiders as defined in 11 U.S.C. § 101.
                                                                                                                               Contingent,
                                    Complete mailing address, telephone                                                        Liquidated,
                                                                                                               Amount of
No.           Creditor            number, and name of employee, agent, or           Nature of the claim                         Disputed,
                                                                                                                Claim
                                               department                                                                      or Partially
                                                                                                                                 Secured
                                Attn.: Lisa Franchette
       United Natural Foods,    313 Iron Horse Way
 1                                                                                         Trade
               Inc.             Providence, Rhode Island 02908                                               $1,838,914.71
                                                                                           Vendor
          d/b/a Cornuco         Phone: (603) 256-3000
                                E-mail: lfranchette@unfi.com
                                Attn.: John Birnbaum
                                f/k/a AAC Management Corp.
                                150 East 58th Street, 39th Floor
 2     Douglaston Shopping      New York, New York 10155
                                                                                             Rent              $961,244.09       Disputed
        Center Owner LLC        Phone: (646) 214-0271
                                        (212) 213-4444 (Ext. 211)
                                Email: jbirnbaum@aacrealty.com
                                        lostrow@aacrealty.com
                                Attn.: Tom Ryan
                                       Tuttie Langston
                                355 Food Center Drive
 3                              Hunts Point Co-Op Market, Building E                       Trade
       West Side Foods, Inc.                                                                                   $957,644.91
                                Bronx, New York 10474                                      Vendor
                                Phone: (917) 417-8242 / (718) 842-8500
                                E-mail: tryan@westsidefoodsinc.com
                                         tuttie@westsidefoodsinc.com
                                Attn.: Robert Newell
                                425 Merrick Avenue
 4      UFCW Local 1500
                                Westbury, New York 11590                              Union - Benefits         $753,742.66
          Welfare Fund
                                Phone: (800) 522-0456
                                E-mail: rnewell@ufcw1500.org
                                Attn.: Robert Newell
                                425 Merrick Avenue
 5      UFCW Local 1500
                                Westbury, New York 11590                              Union - Benefits         $711,357.78
          Pension Plan
                                Phone: (800) 522-0456
                                E-mail: rnewell@ufcw1500.org




1
  The information herein shall not constitute an admission of liability by, nor is it binding on, the Debtors. All claims are subject to
customary offsets, rebates, discounts, reconciliations, credits, and adjustments, which are not reflected on this Schedule.


                                                                     2
WEIL:\97260920\10\44444.0008
          20-10161-jlg          Doc 4    Filed 01/23/20 Entered 01/23/20 02:03:34             Main Document
                                                       Pg 105 of 122


                                                                                                                Contingent,
                                    Complete mailing address, telephone                                         Liquidated,
                                                                                                  Amount of
No.           Creditor            number, and name of employee, agent, or   Nature of the claim                  Disputed,
                                                                                                   Claim
                                               department                                                       or Partially
                                                                                                                  Secured
                                 Attn.: Aarron Levitan
                                        Andrew Nodes
                                 50 Beale Street, 6th Floor
 6        Maplebear, Inc.                                                         Trade
                                 San Francisco, California 94105                                  $697,954.10
          d/b/a Instacart                                                         Vendor
                                 Phone: (847) 363-1985 / (202) 309-2189
                                 E-mail: aaron.levitan@instacart.com
                                         andrew.nodes@instacart.com
                                 Attn.: Sue Tamm
                                 1155 Commerce Boulevard
 7                               Logan Township, New Jersey 08085                 Trade
       Albert’s Organics Inc.                                                                     $637,273.84
                                 Phone: (856) 491-0197 / (856) 241-9090           Vendor
                                 E-mail: stamm@albertsfreshproduce.com
                                         aoer@albertsorganics.com
                                 Attn.: Hank Smith
                                 1051 Amboy Avenue
                                 Perth Amboy, New Jersey 08861
 8                                                                                Trade
       US Foodservice, Inc.      Phone: (516) 993-9946 / (800) 222-1278                           $570,057.58
                                                                                  Vendor
                                 Email: hank.smith@usfoods.com
                                         nymarreequests@usfoods.com
                                         andy.rainone@usfoods.com
                                 Attn.: Mario Andreani
                                 213 NYC Terminal Market
                                 Bronx, New York 10474
 9      S. Katzman Produce                                                        Trade
                                 Phone: (516) 805-5804 / (718) 991-4700                           $562,898.99
                Inc.                                                              Vendor
                                 Email: mandreani@katzmanproduce.com
                                 accountsreceivable@katzmanproduce.com
                                 accountsreceivable@katzmanberry.com
                                 Attn.: Morris Glauber
                                 57-48 49th Street
 10        J & J Farms           Maspeth, New York 11378                          Trade
                                                                                                  $476,156.13
        Creamery Co., Inc.       Phone: (718) 490-7236 / (718) 821-1200           Vendor
                                 Email: morris@jj-farms.com
                                         abek@jj-farms.com
                                 Attn.: Barbara Briamonte
                                 500 North Broadway, Suite 201
 11       Manetto Hills          P.O. Box 9010
                                                                                   Rent           $444,560.96
       Associates 116, LLC       Jericho, New York 11753
                                 Phone: (516) 869-7157
                                 Email: bbriamonte@kimcorealty.com
                                 Attn.: Dave Maszezak
                                 27 Distribution Way
 12      Bunzl Distribution                                                       Trade
                                 Monmouth, New Jersey 08852                                       $394,115.10
          Northeast, LLC                                                          Vendor
                                 Phone: (732) 821-7000
                                 Email: dave.maszezak@bunzlusa.com




                                                                 3
WEIL:\97260920\10\44444.0008
          20-10161-jlg         Doc 4   Filed 01/23/20 Entered 01/23/20 02:03:34              Main Document
                                                     Pg 106 of 122


                                                                                                               Contingent,
                                   Complete mailing address, telephone                                         Liquidated,
                                                                                                 Amount of
No.           Creditor           number, and name of employee, agent, or   Nature of the claim                  Disputed,
                                                                                                  Claim
                                              department                                                       or Partially
                                                                                                                 Secured
                                Attn.: Lisa D. Coleman
                                One Penn Plaza, 8th Floor
 13        Oxford Health
                                New York, New York 10119                       Insurance         $345,944.99
           Insurance, Inc.
                                Phone: (212) 912-4016
                                Email: lcoleman@uhc.com
                                Attn.: Cyrus Schwartz
                                21 Empire Boulevard
 14                             South Hackensack, New Jersey 07606               Trade
        Dora’s Natural, Inc.                                                                     $323,663.14
                                Phone: (201) 229-0500                            Vendor
                                Email: cyruss@dorasnaturals.com
                                        melissah@dorsnaturals.com
                                Attn.: Leila Zubi
                                c/o The O’Connell Organization
 15       Red Hook Green        175 Van Dyke Street, Suite 322A
                                                                                 Utility         $322,099.38    Disputed
            Power, LLC          Brooklyn, New York 11231
                                Phone: (212) 202-0954
                                Email: lzubi@zubirosner.com
                                Attn.: David Fife
                                c/o Building and Land Technology
 16    Seven Yale & Towne,      1 Elmcroft Road, Suite 500
                                                                                  Rent           $301,745.66
              LLC               Hartford, Connecticut 06103-3494
                                Phone: (203) 644-1526
                                Email: dfwaters@bltoffice.com
                                Attn.: Lucius Palmer
                                c/o Mt. Pleasant Management Corp.
 17    229 West 74th Street     855 Lexington Avenue
                                                                                  Rent           $291,160.12
             Corp.              New York, New York 10065
                                Phone: (212) 570-2030
                                Email: lpalmer@thebeekmanestate.com
                                Attn.: Mike Johnson
                                       Joel Wartell
                                       Liz Ponce
                                355 Food Center Drive
                                Hunts Point Co-Op Market
 18       Austin Meat &                                                          Trade
                                Building A-14                                                    $263,721.58
         Seafood Company                                                         Vendor
                                Bronx, New York 10474
                                Phone: (718) 842-6767
                                Email: mike.johnson@austinmeat.com
                                        joel.wartell@austinmeat.com
                                        liz.ponce@austinmeat.com
                                Attn.: Donald Myer
                                1088 North Main Road
 19        Donald Myers         Vineland, New Jersey 08360                       Trade
                                                                                                 $259,189.55
           Produce, Inc.        Phone: (856) 692-4084                            Vendor
                                Email: dmyersproduce@comcast.net
                                        fmartine07@gmail.com




                                                               4
WEIL:\97260920\10\44444.0008
          20-10161-jlg         Doc 4    Filed 01/23/20 Entered 01/23/20 02:03:34             Main Document
                                                      Pg 107 of 122


                                                                                                               Contingent,
                                   Complete mailing address, telephone                                         Liquidated,
                                                                                                 Amount of
No.           Creditor           number, and name of employee, agent, or   Nature of the claim                  Disputed,
                                                                                                  Claim
                                              department                                                       or Partially
                                                                                                                 Secured
                                Attn.: David Samuels
                                800 Food Center Drive, Unit 67
 20    Blue Ribbon Fish Co.,                                                     Trade
                                Bronx, New York 10474                                            $242,321.42
               Inc.                                                              Vendor
                                Phone: (718) 620-8580
                                Email: david.blueribbon@gmail.com
                                Attn.: William Mascari
                                99 Laura Street
 21      Cedro Bananas          New Haven, Connecticut 06512                     Trade
                                                                                                 $229,777.05
       Wholesale Distributor    Phone: (203) 996-9454 / (203) 469-9366           Vendor
                                E-mail: billy@cedrobananas.com
                                          lucy@cedrobanans.com
                                Attn.: Shimon Efergan
                                P.O. Box 505
                                East Rutherford, New Jersey 07073
 22     Mama Mia Produce                                                         Trade
                                Phone: (917) 686-7061 / (973) 773-9494                           $229,520.50
             LLC                                                                 Vendor
                                Email: e.shimon@mamamiaproduce.com
                                      f.olubunmi@mamamiaproduce.com
                                        ar@mamamiaproduce.com
                                Attn.: Robert Carson
                                c/o Levin Management Corp.
                                975 US Highway 22 West
 23       Post Road Plaza
                                North Plainfield, New Jersey 07060                Rent           $228,514.38
          Leasehold LLC
                                Phone: (908) 755-7489
                                Email: ach-receipts@levinmgt.com
                                        brand@levinmgt.com
                                Attn.: Dean Koplik
                                4 Trolley Road
 24    M B Food Processing                                                       Trade
                                South Fallsburg, New York 12779                                  $213,402.11
              Inc.                                                               Vendor
                                Phone: (845) 434-5051 (Ext. 16)
                                Email: deank@murrayschicken.com
                                Attn.: James Lopez
                                1901 South Lexington Street
 25      Wonderful Citrus                                                        Trade
                                Delano, California 93215                                         $207,154.50
          Cooperative                                                            Vendor
                                Phone: (856) 603-2200 / (661) 720-2452
                                Email: james.lopez@wonderful.com
                                Attn.: Jeff Burdick
                                255 Route 1&9
       Imperial Bag & Paper
 26                             Jersey City, New Jersey 07306                    Trade
              Co. LLC                                                                            $198,341.08
                                Phone: (201) 437-7440 (Ext. 3160)                Vendor
        d/b/a Imperial Dade
                                Email: cmerced@imperialdade.com
                                        fgold@imperialbag.com




                                                                 5
WEIL:\97260920\10\44444.0008
          20-10161-jlg         Doc 4    Filed 01/23/20 Entered 01/23/20 02:03:34             Main Document
                                                      Pg 108 of 122


                                                                                                               Contingent,
                                   Complete mailing address, telephone                                         Liquidated,
                                                                                                 Amount of
No.           Creditor           number, and name of employee, agent, or   Nature of the claim                  Disputed,
                                                                                                  Claim
                                              department                                                       or Partially
                                                                                                                 Secured
                                Attn.: Howard Glickberg
                                       Veronica Paverman
                                c/o Paverman & Paverman CPA PC
 27                             2525 Palmer Avenue
       DHH Company, LLC                                                           Rent           $180,492.41
                                New Rochelle, New York 10801
                                Phone: (917) 709-3492 / (914) 633-6920
                                Email: fishatuna@aol.com
                                        vpaverman@pavermancpa.com
                                Attn.: Roseann Messano
                                725 East Erie Avenue
                                Philadelphia, Pennsylvania 19134
 28      Liberty Coca-Cola      Phone: (201) 838-6327                            Trade
                                                                                                 $180,458.60
          Beverages LLC         Email: messano@libertycoke.com                   Vendor
                                        libertycashapp@coca-cola.com
                                        hleal@coke-bsna.com
                                        ccosme@coke-bsna.com
                                Attn.: Greg O’Connell
                                175 Van Dyke Street, Suite 322A
 29      Red Hook Stores,
                                Brooklyn, New York 11231                          Rent           $171,908.46
              LLC
                                Phone: (718) 624-0160
                                Email: greg@redhookwaterfront.com
                                Attn.: Ralph Whitty
                                       Arthur Lagrega
                                229 West 36th Street
 30     XPO Courier, LLC                                                         Trade
                                New York, New York 10018                                         $171,179.85
        d/b/a XPO Logistics                                                      Vendor
                                Phone: (646) 454-3877 / (646) 454-3855
                                Email: ralph.whitty@xpo.com
                                        arthur.largrega@xpo.com
                                Attn.: Legal Department
                                P.O. Box 8500-52948
 31                                                                              Trade
         Giorgio Fresh Co.      Philadelphia, Pennsylvania 19179-2948                            $161,227.06
                                                                                 Vendor
                                Phone: (610) 926-2800 (Ext. 8375)
                                Email: gfccustomersvc@giorgiofoods.com

                                Attn.: Al Sozer
                                60 Saddle River Avenue, Unit D
 32                                                                              Trade
          Valesco Trading       South Hackensack, New Jersey 07606                               $159,027.53
                                                                                 Vendor
                                Phone: (646) 338-5604 / (201) 729-1414
                                Email: aos@valescofoods.com

                                Attn.: Howard Glickberg
                                       Veronica Paverman
                                c/o Paverman & Paverman CPA PC
 33      2328 on Twelfth,       2525 Palmer Avenue
                                                                                  Rent           $158,381.83
               LLC              New Rochelle, New York 10801
                                Phone: (917) 709-3492 / (914) 663-6920
                                Email: fishatuna@aol.com
                                        vpaverman@pavermancpa.com



                                                                6
WEIL:\97260920\10\44444.0008
          20-10161-jlg         Doc 4    Filed 01/23/20 Entered 01/23/20 02:03:34             Main Document
                                                      Pg 109 of 122


                                                                                                               Contingent,
                                   Complete mailing address, telephone                                         Liquidated,
                                                                                                 Amount of
No.           Creditor           number, and name of employee, agent, or   Nature of the claim                  Disputed,
                                                                                                  Claim
                                              department                                                       or Partially
                                                                                                                 Secured
                                Attn.: Michael Mandelbaum
                                c/o Mandelbaum
 34       Levco Route 46        80 Main Street, Suite 510
                                                                                  Rent           $157,952.65
            Associates          West Orange, New Jersey 07502
                                Phone: (973) 325-0011
                                E-mail: michaelm@mandelbaumfirm.com
                                Attn.: Jim Gorman
                                2 Van Riper Road
 35     Nestle Waters North                                                      Trade
                                Montvale, New Jersey 07645                                       $153,680.15
           America Inc.                                                          Vendor
                                Phone: (516) 317-0216 / (203) 629-7489
                                Email: jgorman@esmferolie.com
                                Attn.: Richard Joyal
                                1141A Cummings Road
 36                                                                              Trade
       Calavo Growers Inc.      Santa Paula, California 93060                                    $153,671.75
                                                                                 Vendor
                                Phone: (805) 921-3213
                                Email: rickj@calavo.com
                                Attn.: Marc Geller
                                c/o Sholom & Zuckerbrot Realty LLC
 37    Georgetowne Center       35-11 35th Avenue
                                                                                  Rent           $150,440.46
         Brooklyn LLC           Long Island, New York 11106
                                Phone: (718) 392-5959
                                Email: mgeller@s-z.com
                                Attn.: Emre Imamoglu
                                12 Vreeland Avenue
 38                                                                              Trade
           Cibo Vita Inc.       Totowa, New Jersey 07512                                         $143,595.14
                                                                                 Vendor
                                Phone: (862) 238-8020
                                Email: emre@cibovita.com
                                Attn.: Legal Department
                                111 Business Park Drive
 39         World’s Best                                                         Trade
                                Armonk, New York 10504                                           $140,975.92
            Cheeses, Inc.                                                        Vendor
                                Phone: (800) 922-4337
                                Email: kathy@wbcheese.com
                                Attn.: Avi Sharon
                                1071 Duston Road
 40     Adams Apple Fruits                                                       Trade
                                Valley Stream, New York 11581                                    $139,404.20
        and Vegetables LLC                                                       Vendor
                                Phone: (917) 559-5584
                                Email: adamsapplellc@gmail.com




                                                                 7
WEIL:\97260920\10\44444.0008
        20-10161-jlg          Doc 4     Filed 01/23/20 Entered 01/23/20 02:03:34                   Main Document
                                                      Pg 110 of 122


                                                             Schedule 3

                             Consolidated List of Holders of Five Largest Secured Claims

                       Pursuant to Local Rule 1007-2(a)(5), to the best of the Debtors’ knowledge,
        belief, and understanding, the following chart lists the creditors holding, as of the
        Commencement Date, the five (5) largest secured, non-contingent claims against the Debtors, on
        a consolidated basis, excluding claims of insiders as defined in 11 U.S.C. § 101(31).

                                                                                                                   Whether
                                 Contact, Mailing Address,                                           Estimated
                                                                      Amount of     Type of                        Claim or
No.       Creditor                Telephone Number/Fax                                                Value of
                                                                       Claim       Collateral                       Lien is
                                      Number, Email                                                  Collateral
                                                                                                                   Disputed
         Ankura Trust         Attn.: Ryan Roy
        Company, LLC,         60 State Street, Suite 700
                                                                                   Substantially
1      as Administrative      Boston, MA 02109                    $227, 215,377
                                                                                    All Assets
                                                                                                     “Unknown”       No
           Agent and          Phone: (617) 878-2031
        Collateral Agent      Email: ryan.roy@ankura.com
                              Attn.: Mark Faraldo,
                              c/o L&B Realty Advisors, LLC
                              Executive Vice President
                              8750 North Central Expressway,
                              Suite 800
                              Dallas, TX 75231
                              Phone: (214) 989-0820
         Ventura in                                                                  Letter of
 2     Manhattan, LLC
                              Email: mgarrett@roseny.com              $4,500,000
                                                                                      Credit
                                                                                                     $4,500,000      No

                              With copy to:
                              Attn: Eric H. Kahan, Esq.
                              Sperber Denenberg & Kahan, P.C.
                              48 West 37th Street, 16th Floor
                              New York, NY 10018
                              Phone: (917) 351-1335 x216
                              Attn: Evan Stein
                              c/o M.D. Carlisle Realty
                              352 Park Avenue South, 15th Floor
                              New York, New York 10010
                              Phone: 212-689-0639
      DFD Development         Email: estein@mdcarlisle.com                           Letter of
                                                                      $3,575,000                     $3,575,000      No
3     Limited Partnership                                                             Credit
                              With copy to:
                              Attn.: David Calabrese, Esq.
                              Bryan Cave LLP
                              1290 Avenue of the Americas
                              New York, New York 10104
                              Attn.: Michael Duffy,
                              Chief Executive Officer
       C&S Wholesale          7 Corporate Drive                                      Letter of
4        Grocers              Keene, NH 03431
                                                                      $3,400,000
                                                                                      Credit
                                                                                                     $3,400,000      No
                              Email: mduffy@cswg.com
                              Phone: (603) 354-4702




                                                                  8
        WEIL:\97260920\10\44444.0008
        20-10161-jlg          Doc 4     Filed 01/23/20 Entered 01/23/20 02:03:34           Main Document
                                                      Pg 111 of 122


                                                                                                           Whether
                                 Contact, Mailing Address,                                   Estimated
                                                                 Amount of     Type of                     Claim or
No.       Creditor                Telephone Number/Fax                                        Value of
                                                                  Claim       Collateral                    Lien is
                                      Number, Email                                          Collateral
                                                                                                           Disputed
                              c/o Mattone Group LLC
                              134-01 20th Avenue
                              College Point, NY 11356
        JMM Raceway,
                              Phone: (718) 353-5500
             LLC;
        Mattone Group,
                              With copy to:                                    Letter of
5         LLC; and
                              Attn.: Michael Mattone
                                                                 $1,913,996
                                                                                Credit
                                                                                             $1,913,996      No
        Gart Roosevelt
                              Marine Estates LLC
      Associates, LLC as
                              c/o Rose Associates, Inc.
      Tenants in Common
                              200 Madison Avenue
                              New York, NY 10016
                              Phone: (212) 210-6666




                                                             9
        WEIL:\97260920\10\44444.0008
20-10161-jlg          Doc 4          Filed 01/23/20 Entered 01/23/20 02:03:34                           Main Document
                                                   Pg 112 of 122


                                                               Schedule 4

                            Condensed Consolidated Balance Sheet (Unaudited)

                                                         As of December 1, 2019

                       FAIRWAY GROUP HOLDINGS CORP.
                       CONSOLIDATED BALANCE SHEETS
                       ($ in thousands)
                                                                                            Dec 1,
                                                                                            2019
                       ASSETS                                                             (Unaudited)

                       CURRENT ASSETS:
                        Cash and cash equivalents                                     $         11,503
                        Accounts receivable, net of allowance for doubtful accounts              3,400
                        Merchandise Inventory                                                   24,311
                        Income tax receivable                                                    1,077
                        Prepaid rent                                                             1,884
                        Prepaid expenses and other current assets                                6,331

                               Total current assets                                             48,506

                       PROPERTY AND EQUIPMENT - Net                                             55,667

                       INTANGIBLE ASSETS - Net                                                  34,709

                       OTHER ASSETS                                                             19,985

                       TOTAL ASSETS                                                   $       158,867

                       LIABILITIES AND STOCKHOLDERS’ EQUITY

                       CURRENT LIABILITIES:
                        Current portion of long-term debt                             $              -
                        Accounts payable                                                        28,528
                        Accrued expenses and other current liabilities                          22,194

                               Total current liabilities                                        50,722

                       OTHER LIABILITIES:
                        Long-term debt, less current portion                                  221,949
                        Other long-term liabilities                                            14,296
                               Total other liabilities                                        238,027

                               Total liabilities                                              288,749

                       STOCKHOLDERS’ DEFICIT:

                        Common stock B                                                               -
                        Additional paid-in capital                                              67,377
                        Retained deficit                                                      (197,259)

                         Total stockholders’ Deficit                                          (129,882)

                       TOTAL LIABILITIES AND STOCKHOLDERS’ EQUITY                     $       158,867




                                                                   10
WEIL:\97260920\10\44444.0008
20-10161-jlg          Doc 4          Filed 01/23/20 Entered 01/23/20 02:03:34    Main Document
                                                   Pg 113 of 122


                                                     Schedule 5

                                             Publicly Held Securities

               Pursuant to Local Rule 1007-2(a)(7), no shares of stock, debentures, and other
securities (“Securities”) of the Debtors are publicly held. The Securities held by the Debtors’
directors and officers are listed separately below.

    Fairway Group Holdings Corp. Common Stock Held by the Debtors’ Executive Officers

                Name of Non-Employee              Approximate
                                                                         As of
                      Director                  Number of Shares2
                               N/A                        N/A             N/A

                      Fairway Group Holdings Corp. Common Stock Held by the
                                   Debtors’ Employee Directors

                Name of Non-Employee              Approximate
                                                                         As of
                      Director                  Number of Shares3
                               N/A                        N/A             N/A




2
    Only includes stock directly owned by the director.
3
    Only includes stock directly owned by the director.



                                                           11
WEIL:\97260920\10\44444.0008
20-10161-jlg          Doc 4       Filed 01/23/20 Entered 01/23/20 02:03:34        Main Document
                                                Pg 114 of 122


                                                 Schedule 6

                               Debtors’ Property Not in the Debtors’ Possession

               Local Rule 1007-2(a)(8) requires the Debtors to list property that is in the
possession or custody of any custodian, public officer, mortgagee, pledgee, assignee of rents,
secured creditor, or agent for any such entity.

               In the ordinary course of business, on any given day, property of the Debtors
(including security deposits or other collateral with counterparties to certain commercial
relationships) is likely to be in the possession of various third parties, including vendors,
shippers, common carriers, materialmen, distributors, warehousemen, fulfillment houses, service
providers, custodians, public officers, or agents, where the Debtors’ ownership interest is not
affected. Because of the constant movement of this property, providing a comprehensive list of
the persons or entities in possession of the property, their addresses and telephone numbers, and
the location of any court proceeding affecting the property would be impractical.




                                                     12
WEIL:\97260920\10\44444.0008
 20-10161-jlg         Doc 4      Filed 01/23/20 Entered 01/23/20 02:03:34                 Main Document
                                               Pg 115 of 122


                                                        Schedule 7

              Pursuant to Local Rule 1007-2(a)(9), the following lists the property or premises
owned, leased, or held under other arrangement from which the Debtors operate their businesses.

                                                 Leased Property4

       Debtor                     Street Address                     City        State   Zip Code     Country
Fairway Bakery LLC                400 Walnut Avenue                  Bronx        NY      10454          USA

Fairway Broadway
                                 2121-2127 Broadway               New York        NY      10023          USA
LLC
Fairway Broadway
                                    2131 Broadway                 New York        NY      10023          USA
LLC
                               55 W 25th Street a/k/a 766
Fairway Chelsea LLC                                               New York        NY      10010          USA
                                Avenue of the Americas
Fairway Douglaston
                                  242-02 61st Avenue              Douglaston      NY      11362          USA
LLC
Fairway East 86th Street
                                 230-240 E. 86th Street           New York        NY      10022          USA
LLC
Fairway Georgetowne
                                  2149 Ralph Avenue                Brooklyn       NY      11234          USA
LLC
Fairway Group
                                 50 Manetto Hill Road             Plainview       NY      10023          USA
Plainview LLC

Fairway Kips Bay LLC            542-580 Second Avenue             New York        NY      10016          USA
                                #4 Fashion Center Mall
Fairway Paramus LLC                 Route 17 North                 Paramus        NJ      07652          USA
                                30 Ridgewood Avenue
Fairway Pelham LLC               847 Pelham Parkway              Pelham Manor     NY      10803          USA

Fairway Red Hook
                               480-500 Van Brunt Street            Brooklyn       NY      11231          USA
LLC
Fairway Red Hook
                                 475 Van Brunt Street              Brooklyn       NY      11231          USA
LLC
Fairway Red Hook
                                  264 Conover Street               Brooklyn       NY      11231          USA
LLC

Fairway Stamford LLC               689 Canal Street                Stamford       CT      06902          USA

Fairway Stamford LLC               699 Canal Street                Stamford       CT      06902          USA

Fairway Staten Island
                                   Staten Island Mall            Staten Island    NY      10314          USA
LLC



4
  The classification of the contractual agreements listed herein as real property leases or property held by other
arrangements is not binding upon the Debtors.



                                                            13
WEIL:\97260920\10\44444.0008
20-10161-jlg          Doc 4     Filed 01/23/20 Entered 01/23/20 02:03:34         Main Document
                                              Pg 116 of 122



Fairway Uptown LLC               2276 12th Avenue             New York      NY   10027    USA

Fairway Uptown LLC             2284-2286 12th Avenue          New York      NY   10027    USA

Fairway Uptown LLC             2288-2312 12th Avenue          New York      NY   10027    USA

Fairway Uptown LLC               2314 12th Avenue             New York      NY   10027    USA

Fairway Uptown LLC               2316 12th Avenue             New York      NY   10027    USA

Fairway Uptown LLC               2328 12th Avenue             New York      NY   10027    USA

Fairway Westbury LLC            1258 Corporate Drive          Westbury      NY   11590    USA

Fairway Woodland
                                1510 Route 46 West          Woodland Park   NJ   07424    USA
Park LLC




                                                       14
WEIL:\97260920\10\44444.0008
20-10161-jlg        Doc 4         Filed 01/23/20 Entered 01/23/20 02:03:34    Main Document
                                                Pg 117 of 122




                                                 Schedule 8

                            Location of Debtors’ Assets, Books, and Records

                  Pursuant to Local Rule 1007-2(a)(10), the following lists the locations of
   the Debtors’ substantial assets, the location of their books and records, and the nature,
   location, and value of any assets held by the Debtors outside the territorial limits of the
   United States.

                                   Location of Debtors’ Substantial Assets

                  As of December 1, 2019, the Debtors had assets of approximately $159
   million, as provided in Schedule 4, with substantial assets in New York, New Jersey and
   Connecticut.

                                            Books and Records

               The Debtors’ books and records are located at 2284 12th Avenue, New
   York NY 10027.

                                  Debtors’ Assets Outside the United States

                  The Debtors do not have assets located outside of the territorial limits of
   the United States.




                                                     15
   WEIL:\97260920\10\44444.0008
20-10161-jlg        Doc 4         Filed 01/23/20 Entered 01/23/20 02:03:34   Main Document
                                                Pg 118 of 122




                                                Schedule 9

                                                Litigation

           Pursuant to Local Rule 1007-2(a)(11), to the best of the Debtors’ knowledge,
   belief, and understanding, there are no actions or proceedings, pending or threatened,
   against the Debtors or their properties where a judgment against the Debtors or a seizure
   of their property may be imminent.




                                                   16
   WEIL:\97260920\10\44444.0008
 20-10161-jlg        Doc 4         Filed 01/23/20 Entered 01/23/20 02:03:34         Main Document
                                                 Pg 119 of 122




                                                 Schedule 10

                                            Senior Management

                    Pursuant to Local Rule 1007-2(a)(12), the following provides the names of
    the individuals who comprise the Debtors’ existing senior management, a description of
    their tenure with the Debtors, and a brief summary of their relevant responsibilities and
    experience.

  Name & Position                                   Responsibilities & Experience
                               Abel Porter joined as Fairway’s Chief Executive Officer in March 2017.
                               Mr. Porter has spent his entire career working in the grocery industry.
                               Mr. Porter began his career in the grocery industry as a stock boy at
Abel Porter                    Smith’s Food and Drug (“Smith’s”), working his way up to President,
Chief Executive                and ultimately, Chief Executive Officer of Smith’s. Mr. Porter retired
Officer                        from Smith’s in 1999. Mr. Porter then served as President of Sullivan
                               Family of Companies from 2001 to 2014. Mr. Porter continues to serve
                               on the board of Associated Food Stores of Salt Lake City. Mr. Porter
                               received his Bachelor of Finance from Brigham Young University.
                               Brad Schneider joined as Fairway’s Chief Financial Officer since May
                               2019. Mr. Schneider is responsible for the oversight and daily operation
                               of the finance, accounting, treasury, payroll, and IT functions at Fairway.
Brad Schneider
                               Prior to joining Fairway, Mr. Schneider served as CFO of Luxury Dining
Chief Financial
                               Group, LLC and as the Director of Portfolio Patriarch Partners, LLC.
Officer
                               Mr. Schneider received his Bachelor of Arts form Franklin and Marshall
                               College and a Master of Business Administration from Harvard Business
                               School.
                               Nathalie Augustin has served as Fairway’s Senior Vice President –
                               General Counsel and Secretary since April 2012. Ms. Augustin joined
                               Fairway in June 2007 as Vice President – General Counsel and Secretary.
                               Prior to joining Fairway, Ms. Augustin served in various capacities at
                               The Donna Karan Company LLC, an international fashion design house
                               and a subsidiary of LVMH Moët Hennessy Louis Vuitton, from June
Nathalie Augustin
                               1999 to May 2007, most recently as Vice President and Associate
Senior Vice President
                               General Counsel. Prior to joining Donna Karan, Ms. Augustin was an
and General Counsel
                               associate at Cleary Gottlieb Steen & Hamilton LLP for approximately 5
                               years. Ms. Augustin began her legal career as a law clerk to the
                               Honorable Sterling Johnson of the United States District Court for the
                               Eastern District of New York. She received her Juris Doctor from
                               Harvard Law School and a Bachelor of Arts degree from Columbia
                               College.




                                                      17
    WEIL:\97260920\10\44444.0008
 20-10161-jlg        Doc 4         Filed 01/23/20 Entered 01/23/20 02:03:34       Main Document
                                                 Pg 120 of 122




  Name & Position                                  Responsibilities & Experience
                               Maureen Page joined Fairway in October 2007. Ms. Page has served in
                               various capacities and rules throughout Fairway, including, Director of
Maureen Page                   financial Planning and Analysis, Corporate Controller, and Senior of Tax
Vice President –               and Treasury. Prior to Fairway, Ms. Page served as Vice President and
Finance                        Corporate controller at Aerogroup International and Vitamin Shoppe
                               Industries, among others. Ms. Page received her Bachelor of Science in
                               Business Administration from Montclair State University.




                                                     18
    WEIL:\97260920\10\44444.0008
20-10161-jlg        Doc 4         Filed 01/23/20 Entered 01/23/20 02:03:34     Main Document
                                                Pg 121 of 122




                                               Schedule 11

                                                 Payroll

                  Pursuant to Local Rule 1007-2(b)(1)-(2)(A) and (C), the following
   provides the estimated amount of weekly payroll to the Debtors’ employees (not
   including officers, directors, and stockholders) and the estimated amount to be paid to
   officers, stockholders, directors, and financial and business consultants retained by the
   Debtors for the 30-day period following the filing of the chapter 11 petitions.


             Payments to Employees
      (Not Including Officers, Directors, and                       $10 million
                  Stockholders)
                 Payments to Officers,
                                                                    $125,000
              Stockholders, and Directors

        Payments to Financial and Business
                                                                       $0
                   Consultants




                                                   19
   WEIL:\97260920\10\44444.0008
20-10161-jlg        Doc 4         Filed 01/23/20 Entered 01/23/20 02:03:34           Main Document
                                                Pg 122 of 122




                                               Schedule 12

                               Cash Receipts and Disbursements,
                    Net Cash Gain or Loss, Unpaid Obligations and Receivables

                  Pursuant to Local Rule 1007-2(b)(3), the following provides, for the 30-
   day period following the filing of the chapter 11 petition, the estimated cash receipts and
   disbursements, net cash gain or loss, and obligations and receivables expected to accrue
   that remain unpaid, other than professional fees.

            Cash Receipts1                                          $61,129,737
            Cash Disbursements                                      $56,562,151
            Net Cash Gain1                                          $4,567,586
            Unpaid Obligations                                      $7,595,124
            Uncollected Receivables2                                $2,400,000

            Notes:
            1.     Receipts and Cash include $15 million in DIP financing proceeds
            2.     Reflects 1-2 days of credit card collections




                                                    20
   WEIL:\97260920\10\44444.0008
